                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK



SJUNDE AP-FONDEN, individually and on      Civil Case No. 1:18-cv-12084-VSB
behalf of all others similarly situated,
                                           SECOND AMENDED CLASS
                          Plaintiff,       ACTION COMPLAINT
      v.                                   JURY TRIAL DEMANDED
THE GOLDMAN SACHS GROUP, INC.,
LLOYD C. BLANKFEIN, HARVEY M.
SCHWARTZ, AND GARY D. COHN,
                          Defendants.
                                                TABLE OF CONTENTS
                                                                                                                                    Page

I.     INTRODUCTION ...............................................................................................................2
II.    JURISDICTION AND VENUE ........................................................................................16
III.   PARTIES ...........................................................................................................................17
       A.         Lead Plaintiff .........................................................................................................17
       B.         Defendants .............................................................................................................17
                  1.         The Goldman Sachs Group, Inc. ............................................................... 17
                  2.         The Individual Defendants ........................................................................ 17
       C.         Non-Party Goldman Executives ............................................................................19
       D.         Relevant Non-Parties .............................................................................................20
IV.    FACTUAL ALLEGATIONS ............................................................................................21
       A.         Goldman Sachs ......................................................................................................21
                  1.         Global Prestige, Checkered Past ............................................................... 21
                  2.         Goldman Claims to Clean Up Its Image through a Multiyear
                             “Business Standards Committee” Review ................................................ 24
                  3.         Goldman’s Internal Post-Financial Crisis Push to “Monetize the
                             State” in Emerging Markets ...................................................................... 30
                             a)         As Western Economies Languish, Goldman Resolves to
                                        Tap Sovereign Wealth Funds as a New Source of Revenue ......... 30
                             b)         Goldman’s First Foray into State-Fund “Monetization”
                                        Results in an FCPA Investigation Involving Kickbacks and
                                        Intermediaries ............................................................................... 31
                             c)         A Quest for Returns Leads Goldman to Asia ............................... 35
       B.         Ignoring Internal Objections and Glaring External Warning Signs,
                  Goldman Reaps Hundreds of Millions in Fees from 1MDB and Jho Low ...........37
                  1.         1MDB: Red Flags from Its Inception ....................................................... 37
                             a)         Doing Business in Malaysia: A Hotbed of Corruption ................. 37
                             b)         The Najib Regime: “A Government of Thieves” ......................... 39
                             c)         Jho Low: The “Asian Great Gatsby” ............................................ 40
                             d)         1MDB: Suspect from the Start ...................................................... 43
                             e)         Goldman’s Lead Bankers: On a “Very Long Leash” in the
                                        Wild West of Southeast Asia ........................................................ 46
                                        (1)        Andrea Vella ......................................................................46
                                        (2)        Tim Leissner ......................................................................48

                                                                   i
2.    Top Bankers Resolve to Show Low “Goldman Affection” ...................... 49
3.    Goldman, through Its Global Compliance Department, Vets and
      Rejects Low for the First Time ................................................................. 52
4.    Blankfein Meets Privately with Low and Najib to Solicit Business
      from 1MDB ............................................................................................... 53
5.    Goldman’s 1MDB Bankers Engage with Najib through Low,
      Dispensing Favors and Payouts ................................................................ 55
6.    Vella and Leissner Join Forces to Sell Bonds for a Corrupt
      Malaysian State Government, Earning Goldman a Public Rebuke .......... 56
7.    Goldman’s Legal Department Reviews—and Rejects—Working
      with Low ................................................................................................... 57
8.    Multiple Departments within Goldman Reject Low for the Third
      Time .......................................................................................................... 59
9.    Project Magnolia: Goldman Nets $192 Million from 1MDB’s First
      Bond Offering Amid a Sea of Red Flags .................................................. 60
      a)         Goldman’s Top Bankers Agree to Pay Bribes and
                 Kickbacks ...................................................................................... 60
      b)         Numerous Other Red Flags Signal Corruption at 1MDB ............. 62
                 (1)        Low’s Role Is Well Known Inside the Bank .....................62
                 (2)        Goldman Bankers Voice Concerns about the Deal’s
                            Terms But Are Steamrolled by Senior Management .........64
                 (3)        Project Magnolia’s Terms Are Highly Suspicious ............66
                 (4)        Sensing Political Corruption, Investment Bank
                            Lazard Pulls Out of the Deal ..............................................69
                 (5)        Outrage Over Corruption in Najib’s Regime Spills
                            into Malaysia’s Streets .......................................................71
      c)         Defying the Warnings, Goldman Forges Ahead With the
                 Magnolia Offering—and the Funds Quickly Disappear ............... 71
10.   Project Maximus: As the Warning Signs Multiply, 1MDB’s
      Second Offering Brings Goldman Another $114 Million in Fees ............ 74
      a)         Immediately After the First Offering, 1MDB Seeks a
                 Second ........................................................................................... 74
      b)         Red Flags Again Signal Corruption .............................................. 75
                 (1)        The Second Deal’s Terms Are Again Suspect ...................76
                 (2)        Asia President David Ryan Again Speaks Out But
                            Is Overruled and Sidelined by President Gary Cohn .........77



                                            ii
      c)        Goldman Again Ignores the Warning Signs, and Hundreds
                of Millions More Are Stolen ......................................................... 78
11.   Low’s Extravagance Continues to Grab Headlines .................................. 80
12.   Between Bond Deals, Blankfein Meets Privately with Low
      Again—This Time One-On-One .............................................................. 82
13.   Project Catalyze: Goldman Rushes a Third Offering to Market
      Amid Proliferating Evidence of Corruption ............................................. 83
      a)        Najib Looks to Refill His Campaign Slush Fund as an
                Election Nears, and Goldman Gladly Obliges .............................. 83
      b)        Red Flags Mark Project Catalyze As a Conduit for
                Corruption ..................................................................................... 84
                (1)        The Speed, Secrecy, and Shifting Purpose of the
                           Issuance Are Red Flags ......................................................85
                (2)        The Timing of the Raise Strongly Indicates
                           Corruption ..........................................................................86
                (3)        Internally, Goldman Bankers Discuss Najib’s
                           Misuse of 1MDB Funds .....................................................87
                (4)        The Third Offering’s Terms Are Equally Suspicious ........87
                (5)        1MDB’s Capital Structure and Interest Obligations
                           Render the Offering Suspect ..............................................88
                (6)        Ryan Resigns After Cohn Silences Him a Third
                           Time ...................................................................................89
                (7)        BSI Questions Its Role, Prompting Goldman to
                           Intervene to Keep the Deal on Track .................................90
                (8)        Goldman’s Own Outside Counsel Identifies BSI as
                           a Compliance Risk .............................................................90
      c)        Goldman Rams Through Project Catalyze Despite the Red
                Flags, Nettings Its Biggest Payday Yet While Billions
                More are Stolen ............................................................................. 91
14.   Questions About 1MDB’s Legitimacy and Low’s Role in the Fund
      Spill into the Press .................................................................................... 93
15.   Blankfein Meets with Low for the Third Time as Goldman Pushes
      for More Business with 1MDB ................................................................. 96
16.   The Federal Reserve Warns Goldman of Reputational Risk from
      Its Work with 1MDB ................................................................................ 98
17.   Coastal Energy: Goldman’s Dubai Office Helps Low Move Stolen
      Money, Hides Low’s Involvement, and Blesses a Highly
      Suspicious Payout to Low a Week Later .................................................. 99


                                          iii
                  18.        “We Have to Do More of That”: Blankfein Extols Vella and
                             Leissner, Urging Other Goldman Bankers to Emulate Them ................. 102
        C.        As Outside Scrutiny Grows and Prosecutors Close in, Goldman Tries to
                  Obscure Its Role in the Fraud ..............................................................................103
        D.        Goldman Mounts a “Rogue Banker” Defense that is Widely Rejected...............113
V.      SUMMARY ALLEGATIONS OF SCIENTER ..............................................................119
        A.        Scores of Red Flags Surrounded Goldman’s Relationship with 1MDB..............119
        B.        Defendant Blankfein Met with Low Three Times to Discuss Goldman’s
                  Business with 1MDB ...........................................................................................127
        C.        Goldman’s Asia President David Ryan Repeatedly Warned of the Risk
                  1MDB Posed ........................................................................................................128
        D.        Gary Cohn and Other Top Executives Not Only Heard Concerns about the
                  Risks Posed by 1MDB, They Retaliated Against Those Who Voiced Them ......129
        E.        Vella and Leissner Were Among Goldman’s Most Powerful Senior
                  Bankers ................................................................................................................130
        F.        Goldman’s Dubai Office and Global Compliance Knew the Bank Was
                  Advising Low and that Low Would Receive a Highly Suspicious Payout
                  on the Coastal Energy Deal..................................................................................131
VI.     DEFENDANTS’ MATERIALLY FALSE OR MISLEADING STATEMENTS
        AND OMISSIONS OF MATERIAL FACT ...................................................................132
        A.        Materially False or Misleading Statements Regarding the 1MDB Deals ............132
        B.        Materially False or Misleading Statements Regarding Goldman’s
                  Operational Risk Management and Risk Controls...............................................157
        C.        Materially False or Misleading Statements Regarding Goldman’s
                  Reputation, Integrity, and Compliance with Relevant Laws ...............................165
        D.        Materially False or Misleading Statements Regarding Goldman’s
                  Financial Results ..................................................................................................170
        E.        Materially False or Misleading Statements Made in Sarbanes-Oxley
                  Certifications ........................................................................................................171
VII.    LOSS CAUSATION........................................................................................................172
VIII.   THE FRAUD ON THE MARKET PRESUMPTION OF RELIANCE APPLIES .........181
IX.     THE STATUTORY SAFE HARBOR AND BESPEAKS CAUTION DOCTRINE
        DO NOT APPLY .............................................................................................................183
X.      CLASS ACTION ALLEGATIONS ................................................................................184
XI.     CAUSES OF ACTION ....................................................................................................186
XII.    PRAYER FOR RELIEF ..................................................................................................191



                                                                  iv
       Court-appointed Lead Plaintiff, Sjunde AP-Fonden (“AP7” or “Lead Plaintiff”), by and

through its undersigned counsel, brings this action individually and on behalf of all other

similarly situated persons and entities who purchased or otherwise acquired The Goldman Sachs

Group, Inc. (“Goldman” or the “Company”) common stock between February 28, 2014, and

December 20, 2018, inclusive (the “Class Period”), and were injured thereby (the “Class”). Lead

Plaintiff asserts claims for violations of Sections 10(b) and 20(a) of the Securities Exchange Act

of 1934 (the “Exchange Act”), 15 U.S.C. §§ 78j(b) and 78t(a), respectively, and the rules and

regulations promulgated thereunder, including U.S. Securities and Exchange Commission Rule

10b-5, 17 C.F.R. § 240.10b-5, against Defendants Goldman, Lloyd C. Blankfein, Harvey M.

Schwartz, and Gary D. Cohn (collectively, “Defendants”). Blankfein, Schwartz, and Cohn are

collectively referred to as the “Individual Defendants.”

       Lead Plaintiff alleges the following upon personal knowledge as to itself and its own acts,

and upon information and belief as to all other matters. Lead Plaintiff’s information and belief

are based upon, among other things, the ongoing investigation that Court-appointed Lead

Counsel is conducting under Lead Plaintiff’s supervision. This investigation includes, but is not

limited to, reviewing and analyzing: (i) documents that Goldman filed with the SEC;

(ii) securities analysts’ reports about Goldman; (iii) transcripts of Goldman investor conference

calls; (iv) Goldman press releases and presentations; (v) press and media reports, including

online news sources and other journalistic sources; (vi) public material obtained in connection

with the continuing investigations discussed herein; and (vii) consultation with economic and

industry consultants. Lead Plaintiff believes that substantial additional evidentiary support will

exist for the allegations set forth herein after Lead Plaintiff has had a reasonable opportunity to

conduct discovery.



                                                 1
I.         INTRODUCTION

           1.       For five years beginning in 2009, Goldman Sachs fueled a multi-billion-dollar

embezzlement and money-laundering scheme that, according to The Wall Street Journal, has

“put[] the bank at the center of one of the biggest financial frauds in history.”1 Today, one of

Goldman’s most powerful bankers awaits sentencing in federal court for paying bribes and

laundering money to generate business for the bank; a senior Managing Director stands accused

of the same; and Goldman’s Head of Investment Banking in Asia has been identified in court

papers as a co-conspirator. Seventeen current and former Goldman managers, along with three

subsidiaries, have been criminally charged overseas. Intense media coverage since the scandal

broke has implicated executives at the highest level of the bank, including former CEO Lloyd

Blankfein and former President Gary Cohn. The Justice Department, in a federal indictment, has

publicly blamed a “business culture” at Goldman that is “highly focused on consummating

deals, at times prioritizing this goal ahead of the proper operation of its compliance

functions.” Criminal and civil probes into the bank itself are ongoing in the United States and

abroad.

           2.       This extraordinary fallout stems from Goldman’s work as investment banker to

the 1Malaysia Development Berhad (“1MDB”), a sovereign wealth fund purportedly set up to

spur economic development in Malaysia. Goldman played a central role in the fund’s origins in

2009. Then, during a ten-month period beginning in May 2012, Goldman underwrote $6.5

billion of 1MDB debt in three rapid-fire bond offerings that it was awarded without any bidding

process, netting the bank an astronomical $600 million in fees—200 times the typical sum for

such deals. Goldman did so amid a sea of red flags, including repeated protests from both within



1
    Unless otherwise noted, all emphasis is added.

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and outside the bank, which included explicit warnings about the very type of potential fraud that

ultimately occurred.

       3.      After each offering, hundreds of millions of dollars in proceeds—several billion

in total—were siphoned away to, among other things: (i) fund the corrupt Malaysian Prime

Minister, Najib Razak, who created 1MDB; (ii) pay off co-conspirators in Malaysia and the

Middle East; and (iii) finance the playboy lifestyle of the key architect of the sprawling fraud,

Low Taek Jho (also known as “Jho Low”). Then, after the last offering closed, Goldman’s Head

of Investment Banking for the Middle East structured a transaction to clean some of Low’s

stolen money, fully aware that the transfer of several hundred million dollars to Low lacked any

legitimate business purpose.

       4.      Throughout the Class Period, from February 28, 2014, through December 20,

2018, Goldman lied to and misled its shareholders about its true role in the 1MDB fraud. Once

public scrutiny of 1MDB and Low started to mount in 2014, Defendants falsely portrayed

Goldman’s work for both while denying all wrongdoing. Furthermore, Defendants repeatedly

touted Goldman’s supposedly robust risk management framework and internal controls. When

facts demonstrating Goldman’s central role came to light, its shareholders suffered huge losses,

as the bank’s stock price fell precipitously on the market’s astonishment that Goldman had

actively facilitated—and handsomely profited from—the unprecedented global fraud.

       5.      Ironically, Goldman’s current predicament traces its origins to the Company’s

exit from another set of scandals not long before. In the wake of the financial crisis, Goldman

faced a raft of regulatory inquiries, criminal investigations, and civil fraud lawsuits concerning

various charges of self-dealing, ethical lapses, and governance failures, leading to billions of




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dollars in settlements. Goldman’s prized reputation as the most prestigious of the global

investment banks was badly tarnished.

       6.      Looking to repair the damage, Goldman created a “Business Standards

Committee” (“BSC”) to conduct what Blankfein called “the most extensive review of the firm’s

business standards and practices in the firm’s 144-year history.” Several months later, the BSC

produced a sixty-three page report detailing “39 recommendations for change” at the bank. These

reforms focused on improving compliance at the bank to safeguard its reputation, mandating,

among other things: (i) stronger due diligence; (ii) robust internal reporting mechanisms; (iii)

pre- and post-transaction monitoring; (iv) an annual review process that linked advancement and

compensation to compliance; and (v) a hierarchy of committees that would review important

transactions to ensure that they did not pose reputational or compliance risks. An oversight group

set about implementing these changes immediately, and Cohn issued a letter to Goldman’s

shareholders representing that these measures had been “fully implemented” no later than

February 2013. A remade Goldman was born, publicly chastened and newly committed to

effective compliance and risk controls.

       7.      In private, however, its top executives were plotting a course away from the

intense regulatory spotlight and lower profits of its traditional markets. Goldman’s deal fees in

the United States and Europe were depressed as a result of the Great Recession, and the bank

was stung by the billions in penalties it had paid for recent misconduct. Seeking new fee

opportunities, Blankfein pushed his bankers to “be Goldman Sachs in more places”—namely, in

emerging markets, particularly Asia. Building on Blankfein’s pivot, Cohn rolled out a plan to tap

sovereign wealth funds in these growth economies to serve as a new source of advisory and




                                                4
underwriting fees for the firm’s core Investment Banking Division. Cohn called the initiative

Goldman’s drive to “monetize the state.”

       8.      Goldman gave Cohn’s new strategy a test run in Libya, where the Company

pitched the post-sanctions Gaddafi regime on a series of complex derivative trades that the

country’s rich, but naive, state investment fund failed to understand. While internally disparaging

their client’s “zero-level” financial sophistication, senior Goldman bankers gushed to each other

that “[i]nvestment opportunities with this account is [sic] one of the largest I’ve ever seen.” The

bank’s sales team plied Libyan officials and their family members with lavish dinners, trips to

London and Dubai, and for one, a long-term internship at Goldman, leading to a criminal

investigation into whether Goldman violated the Foreign Corrupt Practices Act of 1977

(“FCPA”). The attention worked. The Libyans piled into trades that the bank recommended, and

Goldman earned between $200 million and $350 million in fees. The trades proved disastrous

for Goldman’s client, with the Libyan state fund losing $1.2 billion. Nevertheless, Goldman sent

the banker overseeing the Libya account team, Andrea Vella, to Hong Kong as part of

Blankfein’s focus on emerging economies. Vella was twice promoted, rising to Goldman’s Co-

Head of Investment Banking for all of Asia ex-Japan.

       9.      In his new post in Hong Kong, Vella worked with another star Goldman banker,

Tim Leissner, then the Head of Investment Banking for Southeast Asia. Like Vella, Leissner had

a reputation for skirting internal controls well before the 1MDB scandal, including dolling out

favors to drum up business that exposed the bank to FCPA violations in the Far East. Leissner’s

transgressions were tolerated, however, because he generated large fees for the bank.

       10.     Goldman’s work with Low and 1MDB began in 2009, when Roger Ng, a

Managing Director in Goldman’s Singapore office, introduced Leissner to Low. A Malaysian in



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his twenties with few professional accomplishments and no track record as a professional

investor, Low had traveled throughout the Middle East to meet managers of the Gulf states’

sovereign investment funds, with the idea of leveraging those contacts to establish and control

such a fund himself. Back home, one of his closest contacts had become the incoming Prime

Minister of Malaysia, Najib.

       11.     With Leissner’s assistance, Low convinced the sultan of an oil-rich Malaysian

state to set up a local investment fund and issue $1.4 billion in Islamic bonds. A local bank

underwrote the debt, but Goldman advised on the offering—the first of five deals that Goldman

would do with Low in as many years. When Najib assumed the premiership in April 2009, Low

persuaded him to take over the regional fund and expand its charter nationally, becoming 1MDB.

Najib viewed 1MDB as a political slush fund, while Low viewed it as a font of wealth that would

put him on par with the fund managers that he had encountered in the Gulf.

       12.     While Najib nominally oversaw 1MDB, Low was its de facto CEO, making all of

its significant operational decisions. That power in hand, Low embezzled $700 million in

proceeds from the Islamic bond issuance through a sham joint venture with a Saudi Arabian oil

company. Then, Low embarked on a spending spree of unprecedented magnitude, pouring

hundreds of millions of dollars into cavorting with celebrities in New York nightclubs, yacht and

private jet rentals, hotels and real estate, and alcohol-fueled parties across the globe. Low’s

consumption quickly attracted widespread press attention, with a variety of news outlets

detailing his jet-setting exploits in 2009 and 2010.

       13.     Meanwhile, Goldman sought more work with Low and the fund that he

controlled, which was precisely the sort of client that the bank was seeking for new revenue

streams in Cohn’s drive to “monetize the state.” In September 2009, Leissner and Ng



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recommended Low for an account with Goldman’s private banking arm in Switzerland, as Low

was eager to find new banks at which to stash his illicit funds. After reviewing Low’s finances,

however, Goldman’s Global Compliance Department rejected Low over concerns about his

unexplained source of wealth. It was the first of at least three instances that various Goldman

departments charged with maintaining internal controls rejected Low as a compliance risk,

concluding, “we have pretty much zero appetite for a relationship with this individual.”

       14.    Despite these unequivocal warnings, senior investment bankers and high-level

executives at Goldman sought instead to deepen the bank’s relationship with Low. Indeed, only

two months after Low was first flagged as an intolerable compliance risk, Blankfein met

privately with Low, Najib, and Leissner at the Four Seasons in New York in November 2009 to

discuss how Goldman could do business with 1MDB. The meeting laid the groundwork for a

half-decade of lucrative deals—as well as at least two more in-person meetings between

Blankfein and Low.

       15.    In 2012, with $1.4 billion in debt and virtually no assets to show for it, 1MDB

looked to tap the international capital markets, and Low approached Goldman for help. The

bankers met with Low and determined that, with no credit rating, 1MDB would need a guarantor.

Low suggested the International Petroleum Investment Company (“IPIC”), a sovereign wealth

fund in Abu Dhabi whose managers had an equal penchant for corruption. After traveling

together to the emirate, Low informed Leissner and Ng that, to secure the guarantee, they would

have to pay kickbacks to government officials in Malaysia and Abu Dhabi. Ng relayed the

message to Vella, who agreed. Goldman, through Vella, Leissner, and Ng, and with the approval

of other senior executives, including Blankfein and Cohn, then exclusively underwrote three

bond offerings for 1MDB at Low’s behest, raising $6.5 billion for the fund in only ten months.



                                               7
For its work, Goldman received a staggering $600 million in fees—200 times the $1 million per

offering that banks would typically receive for such transactions in the region.

       16.       There was a reason for this surfeit of riches: Low and 1MDB did not offer other

investment banks an opportunity to bid on any of these deals, and paid Goldman to lend its name

and prestige to large debt raises riddled with red flags from start to finish, as described below.

Goldman proved happy to oblige, disregarding the following warning signs while quashing those

within the bank who dared to call attention to the obvious.

       17.       Jho Low. By the first bond offering, Low had been rejected numerous times as

persona non grata by various compliance functions within Goldman due to his unexplained

wealth and extensive press about his unbridled spending. Furthermore, knowledge within

Goldman of Low’s role as 1MDB’s principal representative and facilitator extended well beyond

the deal team:

             a. First, Blankfein met privately with Low at least three times before, during, and

                 after the bond deals to discuss how the bank could do more business with 1MDB.

             b. Second, Leissner explicitly informed Goldman’s Head of Global Compliance and

                 the Capital and Suitability Committees—two top firmwide committees charged

                 with reviewing the deals for reputational risk—that Low was a key intermediary

                 for 1MDB.

             c. Third, internal documents, including Goldman emails, discussed Low’s

                 importance to the 1MDB account, with one Managing Director writing that Low

                 was “the 1MDB Operator or intermediary in Malaysia” just before the first

                 offering came to market.




                                                 8
             d. Fourth, Goldman bankers traveled openly with Low and included him in 1MDB-

                related meetings with third parties across Asia, the Middle East, and the United

                States.

             e. Fifth, the 1MDB deal team repeatedly alerted compliance-related functions and

                other Goldman business units that they were working with Low and considered

                him an important client.

Goldman’s decision to move ahead with each multi-billion-dollar deal despite its knowledge that

Low was orchestrating each reflected the bank’s willingness to disregard its compliance

departments’ warnings when large fees were in play.

       18.      The Najib Regime. Various indicators around the government of Najib, which

chartered 1MDB, further reflected a strong likelihood of corruption. To begin with, corruption in

Malaysia was endemic. The Wall Street Journal reported in 2012 that Malaysia was the most

corrupt country in the world in which to do business, with kickbacks and bribes frequently

required to win business from the government. Both Najib, who had been dogged by allegations

of corruption for years as a government minister, and his wife, Rosmah Mansor, had a reputation

for graft. In fact, soon after Goldman began working with 1MDB, Rosmah, whose ostentation

was a frequent subject of controversy in Malaysia, had demanded a $300,000 contribution from

Goldman to a “charity” that she controlled, which the 1MDB deal team sought to make through

Goldman’s charitable arm. Moreover, just before Goldman launched 1MDB’s first $1.75 billion

bond offering in May 2012, tens of thousands of protesters took to Kuala Lumpur’s streets to

demand reforms, calling for Najib’s resignation amid charges of corruption. The third and largest

of the bond deals—$3 billion, which Najib requested only weeks after the second $1.75 billion

offering had funded—came in the midst of a heated national election during which Goldman



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bankers openly discussed the likelihood that Najib was diverting 1MDB funds for political

gain. Nevertheless, in a country rife with corruption and a regime taking it to extremes, Goldman

chose to remain 1MDB’s exclusive underwriter.

       19.       Deal Terms. More than a half-dozen highly suspicious features of the $6.5 billion

in bond offerings themselves indicated that the rushed, secretive deals were conduits for

corruption:

              a. First, 1MDB’s willingness to pay Goldman nearly 200 times the typical fee was a

                 strong indicator that misconduct was afoot. As a former Goldman Partner put it to

                 Bloomberg, “the amount of money Goldman Sachs made from relatively plain

                 bond deals should have been a bright warning to its highest executives.”

              b. Second, the deals involved guarantees by an Abu Dhabi investment fund half a

                 world away, run by a managing director with a reputation for demanding

                 kickbacks.

              c. Third, the offerings, each of which was awarded to Goldman without competition,

                 were marked by extreme secrecy, with a Goldman employee being told to keep

                 all discussion of the bonds off of email.

              d. Fourth, the stated intent of the offerings was frequently shifting and consistently

                 inadequate. Half or more of each capital raise was devoted to unidentified

                 “general purposes,” with the offering circular for the third and largest round

                 disclosing that the fund had no investment prospects.

              e. Fifth, Goldman structured the deals as private placements, shrouding them from

                 public view. While the bank later sought to justify its enormous fees on the

                 ground that it bore increased risks by buying the bonds itself from 1MDB for



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                resale, it had in fact lined up purchasers in advance, meaning it took on virtually

                no risk from the deals.

             f. Sixth, the bonds’ yields were unusually high, as much as 2 ½ times that of

                comparable securities, again raising the question of why 1MDB was willing to

                pay so much to bring these offerings to market. The high interest rates made the

                bonds extremely attractive to investors, however, making it all the more easy for

                Goldman to offload them.

             g. Seventh, the timing of the issuances was suspicious, with the three deals occurring

                in quick succession with little justification for the speed Najib demanded in

                closing them or why additional capital was required so soon after the most recent

                infusion.

             h. Eighth, 1MDB insisted on using a tiny Swiss private bank called BSI Ltd. to

                receive the mammoth proceeds of each bond offering—a selection designed to

                avoid the more rigorous compliance of a global financial institution.

       20.      Internal Dissent. Within Goldman were executives and senior bankers who saw

how dubious the 1MDB deals were and sensed the reputational damage that they could bring.

Yet when they spoke out, as the BSC reforms had both encouraged and required, Goldman

silenced them. For example, David Ryan, President of Goldman Asia and member of Goldman’s

Management Committee, expressed misgivings during each of the three offerings about the

deals’ suspect terms, the bank’s unwarranted profits, and the fund’s willingness to award

Goldman the unusually lucrative underwriting business without soliciting competing bids. Rather

than heed the concerns of one of the bank’s senior-most executives, Cohn sidelined Ryan,

overruled his repeated warnings, and installed a pro-1MDB chairman above him. Another banker



                                                 11
in Southeast Asia, Alex Turnbull, faced similar treatment after sending an email to colleagues

expressing disbelief about the first offering’s terms, including its pricing and the lack of

transparency about how the funds would be used. Turnbull was reprimanded by Goldman’s own

Compliance Department for questioning the deal and “b-tracked” until he left the bank two years

later.

         21.      Outside Warnings. Professionals outside the bank also sounded the alarm, again

to no avail. During preparation for the first offering, Goldman engaged Lazard Ltd., another

prominent investment bank, to provide a valuation for the power assets that a portion of the

proceeds was earmarked to buy. Finding that the valuation sought by Goldman was far too high,

Lazard pulled out, concluding that the deal “smacked of political corruption.” Lazard proved

correct: after the deal closed, the seller made $170 million in donations to a “charity” arm of

1MDB for Najib to use as a slush fund, while 1MDB wrote down $400 million of the assets’

value, admitting it had overpaid. Outside auditors, lawyers, and compliance desks at other banks

likewise saw signs of fraud. For example:

               a. 1MDB fired its first auditors, Ernst & Young, when the firm would not certify an

                  accounting sleight-of-hand that Low had demanded at the end of the fund’s

                  maiden year. The next auditors, KPMG, provided the certification only after

                  conspicuously noting its concern about the issue in 1MDB’s financial statements.

                  It, too, was later fired. A third set of auditors, Deloitte, resigned after just two

                  years with the fund.

               b. BSI, 1MDB’s own bank, questioned why it, a small private Swiss institution, had

                  been tapped to receive $3 billion in proceeds from the large debt offering of a




                                                   12
                sovereign wealth fund. To keep the bond deal on track, Goldman bankers

                interceded and convinced BSI to accept the transfer.

             c. Linklaters LLP., Goldman’s own outside counsel on the third offering, also

                voiced concern about relying on BSI as the custodian bank. Goldman shrugged

                off the warnings and went ahead with the issuance anyway, earning its biggest

                payday to date.

       22.      A similar cycle repeated itself after each of the offerings. After each deal funded,

hundreds of millions of dollars disappeared from 1MDB’s account almost immediately—just as

it had with the $1.4 billion Islamic bond offering for 1MDB’s predecessor fund on which

Goldman had earlier advised. Then, within days or weeks, Low and Najib would return to

Goldman to ask for another massive capital raise, providing no explanation as to where the

hundreds of millions earmarked for “general purposes” in the last deal had gone. Goldman would

immediately agree and begin work preparing the next offering. Yet even a cursory look into

1MDB’s financial records during the due diligence that such preparation required would have

revealed the enormous holes in 1MDB’s balance sheet and explained why the fund needed more

cash so soon.

       23.      Goldman, however, was driven by the prospect of more fees from what had

become one of its most lucrative clients. Indeed, soon after the third offering closed, Blankfein

met with Low for a third time to discuss how the bank could do more business with 1MDB.

Even as the Federal Reserve in 2014 began scrutinizing the 1MDB deals and warning Goldman

about the reputational risk that the relationship posed, Blankfein continued his push for more

profits. Inside the bank, Blankfein lauded Vella’s and Leissner’s work with 1MDB, and boasted




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to a gathering of Goldman investment bankers, “[l]ook at what Tim and Andrea did in

Malaysia. We have to do more of that.”

       24.      Blankfein’s high praise aside, Goldman’s fifth deal with Low had nothing to do

with either Leissner or Vella. Since 2012, Goldman’s Head of Investment Banking for the

Middle East and North Africa, Hazem Shawki, had been advising Low on a proposed takeover of

Houston-based Coastal Energy—one of many means by which Low sought to turn his stolen

1MDB funds into assets that appeared legitimate. Learning of the deal as it approached fruition

in 2014, Goldman compliance personnel, who had rejected Low as a client on three separate

occasions, wrote in an internal document, “Jho Low’s appearance is not welcome. But if he is

in a very minor role . . . then we may be able to live with it.” With this encouragement, Shawki

nominally changed clients to advise Low’s partner in the acquisition, a subsidiary of IPIC, the

Abu Dhabi fund whose corrupt executives had been taking kickbacks to guarantee 1MDB’s

bonds. Then, within days of the acquisition’s closing, the IPIC subsidiary paid Low $350

million, supposedly to buy out the shares in Coastal Energy that Low had acquired with only $50

million a week before—a 600% return on investment. The transfer to Low was textbook money

laundering, and Shawki knew of the transfer at the time.

       25.      Beginning in late 2014 and continuing throughout the Class Period, media

scrutiny on Goldman’s inexplicably large fees from its cozy relationship with 1MDB and Low

gathered steam. Now facing questions about a series of deals that it had tried to keep quiet,

Goldman issued a series of materially false or misleading statements about its work with 1MDB

and Low. For example:

             a. Responding to an October 2014 article in the Malaysian outlet The Edge,

                Goldman stated: “Other than legal and accounting firms providing professional



                                              14
               services, no fees or commissions were paid by 1MDB or Goldman Sachs to

               external third parties in connection with these transactions, nor have we ever

               been asked by 1MDB or others to pay such fees or commissions[.]” Yet

               Goldman’s own senior bankers had agreed to pay kickbacks to government

               officials in Malaysia and the Middle East, and it is beyond dispute that 1MDB

               paid billions to conspirators in the scheme.

           b. In December 2016, after The Wall Street Journal published an article titled,

               “Goldman Sachs Ties to Scandal-Plagued 1MDB Run Deep,” Goldman claimed

               publicly: “We have found no evidence showing any involvement by Jho Low in

               the 1MDB bond transactions” Of course, Blankfein himself had personally met

               with Low before, during, and after the 1MDB bond offerings to discuss how

               Goldman could do business with the fund, and a mountain of other evidence,

               including internal Goldman emails, confirmed the bank’s contemporaneous

               knowledge that Low was a key intermediary.

           c. In June 2018, as pressure on the bank mounted amid deepening civil and criminal

               probes in the United States and Malaysia, the bank claimed: “What we earned

               from the debt transactions reflected the risks we assumed at the time.” In truth,

               Goldman had taken on virtually no risk in the offerings, as the bank had lined up

               buyers before closing and could have easily sold the bonds regardless due to their

               unusually high interest rates and dual-sovereign guarantee.

Meanwhile, in each of its annual and quarterly filings with the SEC during the Class Period, the

bank consistently touted the strong risk-management and compliance safeguards that it claimed

were so improved after the financial crisis.



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       26.     These and other statements that Goldman made to obscure its central role in the

1MDB scandal were exposed as false or misleading by a flurry of investigative reports, criminal

charges, and civil suits filed amid intense media coverage. In a series of disclosures beginning in

May 2016, continuing through December 2018, information concerning Goldman’s culpability

for facilitating one of the largest and most sprawling financial frauds in history was revealed.

Goldman shares plummeted as the market began to grasp the magnitude of the bank’s exposure,

wiping out billions in market capitalization and directly causing damages to Lead Plaintiff and

other class members. Through this action, Lead Plaintiff seeks to hold Defendants accountable

for deceiving Goldman’s shareholders.

II.    JURISDICTION AND VENUE

       27.     The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act, 15 U.S.C. §§ 78(b) and 78t(a), and the rules and regulations promulgated thereunder,

including SEC Rule 10b-5, 17 C.F.R. § 240.10b-5.

       28.     This Court has jurisdiction over the subject matter of this action pursuant to

Section 27 of the Exchange Act, 15 U.S.C. § 78aa, and under 28 U.S.C. § 1331, because this is a

civil action arising under the laws of the United States. Venue is proper in this District pursuant

to Section 27 of the Exchange Act and 28 U.S.C. § 1391(b).

       29.     Defendant Goldman maintains an office in this District, sponsors common stock

on the New York Stock Exchange (“NYSE”), and engaged in the public offering of common

stock in this District. Moreover, certain of the acts that constitute the violations of law

complained of herein, such as the dissemination of materially false or misleading information to

the investing public, including in Goldman’s filings with the SEC, occurred in and/or were

issued from this District.



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       30.     In connection with the acts alleged herein, Defendants, directly or indirectly, used

the means and instrumentalities of interstate commerce, including, but not limited to, the mails,

interstate telephone communications, and the facilities of a national securities market.

III.   PARTIES

       A.      Lead Plaintiff

       31.     Lead Plaintiff AP7 is a Swedish public pension fund, established under law as a

Swedish governmental agency, with over $50 billion in assets under management. As set forth in

the certification attached hereto as Exhibit A, AP7 purchased or otherwise acquired Goldman’s

common stock during the Class Period and suffered damages as a result of the federal securities

law violations alleged herein.

       B.      Defendants

               1.      The Goldman Sachs Group, Inc.

       32.     Defendant Goldman is a Delaware corporation that maintains its principal

executive offices at 200 West Street, New York, New York. Founded in 1869, Goldman is one of

the world’s largest investment banking and financial services companies. It maintains offices in

major financial centers around the world and provides a wide range of financial services to

corporations, financial institutions, governments, and individuals. The Company’s common

stock is listed and traded on the NYSE under the ticker symbol “GS.”

               2.      The Individual Defendants

       33.     Defendant Blankfein served as CEO and Chairman of Goldman from 2006 until

September 30, 2018, and the end of 2018, respectively. He has served as Senior Chairman of

Goldman since January 1, 2019. He was elected to the Board of Directors in 2003. During the

Class Period, Blankfein was responsible for the day-to-day management and controlled and

directed the business and activities of Goldman, including certifying Goldman’s periodic filings

                                                17
with the SEC and speaking on a regular basis with investors and securities analysts regarding the

Company. Blankfein approved and signed Goldman’s Forms 10-K, Proxy Statements, and

Annual Reports throughout the Class Period.

       34.    Defendant Cohn began his career at Goldman in 1990 and held various positions

in the firm during his tenure. Most recently, Cohn served as Goldman’s President and COO from

2006 through his resignation, effective December 31, 2016. Cohn was a member of the

Company’s Board of Directors from 2006 until his resignation and a member of its Management

Committee from 2002 until he left the firm. He was also Chairman of the firmwide Business

Standards Committee. During the Class Period, Cohn was responsible for the day-to-day

management of the firm, controlling and directing the business and activities of Goldman,

including certifying Goldman’s periodic filings with the SEC, and speaking regularly with

investors and securities analysts about the Company. Cohn approved and signed, among other

things, Goldman’s 2013, 2014, and 2015 Forms 10-K and Annual Reports.

       35.    Defendant Schwartz served as Goldman’s President and Co-COO from January

2017 until his retirement from the firm on April 20, 2018. Before that, Schwartz served as

Goldman’s CFO from January 2013 through April 2017. From February 2008 to January 2013,

Schwartz was global Co-Head of Goldman’s Securities Division. During the Class Period,

Schwartz was responsible for the day-to-day management and controlled and directed the

business and activities of Goldman, including certifying Goldman’s periodic filings with the

SEC and speaking on a regular basis with investors and securities analysts about the Company.

Schwartz approved and signed Goldman’s 2013, 2014, 2015, and 2016 Forms 10-K, as well as

Goldman’s 3Q 2014 Form 10-Q and all Forms 10-Q filed by the Company in 2015 and 2016.




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       C.      Non-Party Goldman Executives

       36.     J. Michael Evans joined Goldman in 1993 and was named a Partner in 1994.

From 2011 until he retired in December 2013, Evans served as the Global Head of Growth

Markets (also referred to as “emerging markets”). From 2004 to 2013, Evans held the post of

Chairman of Goldman Sachs Asia, also serving as Vice Chairman of the Company from

February 2008 until his retirement. From 2010 through 2013, Evans co-chaired the Business

Standards Committee. Evans also held a seat on Goldman’s Management Committee from 2009

through his retirement.

       37.     Timothy Leissner joined Goldman in 1998 and was promoted to Head of

Investment Banking for the Singapore office in 2002, then became Head of Investment Banking

for Southeast Asia no later than 2007. He became a Partner (also referred to as a “Participating

Managing Director”) in 2006. Leissner was also elevated to Goldman’s Partnership Committee

in 2013, becoming one of only about two-dozen members across the entire firm to hold a place

on that Committee. In July 2014, Leissner was promoted to Chairman of Southeast Asia.

Leissner left the bank in 2016. On June 7, 2018, federal prosecutors filed a two-count criminal

complaint and supporting affidavit in connection with Leissner’s involvement in the 1MDB

scandal. On August 28, 2018, Leissner pled guilty to conspiring to violate the FCPA and commit

money laundering. He is currently awaiting sentencing.

       38.     Roger Ng is a Malaysian national who worked at Goldman from approximately

2005 until his resignation in May 2014, having served as a Managing Director in Singapore from

2009. Ng was also head of Goldman’s Southeast Asian sales and trading unit for fixed income,

currencies, and commodities at the time of his resignation. On October 3, 2018, federal

prosecutors filed a three-count indictment against Ng for his involvement in the 1MDB scandal.



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       39.    David Ryan served as President of Goldman Asia from 2011 until his resignation

in July, 2013. In this role, Ryan built out Goldman’s Chinese and Indian businesses, acquired

and integrated its Australian business, expanded the Company’s head count in Singapore

threefold, and opened the Malaysia business. Ryan was a member of the firmwide Management

Committee.

       40.    Hazem Shawki was Goldman’s Head of Investment Banking for the Middle East

and North Africa from June 2011 to July 2019, based in Goldman’s Dubai office. Shawki had

been a Managing Director for Goldman from 1999 to 2008, then worked for three years in

private equity before returning to Goldman.

       41.    David Solomon joined Goldman as Partner in 1999 and has served as Goldman’s

CEO and Chairman since October 1, 2018, and January 1, 2019, respectively. Before that,

Solomon served as Goldman’s President and Chief Operating Officer beginning in 2017. Prior to

that, Solomon served as Co-Head of the Investment Banking Division from 2006 to 2016.

Earlier, Solomon was the Global Head of the Company’s Financing Group, one of two

departments within the Investment Banking Division.

       42.    Andrea Vella joined Goldman as a Partner in 2007 and relocated to Asia in 2010,

serving as Goldman’s Head of Credit Capital Markets in Asia ex-Japan. In January 2014, Vella

was promoted to Co-Head of Goldman’s Financing Group for Asia ex-Japan. In May 2015, Vella

was appointed Co-Head of Goldman’s Investment Banking Division for all of Asia ex-Japan.

Vella was placed on leave in November 2018 for his involvement in the 1MBD scandal.

       D.     Relevant Non-Parties

       43.    Low Taek Jho (“Jho Low” or “Low”) is a Malaysian national that served as an

intermediary on behalf of Goldman, 1MDB, and Malaysian and other foreign government

officials in connection with the three bond offerings Goldman underwrote for 1MBD in 2012 and

                                              20
2013, as well as other financial transactions involving Goldman and 1MDB. On October 3, 2018,

federal prosecutors filed a two-count indictment against Low for his involvement in the 1MDB

scandal.

        44.      Najib Razak served as the sixth Prime Minister of Malaysia, holding that position

from April 3, 2009 until May 10, 2018.

IV.     FACTUAL ALLEGATIONS

        A.       Goldman Sachs

                 1.       Global Prestige, Checkered Past

        45.      Goldman is one of the world’s largest and most profitable investment banks. It

divides its operations among four segments: Investment Banking, Institutional Client Services,

Investing and Lending, and Investment Management. Its Investment Banking segment—the

bank’s most prominent—focuses on advisory and capital-raising services for a range of private

and public sector clients.2

        46.      The bank’s internal hierarchy is clear. At the top are the Partners, who in 2010

numbered 375 out of roughly 35,000 employees—just over 1% of the firm’s workforce.3 The

second-highest rung is held by the Managing Directors, the ranks of which have recently

increased to about 2,150, or 7% of Goldman workers.4 Stewardship of the firm’s business and

operations is done by committee, with multiple layers of regional and firmwide groups staffed by

senior bankers and other executives. Above all others is the Management Committee, which

“oversees [Goldman’s] global activities . . . directly and through authority delegated to


2
  The Goldman Sachs Grp., Inc., 2018 Annual Report at 1.
3
   Susanne Craig, How Goldman Makes (and Unmakes) Its Partners, The N.Y. Times (Sept. 12, 2010),
https://dealbook.nytimes.com/2010/09/12/how-goldman-makes-and-unmakes-its-partners/.
4
  Matt Turner & Alex Morrell, Goldman Sachs’ new managing-director list is out – and it’s the largest class in the
firm’s history, Bus. Insider (Nov. 8, 2017), https://www.businessinsider.com/goldman-sachs-new-managing-
director-list-is-out-2017-11.

                                                       21
committees it has established.”5 By the bank’s own description, the Management Committee

“consists of [its] most senior leaders, and is chaired by [its] chief executive officer.”6

        47.     Goldman’s regulatory compliance functions are divided between the Legal and

Global Compliance departments. Within Legal is the Business Intelligence Group, which,

according to the bank, “provides research and due diligence focused on legal, regulatory,

financial and reputational risk to the firm’s businesses and committees worldwide.”7 The group

is supposed to play a key role in vetting clients and counterparties in Goldman’s significant

relationships, including informing executives and oversight committees of information they need

to know to approve important transactions. From 1992 until January 2019, the Legal Compliance

department was managed by longtime General Counsel, Executive Vice President, Partner, and

member of the Management Committee, Gregory Palm.8

        48.     Goldman’s Global Compliance department is intended to complement and

overlap with Legal’s risk-management functions. According to the bank, Global Compliance is

“dedicated to protecting the reputation of the firm and managing risk across all business areas.”9

Its mandate is described as: “Working closely with each business, our professionals interpret and

ensure compliance with regulatory requirements and determine how the firm can appropriately

pursue global market opportunities. We monitor regulatory trends and changes in all jurisdictions

in which the firm does business, and we share information and collaborate with regulators to




5
  The Goldman Sachs Grp., Inc., 2018 Annual Report at 78.
6
  Id.
7
   Legal, The Goldman Sachs Grp., Inc. (last visited Oct. 23, 2019), https://www.goldmansachs.com/careers
/divisions/legal/.
8
  Debra Cassens Weiss, One of America’s wealthiest corporate lawyers is retiring, ABA Journal (Jan. 9, 2019),
http://www.abajournal.com/news/article/one-of-americas-wealthiest-corporate-lawyers-is-retiring.
9
  Global Compliance, The Goldman Sachs Grp., Inc. (last visited Oct. 23, 2019), https://www.goldmansachs.com/
careers/divisions/global-compliance/.

                                                     22
manage financial market risk.”10 Specialized units within the department include Financial Crime

Compliance (comprised of, among other groups, the Anti-Money Laundering/Suspicious

Activities Group, the Government Sanctions Group, and the Anti-Bribery Group), Global

Compliance Training, Regulatory Reporting, and Surveillance Analytics. From 2004 until 2017,

the department was overseen by Global Head of Compliance, Executive Vice President, Partner,

and Management Committee member, Alan Cohen.11

        49.      These departments, as well as the executives and committees overseeing them,

stumbled badly during the global financial crisis of 2007 to 2009, when Goldman was the subject

of a series of high-profile legal actions that Goldman paid billions of dollars to resolve,

including:

              a. Goldman’s payment of $5.06 billion to settle claims that it misled mortgage bond

                 investors during the financial crisis;12

              b. Goldman’s repurchase of $3.15 billion worth of mortgage-backed securities to

                 resolve allegations that it had knowingly “unload[ed] low-quality mortgage

                 bonds” on Fannie Mae and Freddie Mac from 2005 to 2007;13 and

              c. A $550 million payment from Goldman to the SEC to settle the “Abacus”

                 mortgage-backed security scandal, then the largest-ever fine paid by a Wall Street

                 firm to the SEC, along with an agreement to reform the bank’s practices.14



10
   Id.
11
   Press Release, The Goldman Sachs Grp., Inc., Goldman Sachs Names Alan Cohen Global Head Of Compliance
(Feb. 2, 2004); Liz Hoffman, Goldman’s Compliance Chief Moves On, The Wall Street Journal (Jan. 17, 2017),
https://www.wsj.com/articles/goldmans-compliance-chief-moves-on-1484682859.
12
   Suzanna Barlyn, Goldman Sachs to pay $5 billion in U.S. Justice Dept mortgage bond pact, Reuters (April 11,
2016),     https://www.reuters.com/article/us-goldman-sachs-mbs-settlement/goldman-sachs-to-pay-5-billion-in-u-s-
justice-dept-mortgage-bond-pact-idUSKCN0X81TI.
13
   Nathaniel Popper, Goldman to Pay $3.15 Billion to Settle Mortgage Claims, The N.Y. Times (Aug. 22, 2014),
https://dealbook.nytimes.com/2014/08/22/goldman-to-pay-3-15-billion-to-settle-mortgage-claims/.

                                                       23
        50.      In total, Goldman paid more than $9.5 billion in fines and settlements stemming

from allegations that its compliance and corporate governance measures failed to prevent the

bank from engaging in deliberate wrongdoing to benefit itself.15

        51.      Although the bank avoided the reckoning faced by some of its peers that shuttered

their doors, Goldman emerged from the crisis with its reputation in tatters. Blankfein’s public

apology for its crisis-era misconduct, in which he admitted, “[Goldman] participated in things

that were clearly wrong,” did little to quell outrage at the bank.16 While Palm and Cohen kept

their jobs—Palm retired from the bank a decade later having earned $500 million during his

tenure at Goldman17—its executive team recognized the need for a wholesale public image

revamp.

                 2.      Goldman Claims to Clean Up Its Image through a Multiyear
                         “Business Standards Committee” Review

        52.      At Goldman’s Annual Shareholder Meeting on May 7, 2010, Blankfein

announced the creation of the BSC. In what purported to be “the most extensive review of the

firm’s business standards and practices in the firm’s 144 year history,”18 the BSC was given the

mandate of “ensur[ing] that the firm’s business standards and practices are of the highest quality;

that they meet or exceed the expectations of our clients, other stakeholders and regulators; and




14
   Francesco Guerrera, Henry Sender & Justin Baer, Goldman Sachs settles with SEC, Fin. Times (July 16, 2010),
https://www.ft.com/content/4bd43894-904c-11df-ad26-00144feab49a.
15
   Wall Street’s Six Biggest Bailed-Out Banks: Their RAP Sheets & Their Ongoing Crime Spree, Better Markets, 12
(Apr. 9, 2019), https://bettermarkets.com/sites/default/files/Better%20Markets%20-%20Wall%20Street%27s%
20Six%20Biggest%20Bailed-Out%20Banks%20FINAL.pdf.
16
      $500 Million, and an Apology, From Goldman, The N.Y. Times (Nov. 18, 2009),
https://dealbook.nytimes.com/2009/11/18/500-million-and-apology-from-goldman/.
17
   Sridhar Natarajan & Tom Metcalf, Goldman’s $500 Million Lawyer Has Called It Quits, Bloomberg (Jan. 9,
2019),        https://www.bloomberg.com/news/articles/2019-01-09/goldman-s-last-million-share-man-set-to-go-as-
partnership-fades.
18
   The Goldman Sachs Grp., Inc., Business Standards Committee Impact Report (May 2013) (“BSC Impact Report”)
at 3.

                                                      24
that they contribute to overall financial stability and economic opportunity.”19 Its members

included then-Investment Banking Division Co-Head (now Goldman CEO) Solomon; Global

Head of Compliance Cohen; and Vice Chairman and Head of Emerging Markets for the bank,

Michael Evans.

        53.      Eight months later, the BSC issued its findings in a sixty-three page report

published on the firm’s public website (“BSC Report”), which emphasized that “Goldman Sachs

has one reputation” and that “[e]very employee has an equal obligation to raise issues or

concerns, no matter how small, to protect the firm’s reputation.”20 An overriding principle of

the “new” Goldman Sachs would be to ask, “not just ‘can we’ undertake a given business

activity, but ‘should we.’”21

        54.      The Report made “39 recommendations for change” necessary to maintain

“constant focus on the reputational consequences of every action we take.”22 Specific

recommendations included: (i) “[s]trengthening our standards for the identification, review,

approval and documentation of structured products”; (ii) “[i]mplementing enhanced disclosure

and origination standards for each business unit that is responsible for originating structured

product securities”; (iii) “implementing enhanced and consistent policies and procedures on

disclosure, approval processes, and other controls”; and (iv) “[u]pdating and strengthening the

Code of Business Conduct and Ethics and requiring employees to certify their compliance.”23




19
   Id. at 1.
20
   The Goldman Sachs Grp., Inc., Report of the Business Standards Committee (January 2011) at 4.
21
   Id. at 2.
22
   Id. at 1-2.
23
   Id. at 4-5.

                                                      25
The bank’s annual review process would also be revised to “[e]mphasize risk management and

reputational judgment/compliance.”24

        55.      A key focus of the BSC review was improving committee governance.25

Committee oversight was meant to play a critical role in risk management at Goldman, and the

BSC Report affirmed that “committees serve as a vital control function.”26 The BSC revised the

committee structure to “enhance accountability for business standards and practices, especially

reputational risk management” and “provide a clear roadmap for identifying, escalating and

resolving reputational and client matters.”27

        56.      At the top of this hierarchy was the firmwide Management Committee, which

“oversees the global activities of the firm, including all of the firm’s independent control and

support functions.”28 In 2012, the year Goldman began underwriting 1MDB’s bond issuances, its

30 members included a number of executives later implicated in the 1MDB scandal, including:

Defendants Blankfein, Cohn, and Schwartz; Vice Chairmen Evans, Mark Schwartz, and Michael

Sherwood; Asia President David Ryan; and Head of Investment Banking, Solomon.29

        57.      As described below, at least five other committees reviewed and approved each of

the 1MDB bond offerings, including the following firmwide committees:

              a. Client and Business Standards Committee. The permanent Client and Business

                 Standards Committee (also referred to as simply the firmwide Business Standards

                 Committee, distinct from the BSC) was responsible for “assess[ing] and mak[ing]



24
   BSC Impact Report at 26.
25
   Id. at 2.
26
   The Goldman Sachs Grp., Inc., Report of the Business Standards Committee (January 2011) at 43.
27
   Id.
28
   The Goldman Sachs Grp., Inc., 2012 Annual Report at 78.
29
   Id. at 229.

                                                      26
                 determinations regarding business standards and practices [and] reputational risk

                 management” and overseeing implementation of the BSC recommendations.30

                 Chaired by Defendant Cohn, this Business Standards Committee reported

                 directly to the Management Committee.31

            b. Risk Committee. The firmwide Risk Committee was “globally responsible for

                 the ongoing monitoring and control of the firm’s financial risk.”32 It was chaired

                 by the firm’s CFO and reported to the Management Committee.

            c. Suitability Committee. Created by the BSC in February 2011, the firmwide

                 Suitability Committee provided “major transaction review” oversight in applying

                 “thorough and comprehensive standards for transaction approvals, particularly for

                 those transactions that present reputational risk.”33 It reported to the Client and

                 Business Standards Committee.34 Its chair was Goldman’s General Counsel,

                 Palm.35

            d. Capital Committee. The firmwide Capital Committee’s purpose was to “ensure

                 that the business and reputational standards for underwriting and capital

                 commitments are maintained on a global basis.”36 It reported to both the Client

                 and Business Standards Committee and the Risk Committee.37




30
   Id. at 78.
31
   Id.
32
   Id. at 79.
33
   BSC Impact Report at 4, 9.
34
   The Goldman Sachs Grp., Inc., 2012 Annual Report at 78.
35
   Id. at 79.
36
   Id. at 80.
37
   Id. at 78.

                                                      27
        58.      Due diligence throughout the transactional lifecycle was also implemented in

order to protect the bank’s reputation. So-called “strategic transactions”—large deals such as the

1MDB offerings—would “be subject to heightened review and approval” that included “new due

diligence procedures” involving multiple layers of review.38 Furthermore, Goldman expressed a

new commitment to pre- and post-transaction monitoring, noting that the bank’s “responsibilities

do not end on the execution date of a transaction. Post-transaction monitoring and follow-up

will create greater sales force accountability, greater transparency to clients and a better client

experience overall.”39

        59.      Finally, the BSC sought to assuage shareholder concerns that the bank’s internal

reporting process was broken, assuring that, following the BSC’s reforms, managers would

“regularly reinforce the firm’s strong culture of escalation and accountability across all divisions

and functions.”40 The Suitability Committee in particular was tapped to “act[] as a central point

of escalation and decision-making for suitability judgments across business and other firmwide

committees.”41 This emphasis, too, extended to post-transaction monitoring, with the BSC

proclaiming that after a deal closed, “[s]ales managers will be responsible for reviewing the

results of this monitoring and taking appropriate actions on relevant transactions,” which would

include “a mechanism for escalating issues to sales leadership and the Credit, Legal and

Compliance Departments.”42




38
   The Goldman Sachs Grp., Inc., Report of the Business Standards Committee (January 2011) at 29-30.
39
   Id. at 33.
40
   2013 Annual Report at 78.
41
   BSC Impact Report at 9.
42
   The Goldman Sachs Grp., Inc., Report of the Business Standards Committee (January 2011) at 33.

                                                      28
        60.      In a letter to shareholders accompanying its 2013 Annual Report, Goldman

proclaimed that, by February 2013, “all 39 recommendations had been fully implemented.”43

The letter emphasized “the individual and collective accountability of our people,” stating that,

as a result of the BSC review, “initiating, approving and executing a transaction for a client at

Goldman Sachs is now fundamentally different.”44 It continued:

        Process matters and the BSC changes have led to our processes being more clear,
        comprehensive and consistent. Business standards reflect the heightened scrutiny
        we bring to our own actions and activities, the role we play as a large financial
        institution and the responsibilities we have to our clients and to global financial
        intermediation. Documentation supporting our processes is more standardized and
        organized around escalation procedures. Transaction approvals focus on the core
        goals of serving our clients’ long-term interests and protecting the firm’s
        reputation. Taken together, these changes result in better judgments and decision
        making, which are among the most important impacts emerging from the BSC.45

The letter’s two signatories were Blankfein and Cohn.46
        61.      Publicly, Blankfein and Cohn touted the “reforms” implemented by way of the

BSC review as a wholesale change in the way the bank would do business, committing it to

intensive due diligence, pre- and post-transaction monitoring, rigorous internal risk reporting,

and the quick elevation of concerns to senior management and those responsible for safeguarding

internal controls. Internally, however, the overhaul did little to change Goldman’s irrepressible

culture of prizing deal-making—and the fees it generated—over publicly promised compliance.

Indeed, Palm and Cohen, the two top-level Goldman executives charged with ensuring adequate

compliance who had so thoroughly failed during the financial crisis, each remained in their posts.

Then, after the BSC’s vaunted rollout, they again stood by as the Investment Banking Division

that formed the bank’s power center ran roughshod over their departments—sometimes with


43
   2013 Annual Report at 6.
44
   Id. at 7.
45
   Id.
46
   Id. at 8.

                                                29
their staff’s acquiescence, other times with direct encouragement. Meanwhile, the supposedly

rigorous oversight function created by the BSC’s new structure proved little more than a

conveyor belt of rubber stamps, repeatedly approving profitable-but-suspect deals pushed by

Solomon’s investment bankers—including those involving Low and 1MDB.

               3.      Goldman’s Internal Post-Financial Crisis Push to “Monetize the
                       State” in Emerging Markets

                       a)     As Western Economies Languish, Goldman Resolves to Tap
                              Sovereign Wealth Funds as a New Source of Revenue

       62.     In 2008, with the U.S. economy in a tailspin and investment banking fees in its

traditional markets languishing, Goldman plied new waters in its search of profits. An especially

promising source of new fees was sovereign wealth funds—state-owned investment pools, often

in emerging markets in the Middle East and Asia, with trade surpluses fueled by oil exports.

Flush with foreign currency reserves, sovereign wealth funds are intended to invest that cash to

generate additional returns that can be reinvested in economic development and social programs

in the countries of origin. Due to a lack of investment expertise, these funds often look to global

investment banks like Goldman to provide advisory services and help them structure their

investments.

       63.     Goldman sought to exploit this need. President Cohn, then regarded as

Blankfein’s right-hand man, created a specialized, cross-departmental unit within the bank

specifically designed to target sovereign wealth funds.47 Internally, Cohn called the strategy a

drive to “monetize the state,” a phrase that captured how the oft-times naive executives of these




47
 Tom Wright & Bradley Hope, Billion Dollar Whale: The Man Who Fooled Wall Street, Hollywood, and the
World (“Billion Dollar Whale”) at 182 (2018).

                                                30
funds could be manipulated to generate maximum fees for the bank—with little regard for how

the sovereign’s investments actually performed.48

                          b)       Goldman’s First Foray into State-Fund “Monetization”
                                   Results in an FCPA Investigation Involving Kickbacks and
                                   Intermediaries

        64.      The dictatorship of Col. Muammar Gaddafi saw longstanding economic sanctions

lifted following the regime’s renunciation of weapons of mass destruction in 2004. As the

financial crisis set in several years later, Western financial firms—including Goldman—were

competing for lucrative business with the Libyan government and its cash-rich, but hopelessly

inexperienced, Libyan Investment Authority (“LIA”).49

        65.      Internal documents later revealed Goldman disparagingly describing the LIA as

having “zero-level” of financial sophistication, with Goldman bankers “deliver[ing] a pitch on

structured leveraged loans to someone who lives in the middle of the desert with his camels.”50

When another Goldman banker emailed the lead on the account to ask about the Libyans’

knowledge of derivatives, the latter replied, “Baaaaaaaasic.”51 Spotting a mark, Goldman

deployed its bankers to the Libyan capital, instructing its sales team to “stay a lot in Tripoli,”

adding, “[y]ou need to own this client.”52 A Goldman Partner confirmed, “[i]nvestment

opportunities with this account is [sic] one of the largest I’ve ever seen. We are all over them.”53



48
   Billion Dollar Whale at 182-83.
49
   Joe Palazzolo, Michael Rothfeld & Justin Baer, Probe Widens Into Dealings Between Finance Firms, Libya, The
Wall Street Journal (Feb. 3, 2014), https://www.wsj.com/articles/probe-widens-into-dealings-between-finance-
firms-libya-1391403417.
50
   Jill Treanor, Goldman Sachs hired prostitutes to win Libyan business, court told, The Guardian (June 13, 2016),
https://www.theguardian.com/business/2016/jun/13/goldman-sachs-hired-prostitutes-to-win-libyan-business-court-
told.
51
    Matthew Campbell & Kit Chellel, Hot Mess: How Goldman Sachs Lost $1.2 Billion of Libya’s Money,
Bloomberg Businessweek (Sept. 29, 2016), https://www.bloomberg.com/features/2016-goldman-sachs-libya/.
52
   Id.
53
   Id.

                                                       31
        66.      A key figure in this courtship of the LIA was Andrea Vella, a Goldman Partner

who specialized in selling derivative products. The Financial Times reported that, according to

those who worked with him, “his rise [at Goldman] was fueled by an appetite for risk in frontier

markets that stood out even among his colleagues at one of the world’s most profitable

investment banks.”54

        67.      In 2008, Vella began overseeing Goldman’s relationship with the LIA from the

bank’s London office.55 From that vantage, he directed the Goldman bankers’ push to ingratiate

themselves with LIA officials and their relatives. In one instance, Vella texted one banker to

“just be close” to the younger brother of the LIA’s deputy chief, regarded to be the principal

decision-maker at the fund.56

        68.      Overseen by Vella, Goldman bankers spent months cultivating the LIA, lavishing

fund officials and their relatives with extravagant dinners at high-end London restaurants, iPods,

foreign trips, and even prostitutes to win LIA’s business. The lead banker involved later said that

all of these expenses were signed off by at least two Goldman Partners and were fully

reimbursed.57

        69.      When the LIA’s deputy chief pushed for his younger brother to seek an internship

at Goldman, Vella took notice, spotting an easy way to curry favor with the fund.58 Despite being

deemed unfit for the bank’s traditional internship program, Vella took the brother onto his




54
    Laura Noonan & Don Weinland, How Goldman’s high-flying Italian partner was embroiled in scandal, Fin.
Times (Nov. 11, 2018), https://www.ft.com/content/faebf3fc-e3e6-11e8-8e70-5e22a430c1ad.
55
   Billion Dollar Whale at 122.
56
    Kit Chellel, Goldman Executive Says Prostitutes for Libyan ‘Inappropriate,’ Bloomberg (July 5, 2016),
https://www.bloomberg.com/news/articles/2016-07-05/goldman-executive-says-prostitutes-for-libyan-inappropriate.
57
    Matthew Campbell & Kit Chellel, Hot Mess: How Goldman Sachs Lost $1.2 Billion of Libya’s Money,
Bloomberg Businessweek (Sept. 29, 2016), https://www.bloomberg.com/features/2016-goldman-sachs-libya/.
58
   Id.

                                                      32
team.59 The move earned Vella a rebuke by email from James Peters, Goldman’s Head of

Compliance for Investment Banking in Europe, who told Vella that he should have been

informed.60 Given Vella’s position and profit generation, the matter was dropped, and the

internship of the LIA official’s younger brother was extended—six times.61

        70.      Goldman’s efforts to woo the LIA officials paid off. In 2008, Goldman convinced

the LIA to enter into several billion dollars’ in complex derivative trades linked to the value of

shares in Citigroup and other foreign companies.62 The lead banker in Tripoli called one trade

“one of the biggest orders that GS has ever been given on single names.”63 The trades were

acutely dangerous, carrying significant upside potential, but with enormous downside risk.64 As

the financial crisis swirling around the firms on which these bets were made intensified, the

losses piled up for the LIA. Goldman, however, had succeeded in its new mission to “monetize

the state.”

        71.      All told, the LIA lost $1.2 billion investing in derivatives that Goldman had

recommended, but which the inexperienced fund did not understand. The LIA has contended that

Goldman earned between $200 million and $350 million from the trades.65 Goldman refused to




59
   Claire Milhench, Goldman compliance head queried internship in Libya fund case, court told, Reuters (July 5,
2016),      https://www.reuters.com/article/us-libya-swf-litigation/goldman-compliance-head-queried-internship-in-
libya-fund-case-court-told-idUSKCN0ZL2IN.
60
   Id.
61
    Matthew Campbell & Kit Chellel, Hot Mess: How Goldman Sachs Lost $1.2 Billion of Libya’s Money,
Bloomberg Businessweek (Sept. 29, 2016), https://www.bloomberg.com/features/2016-goldman-sachs-libya/.
62
   Id.
63
   Id.
64
   Billion Dollar Whale at 123.
65
   Matt Clinch, Goldman ordered to pay legal fees to Libyan fund, CNBC (Oct. 8, 2014), https://www.cnbc.com
/2014/10/08/goldman-ordered-to-pay-legal-fees-to-libyans.html.

                                                       33
disclose its fees, saying only that the sum was appropriate given the size and risk of the deals66—

a line it would regularly reprise when its outsized haul on the 1MDB bonds later came to light.

        72.     Goldman’s dealings in Libya drew the attention of U.S. regulators and

prosecutors. The bank, like all U.S.-based firms, was bound by the federal FCPA, the statute that

prohibits, among other things, the payment of bribes by U.S. companies to obtain or retain

business in foreign countries, and requires firms to maintain sufficient internal controls to help

prevent such illegal payments.

        73.     The Wall Street Journal revealed in February 2014 that the Justice Department

had opened a criminal investigation into Goldman’s dealings in Libya.67 In another harbinger of

the 1MDB scandal, the DOJ investigation focused on “fixers” with ties to leaders in developing

markets, including those in the Gaddafi regime, who arranged deals between Goldman and other

firms and government officials.68 Federal prosecutors were probing whether Goldman and others

had provided illegal “finder’s fees” to the intermediaries and/or kickbacks to the government

officials in exchange for business with the LIA.69 The investigation followed the inception of one

by the SEC in which similar allegations of FCPA violations were examined.70

        74.     Knowledge that the firm’s bankers—including Vella—may have skirted anti-

bribery laws extended to the bank’s top executives. Indeed, discussions about the Libya

controversy escalated to include Blankfein, then-CFO David Viniar, and Michael Sherwood, a


66
    Matthew Campbell & Kit Chellel, Hot Mess: How Goldman Sachs Lost $1.2 Billion of Libya’s Money,
Bloomberg Businessweek (Sept. 29, 2016), https://www.bloomberg.com/features/2016-goldman-sachs-libya/.
67
   Joe Palazzolo, Michael Rothfeld & Justin Baer, Probe Widens Into Dealings Between Finance Firms, Libya, The
Wall Street Journal (Feb. 3, 2014), https://www.wsj.com/articles/probe-widens-into-dealings-between-finance-
firms-libya-1391403417.
68
   Id.
69
   Id.
70
   Devika Krishna Kumar & Ken Wills, SEC probing Goldman Sachs internship for brother of Libyan ex-official:
WSJ, Reuters (Sept. 18, 2014), https://www.reuters.com/article/us-goldmansachs-libya-sec-probe/sec-probing-
goldman-sachs-internship-for-brother-of-libyan-ex-official-wsj-idUSKBN0HE05P20140919.

                                                     34
Vice Chairman and Co-Head of Goldman Europe (later criminally charged by Malaysian

authorities, along with sixteen others, for Goldman’s role in the 1MDB bond deals).71 Tellingly,

Vella suffered no consequences and only continued his rise at Goldman, receiving two

promotions after arriving in the region in 2010 and becoming Goldman’s Investment Banking

Division chief in Asia by 2015.

       75.     The Libyan affair contained several omens of the far larger scandal that Goldman

would fuel in Malaysia: (i) suspect “intermediaries” managing the relationship between the fund

and Goldman bankers; (ii) exorbitant fees from a state-run investment fund; (iii) the corruption

of key fund decision-makers; (iv) internal objections over suspect bank practices squelched by

senior managers in favor of consummating deals, along with retaliation against those who voiced

dissent; and (v) a compliance department that was easily evaded and did nothing in response to

obvious red flags. Goldman’s dealings with the LIA demonstrated that, despite its highly touted

“recommitment” to proper compliance oversight, due diligence, and internal reporting through

the BSC campaign, the bank would set aside these standards where large fees were involved.

                       c)      A Quest for Returns Leads Goldman to Asia

       76.     As noted above, Defendants’ drive to “monetize the state” led to a newfound

enthusiasm for sovereign business in Asia. Top executives believed that the region’s emerging

economies offered an opportunity to make up for anemic returns in Western markets. The tilt

eastward was driven by Blankfein, whose strategy after the financial crisis was to “Be Goldman




71
  Liz Rappaport & Giovanni Legorano, Libyan Fund Helping SEC in Goldman Probe, The Wall Street Journal
(Feb. 28, 2013), https://www.wsj.com/articles/SB10001424127887323978104578332553842543488.

                                                 35
in More Places”—Asia foremost among them.72 CNBC noted that the bank’s “dedication to

Asian growth” was “spoken of in tones that almost suggest a religious impulse.”73

        77.     While chasing yields was a primary reason for the pivot, escaping post-financial

crisis regulation in the United States was also a motivating factor. Remarks on this motive from

Business Insider included that “there’s been talk within the bank’s West Street [New York]

offices that Dodd Frank’s prop traders could end up across the Pacific.”74

        78.     Whatever the motive, Goldman began to pour resources into its offices in Asia,

doubling its staff in the region.75 In 2010, 26% of the bank’s new Partners were based in or

covered Asia, coinciding with a broader effort to steer top talent to the region.76 Vella, the

European rainmaker whose reckless stewardship of the LIA team had just reaped hundreds of

millions of dollars for the bank, arrived in the firm’s Hong Kong office the same year.77

        79.     Also in 2010, Goldman created an Asia-specific leadership group for investment

banking (the “IBS Leadership Group”). In an internal memo, the bank said, “We will ask this

group to assume coverage of a series of our most important franchise accounts . . . in an effort to

strengthen our footprint of trusted advisory relationships.”78 The group would “play an important

role in influencing the compensation, promotion, and overall career development of our



72
   Shira Ovide, Goldman Sachs Strategy: ‘Be Goldman in More Places,’ The Wall Street Journal (Dec. 20, 2010),
https://blogs.wsj.com/deals/2010/12/20/goldman-sachs-strategy-be-goldman-in-more-places/.
73
      John Carney, The Banality of Goldman’s Business Standards, CNBC (Jan. 12, 2011),
https://www.cnbc.com/id/41040099.
74
   Katya Wachtel, Goldman Sachs’ New Partners Show Exactly Where The Bank is Gazing: Asia, Bus. Insider (Nov.
19, 2010), https://www.businessinsider.com/new-goldman-partners-show-where-firm-is-looking-asia-2010-11.
75
   Tom Wright & Liz Hoffman, Goldman Sachs Ignored 1MDB Warning Signs in Pursuit of Asian Business, The
Wall Street Journal (Dec. 17, 2018), https://www.wsj.com/articles/goldman-sachs-ignored-1mdb-warning-signs-in-
pursuit-of-asian-business-11545088802.
76
   Id.
77
   Billion Dollar Whale at 122.
78
    Sameera Arand, Goldman Sachs creates investment banking leadership group, FinanceAsia (Jan. 13, 2010),
https://www.financeasia.com/article/goldman-sachs-creates-investment-banking-leadership-group/164597.

                                                     36
[investment banking division] bankers.”79 The Partners named to the three-member Asia IBS

leadership group were: Fred Hu, Chairman of Greater China; James McMurdo, Head of

Goldman’s Investment Banking in Australia and New Zealand; and Tim Leissner, then Head of

Investment Banking for Southeast Asia.

        B.       Ignoring Internal Objections and Glaring External Warning Signs, Goldman
                 Reaps Hundreds of Millions in Fees from 1MDB and Jho Low

        80.      Before he had ever met Jho Low or Najib, Leissner, the Head of Investment

Banking for Goldman in Southeast Asia, was interviewed by a government news agency in

which he stated that Goldman wanted to do more business in Malaysia.80 The Malaysian market

provided a seemingly ideal growth opportunity to “be Goldman in more places,” an emerging

economy where Blankfein’s and Cohn’s initiatives to trod new ground in Asia and wring profits

from sovereign wealth funds could dovetail. After Najib ascended to the head of government as

Prime Minister, Malaysia’s securities commission approved Goldman’s application to start

operations for fund management and corporate finance, opening the door for what was to

follow.81

                 1.      1MDB: Red Flags from Its Inception

                         a)       Doing Business in Malaysia: A Hotbed of Corruption

        81.      As with many emerging markets, doing business in Malaysia had its pitfalls. It

was far less regulated than Western economies—part of the appeal to Goldman, stinging from a

fresh round of enforcement actions in the U.S. and elsewhere. Yet it was also an economy

notorious for graft. In fact, The Wall Street Journal reported in 2012 that Malaysia was the most


79
   Id.
80
   Max Abelson & Elffie Chew, The Rise and Fall of Tim Leissner, Goldman’s Big Man in Malaysia, Bloomberg
(Mar. 30, 2016), https://www.bloomberg.com/news/articles/2016-03-30/the-rise-and-fall-of-tim-leissner-goldman-s-
big-man-in-malaysia.
81
   Id.

                                                      37
corrupt country in the world in which to do business.82 Transparency International, a global

watchdog group, called corruption in the country “systemic” and “institutionalized,” with bribes

a virtual necessity to win business.83 The head of Transparency International in Malaysia

warned, “[f]oreign companies looking to supply the government have to be aware that they’re

likely to be asked for a bribe.”84 A similar report by Ernst & Young warned that “bribery and

corrupt practices are prevalent in Malaysia.”85

        82.      A commercial environment of such extensive corruption demanded heightened

vigilance. The DOJ’s FCPA Resource Guide, which sets forth the federal government’s

expectations for minimum internal controls and compliance programs for U.S. companies

operating abroad, emphasizes that, to be effective, compliance programs must focus on “the

degree to which [the company] has operations in countries with a high risk of corruption” and

“the extent of its government interaction.”86 With Goldman soliciting business from a

government entity in one of the most institutionally corrupt countries in the world, Defendants

knew from the start that the likelihood of bribes or kickbacks was high, meriting strict due

diligence.




82
    Jason Ng, Malaysia Tops Bribery Table, The Wall Street Journal (Dec. 11, 2012), https://blogs.wsj.com/
indonesiarealtime/2012/12/11/malaysia-tops-bribery-table/.
83
   Id.
84
   Id.
85
   Building a more ethical business environment, Asia-Pacific Fraud Survey 2013, EY (2013), http://rai-see.org/wp-
content/uploads/2016/01/EY-Asia-Pacific-Fraud-Survey.pdf.
86
   A Resource Guide to the U.S. Foreign Corrupt Practices Act, Criminal Div. of the U.S. Dep’t of Justice & the
Enf’t     Div.     of     the     U.S.       Sec.     &      Exch.     Comm’n,      40  (Nov.       14,     2012),
https://www.justice.gov/sites/default/files/criminal-fraud/legacy/2015/01/16/guide.pdf.

                                                       38
                          b)       The Najib Regime: “A Government of Thieves”

        83.      Najib Razak was born into a political dynasty. The oldest son of Malaysia’s

second Prime Minister, he was the nephew of the third.87 Najib would later become the sixth,

unfurling his signature “1Malaysia” banner promoting unity and economic development in the

multiethnic country.

        84.      Sunny political platitudes aside, allegations of corruption trailed Najib well before

he ascended to the premiership.88 As Defense Minister, Najib was alleged to have steered $130

million in dubious commissions to a close associate in return for kickbacks.89 The scandal

exploded after a young translator who had worked on the deal was murdered in grisly fashion.90

Several years later, Najib was under fire again after two U.S.-made fighter jets were stolen and

sold to a South American arms dealer, prompting an opposition leader to call the regime’s

handling of the affair “a frightening picture of a government of thieves.”91

        85.      As Prime Minister, it was Najib’s wife, Rosmah, who became the face of the

regime’s corruption, frequently exhibiting a taste for luxury goods and jewelry that drew scorn

from a disbelieving public. A police raid resulting in her arrest after the 1MDB scandal broke


87
   Thomas Bell, Profile: Najib Razak, The Telegraph (Apr. 3, 2009), https://www.telegraph.co.uk/news/worldnews
/asia/malaysia/5099246/Profile-Najib-Razak.html.
88
   Thomas Bell, Opposition braced for hard time from Malaysia’s new PM, The Telegraph (Apr. 2, 2009),
https://www.telegraph.co.uk/news/worldnews/asia/malaysia/5095696/Opposition-braced-for-hard-time-from-
Malaysias-new-PM.html.
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   Thomas Bell, Profile: Najib Razak, The Telegraph (Apr. 3, 2009), https://www.telegraph.co.uk/news/worldnews
/asia/malaysia/5099246/Profile-Najib-Razak.html; Cyril Camu, Joseph Sipalan, Ingrid Melander, Andrew Callus &
Matthew Mspoke Bigg, French prosecutors investigate aide to Malaysia PM over submarine deal, Reuters (Aug. 2,
2017),        https://www.reuters.com/article/us-france-malaysia-submarines/french-prosecutors-investigate-aide-to-
malaysia-pm-over-submarine-deal-idUSKBN1AI17L.
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   Luke Hunt, Could Sub Probe ‘Sink’ Najib?, The Diplomat (July 6, 2012), https://thediplomat.com/2012/07/could-
sub-probe-sink-najib/; see also The Confession that Never was, AsiaSentinel (Mar. 20, 2009),
https://www.asiasentinel.com/politics/the-confession-that-never-was/; see also Yaroslav Trofimov, Murdered
Mistress Becomes Whodunit for Malaysia Elite, The Wall Street Journal (Mar. 29, 2007),
https://www.wsj.com/articles/SB117511113155152224.
91
     Kevin Brown, Missing jet engines spark crisis in Malaysia, Fin. Times (Dec. 22, 2009),
https://www.ft.com/content/ff6c46d2-eef6-11de-92d8-00144feab49a.

                                                        39
yielded 567 handbags, 423 watches, 14 tiaras, and “so much cash that it took three days to count

it all.”92 Some of the jewelry items cost millions of dollars each.

        86.      With Najib’s reputation for graft well known before Goldman’s relationship with

the Prime Minister began, the bank knew that any dealings with his regime would likely require

kickbacks in contravention of its compliance program and public representations. Nevertheless,

Goldman chose to work with 1MDB, which was exclusively under Najib’s control and run by

Low. As detailed herein, Najib and Low stole billions from the proceeds of the 1MDB deals that

Goldman underwrote in 2012 and 2013.93

                         c)       Jho Low: The “Asian Great Gatsby”

        87.      At the center of the 1MDB fraud was Jho Low. Low brought 1MDB business to

Goldman and served as the essential intermediary between the bank and 1MDB.

        88.      Born in Malaysia in 1981, Low attended the Wharton School of Business at the

University of Pennsylvania, graduating in 2005.94 While there, he garnered a reputation as the

“Asian Great Gatsby” for his spendthrift ways and extravagant parties.95 Low began to make

connections in the Middle East, where he met officials running sovereign wealth funds in Saudi

Arabia and Abu Dhabi. Low sought contacts at these Middle Eastern funds to help him create

and run such a fund in Malaysia.96




92
   Hannah Beech & Austin Ramzy Wife of Malaysia’s Ex-Prime Minister, Known for Moneyed Lifestyle, Is Arrested,
The N.Y. Times (Oct. 3, 2018), https://www.nytimes.com/2018/10/03/world/asia/najib-razak-malaysia-corruption-
charges.html?module=inline.
93
   Romil Patel, Malaysia 1MDB scandal: Payments into Razak’s personal accounts said to top $1bn, Int’l Bus.
Times (Mar. 1, 2016), https://www.ibtimes.co.uk/malaysia-1mdb-scandal-payments-into-razaks-personal-accounts-
said-top-1bn-1546830.
94
   Kara Scannell, 1MDB: High flyer brought Low, Fin. Times (Aug. 5, 2016), https://www.ft.com/content/e8d4ce3a-
5989-11e6-9f70-badea1b336d4.
95
   Billion Dollar Whale at 22-26.
96
   Id. at 30-31.

                                                      40
        89.      One of those connections was Riza Aziz, Najib’s stepson, whom Low had

befriended while both were students at boarding school in England.97 Najib was not yet Prime

Minister, but as the Minister of Finance and heir apparent to the premiership, his value was clear.

Low cultivated the relationship by, among other things, setting up an offshore account to pay for

Najib’s daughter’s college expenses at Georgetown University. Low also began soliciting

investments by Middle Eastern investors for projects in Malaysia, seeking a role as a power

broker at the center of large deals in Southeast Asia and the Middle East.98

        90.      After Najib became Prime Minister in 2009, Low convinced him to convert a

recently created provincial oil fund, the Terengganu Investment Authority (“TIA”), into a new,

national sovereign wealth fund called 1Malaysia Development Berhad, or “1MDB,” which could

tap international capital markets.99 Low did so by pointing out that the fund, which would be

under Najib’s control, could be used as a political slush fund to pay off voters and finance

patronage.100 Although Najib was 1MDB’s titular head, Low was its de facto chief executive,

and 1MDB employees and directors understood that Low was in charge.101 Press accounts as

early as December 2009 identified Low’s critical role in establishing the fund.102 At the 1MDB

trial in Malaysia in September 2019, 1MDB’s nominal CEO testified that “Low and Najib had a




97
   Kara Scannell, 1MDB: High flyer brought Low, Fin. Times (Aug. 5, 2016), https://www.ft.com/content/e8d4ce3a-
5989-11e6-9f70-badea1b336d4.
98
   Billion Dollar Whale at 35-48.
99
   Id. at 62-63
100
    Id. at 63, 106
101
    Id. at 69, 107-8.
102
      Cover Story: Time of reckoning for 1MDB, The Edge (Dec. 13, 2009), https://www.theedge
markets.com/article/cover-story-time-reckoning-1mdb.

                                                      41
symbiotic relationship, with the former executing the wishes of the latter and the latter approved

decisions.”103

        91.      In 2009, Low and Najib exploited 1MDB for the first time to steal hundreds of

millions of dollars from the new state fund. Before its conversion, TIA had issued $1.4 billion in

Islamic bonds (“Islamic Bond Issuance”), cash that it had on hand when it became 1MDB.104 At

Low’s behest, 1MDB invested $1 billion of that issuance in what was structured as a joint

venture with a Saudi Arabian oil company, PetroSaudi.105 In reality, the investment was simply

embezzlement on a massive scale: Low diverted $700 million of the investment funds to a shell

account in the Seychelles that he used to pay off his co-conspirators, using much of the rest to

fuel a multiyear spending spree that routinely drew press attention for its excess.106

        92.      Over an eight-month period between October 2009 and June 2010, Low spent $85

million on alcohol-fueled nights out, gambling in Las Vegas, private jets, superyacht rentals, a

$100,000-a-month rental apartment near Central Park in New York, and to pay Playboy

Playmates and Hollywood celebrities to spend time with him.107 Later, Low would replicate this

feat several times over with Goldman as his banker and corrupt officials from the Abu Dhabi

sovereign wealth fund IPIC helping to fuel the misdeeds. His displays of wealth would only

grow more ostentatious—and more public.

        93.      Low’s outrageous public spending and the suspect source of his wealth provided

Defendants with another red flag prior to Goldman’s involvement in the 1MDB transactions.



103
    Nadirah H. Rodzi, 1MDB trial: Ex-CEO says Jho Low involved in key management decisions, The Straits Times
(Sept. 30, 2019), https://www.straitstimes.com/asia/se-asia/1mdb-trial-ex-ceo-says-jho-low-involved-in-key-
management-decisions.
104
    Billion Dollar Whale at 62-63.
105
    Id. at 68.
106
    Id. at 74-88.
107
    Id. at 87.

                                                     42
Indeed, as described below, it was these very features that led Goldman’s Global Compliance

and Legal to repeatedly reject Low as a private wealth management client of the firm.

                           d)     1MDB: Suspect from the Start

            94.     Numerous features of 1MDB itself indicated that the fund was a vehicle for

corruption. First, well before the fraud at 1MDB took off with Goldman’s underwriting in 2012,

the 1MDB board raised concerns about the $1.4 billion Islamic Bond Issuance. As noted above,

$1 billion of that capital raise had been put in a supposed “joint venture” with PetroSaudi, $700

million of which was diverted to fuel Low’s partying and kickbacks to co-conspirators. The

1MDB board’s official minutes from its October 3, 2009 meeting noted, “[t]he substantial

investment of $1 billion should have merited a more thorough thought and due diligence

process.” Board minutes from a meeting the next year were more direct, remarking that the fund

was “perceived as a secretive cloak-and-dagger setup with sinister motives to benefit cronies and

not the Malaysian people.”108 A modicum of due diligence would have prompted a third party

considering business with 1MDB to look at where that money had actually gone.109 This is

especially the case for the post-financial crisis Goldman doing business in a hotbed of

corruption, as its BSC program and public representations required it to know and understand the

makeup of 1MDB’s existing debt load before adding an additional $6.5 billion to it.

            95.     Second, questions suggesting corruption had surfaced at the fund’s very launch

with the Islamic Bond Issuance. For example, a December 13, 2009 cover story in The Edge, an

English language publication and Malaysia’s main independent news outlet, noted, “critics have

suggested that certain intermediaries had pocketed a hefty profit from the [2009 Islamic] bond




108
      Id. at 145.
109
      Id. at 105.

                                                  43
issue.”110 Additionally, observers questioned why the new sovereign wealth fund of Malaysia

required the involvement of a Saudi sovereign firm and why the bonds had been issued to begin

with, given the absence of announced projects or investments for the funds.111

       96.     Third, the chairman of 1MDB’s board, Mohammed Bakke Salleh, a respected

businessman, immediately demanded an independent audit of the joint venture with the Saudi

company and an accounting of the $700 million that Low had siphoned away through various

shell accounts.112 After Low convinced Najib to rule that there would be no audit, the chairman

noisily resigned in a move covered in the press.113 A second board member resigned several

weeks later. They were replaced by loyalists who soon rubberstamped political patronage with

fund assets.114 Meanwhile, many of those who had been recruited to work for the fund quit

within a year because of an absence of legitimate investments to keep them busy. One departing

employee remarked: “We even joked that many of the projects we were assessing were pretend

projects to give the company a legitimate front.”115 These rapid departures were another red flag

at 1MDB.116

       97.     Fourth, concerns and dismissals of 1MDB’s auditors further highlighted

compliance problems at the fund. In the fall of 2010, 1MDB management—now staffed

exclusively by Najib loyalists—sought to issue the fund’s first set of financial results. Yet

interest costs from the Islamic Bond Issuance and an absence of legitimate investments meant



110
      Cover Story: Time of reckoning for 1MDB, The Edge (Dec. 13, 2009), https://www.theedge
markets.com/article/cover-story-time-reckoning-1mdb.
111
    Id.
112
    Billion Dollar Whale at 104-05.
113
      Cover Story: Time of reckoning for 1MDB, The Edge (Dec. 13, 2009), https://www.theedge
markets.com/article/cover-story-time-reckoning-1mdb.
114
    Billion Dollar Whale at 109-10.
115
    Id. at 109.
116
    Id. at 105-06.

                                               44
that it would have to recognize a loss for its first year in existence. At Low’s behest, the fund

sought to record its $1 billion investment in the joint venture with PetroSaudi ($700 million of

which had been stolen) as a $1.2 billion loan that would allow 1MDB to book a profit, rather

than a loss.117 When 1MDB’s auditors at Ernst & Young refused to certify the accounting, Najib

fired them.118 The fund then hired KPMG, which signed off on the “loan,” but only after issuing

a conspicuous “emphasis of matter” paragraph in the fund’s financial statements—a notation

indicating the auditor’s belief that the matter is fundamental to readers’ understanding—that

signaled a serious potential concern about the accounting treatment.119 The dismissal of the

fund’s auditors during its first year of operations, followed by a second auditor underscoring

potential problems with the financial statements, were glaring warning signs to any company

seeking to do business with 1MDB.120

        98.      Fifth, 1MDB’s banking partner was itself a red flag. At Low’s direction, the

primary account for 1MDB was held at the Singapore office of a tiny Swiss private bank called

BSI. The choice was highly unusual, as large international banks historically handled funds of

1MDB’s size. Low had selected BSI because 1MDB’s stature made BSI beholden to the fund—

and to Low in particular—for bringing its business there, rendering it more pliable than the larger

banks when compliance questions arose.121



117
    Id. at 145.
118
    Rachel Middleton, 1MDB scandal: Malaysia state fund sacked Ernst & Young and KPMG when auditors asked
for documents, Int’l Bus. Times (Apr. 8, 2016), https://www.ibtimes.co.uk/1mdb-scandal-malaysian-state-fund-
sacked-ernst-young-kpmg-when-auditors-asked-documents-1553756.
119
    Billion Dollar Whale at 146.
120
    KPMG was later fired, and its third auditor, Deloitte, resigned two years later. Liz Lee, A. Anathalakshmi &
Simon Cameron-Moore, Malaysia probing audit firms’ conduct in 1MDB scandal, Reuters (Jan. 26, 2019),
https://www.reuters.com/article/us-malaysia-politics-1mdb-auditors/malaysia-probing-audit-firms-conduct-in-1mdb-
scandal-idUSKCN1PK079.
121
    Justin Baer, Tom Wright & Ken Brown, Goldman Sachs Ties to Scandal-Plagued 1MDB Run Deep, The Wall
Street Journal (Dec. 22, 2016), https://www.wsj.com/articles/goldman-sachs-ties-to-scandal-plagued-1mdb-run-
deep-1482362362.

                                                      45
        99.     These red flags signaled to any potential business partner—particularly any U.S.

financial firm like Goldman bound by the FCPA—that 1MDB carried enormous compliance

risks from its creation. In the words of John Pang, who worked for Najib’s government and was

an adviser on one of Goldman’s deals with 1MDB, “[t]his fund was dodgy from the beginning.

There is no excuse for Goldman not knowing this fund had to do with Najib’s political patronage

and his election plans. This was an open secret.”122

                        e)      Goldman’s Lead Bankers: On a “Very Long Leash” in the
                                Wild West of Southeast Asia

        100.    Although they were at the top of Goldman’s Partner class that constituted only

1% of its employees, Vella and Leissner were themselves red flags whose controversial business

practices were known throughout the bank.

                                (1)     Andrea Vella

        101.    Vella’s rise through the ranks of Goldman’s partnership was not free of

controversy. In fact, even before he joined the bank, his deals, while profitable, garnered

negative attention.

        102.    In 2007, while still at JPMorgan’s London office, Vella helped structure a bond

deal for Greek pension funds that quickly soured and led to public recriminations that the bank

had swindled Greece.123

        103.    Vella moved to Goldman several months later, taking control of the LIA account

in Libya. As noted above, the LIA deal that Vella oversaw was highly profitable for Goldman,

but was riddled with malfeasance and staggering losses for the LIA, leading to an investigation

122
    Emily Flitter, Matthew Goldstein & Kate Kelly, Goldman Chairman Met Privately With Fugitive Accused in
Malaysian Fraud, The N.Y. Times (Nov. 22, 2018), https://www.nytimes.com/2018/11/22/business/goldman-
blankfein-1mdb-malaysia.html.
123
    Sridhar Natarajan & Max Abelson, Goldman’s Star in Hong Kong Turns Into 1MDB Scandal’s Enigmatic Man,
Bloomberg (Aug. 15, 2019), https://www.bloomberg.com/news/articles/2019-08-15/goldman-s-star-in-hong-kong-
turns-into-scandal-s-enigmatic-man.

                                                   46
into potential FCPA violations by Goldman arising from Vella’s and his team’s conduct. Vella

was later called as a witness by the LIA in its suit to recoup losses from Goldman. During trial,

when confronted on the stand with evidence of his team’s use of prostitutes to woo the Libyans,

he would concede under oath that it was “inappropriate.”124

        104.     Despite his controversial past, Vella’s skill in generating fees for Goldman was

rewarded when he moved to Goldman’s Hong Kong office in the bank’s broader reshuffling to

focus on Asia, ascending to Co-Head of Investment Banking. As Bloomberg reported: “Vella

was one of two executives overseeing investment banking for all of Asia except Japan, making

him one of the most powerful dealmakers outside the firm’s New York Headquarters.”125 From

that perch, he worked with Tim Leissner and others advising 1MDB, structuring the fund’s bond

issuances.

        105.     Leaving Vella in a senior post overseeing the 1MDB deal team even as the bank’s

highest-ranking executives dealt with federal criminal and civil investigations stemming from his

alleged misconduct in Libya reflected Goldman’s willingness to brook compliance violations by

its top dealmakers. And, in Malaysia, that is precisely what it got, with Bloomberg later

reporting, “[a]uthorities have said that [Vella] dealt with the scandal’s alleged mastermind,

Jho Low, and was aware of plans to bribe officials.”126 The Justice Department confirmed that

Vella had approved these plans in the bank’s quest to generate fees from 1MDB when he was

identified as “Co-Conspirator #4” in Leissner’s Criminal Information.127 Vella also “knew that




124
     Kit Chellel, Goldman Executive Says Prostitutes for Libyan ‘Inappropriate,’ Bloomberg (July 5, 2016),
https://www.bloomberg.com/news/articles/2016-07-05/goldman-executive-says-prostitutes-for-libyan-inappropriate.
125
    Id.
126
    Id.
127
     United States of America v. Leissner, No. 1:18-cr-00439-MKB (E.D.N.Y. August 28, 2018), ECF No. 16
(“Leissner Info.”), ¶ 4.

                                                      47
[Low] played a central role in the bond transactions, including by acting as an intermediary

between [Goldman Sachs], 1MDB and other Malaysian and Abu Dhabi officials.”128

                                     (2)   Tim Leissner

         106.     In 2009, Leissner was already a Partner and Goldman’s Head of Investment

Banking for Southeast Asia. As his and Vella’s work with Low and 1MDB took off, Goldman

elevated Leissner to Chairman of Southeast Asia, gave him a seat on the bank’s elite Partnership

Committee, and paid him an eight-figure compensation package.

         107.     Based on numerous conversations with Goldman employees, The Wall Street

Journal reporters Bradley Hope and Tom Wright, authors of the seminal book on the 1MDB

scandal, described Leissner as being “prone to go off the reservation,” but such was permitted

because of his ability to generate revenue. The reporters quoted a Goldman banker for the

following assessment of Leissner: “He never operated within boundaries. . . . It was tolerated

because he brought in business.”129

         108.     Leissner’s tendency to cross ethical lines was well known within the bank. For

example, during negotiations for the IPO of a Malaysian holding company, Leissner struck up an

affair with the company’s CFO, doing little to hide the relationship from Goldman or rival

bankers. Following an internal complaint, Goldman launched an investigation, but Leissner

simply denied the affair and the matter was dropped.130

         109.     Later, to curry favor with the Malaysian government, he arranged for the twenty-

five year-old daughter of Malaysia’s U.S. ambassador, a Najib ally, to intern at Goldman’s




128
    Leissner Info., ¶ 20.
129
    Billion Dollar Whale at 56-57.
130
    Id.

                                                    48
Singapore office—a move that could have exposed the bank to prosecution under the FCPA.131
132
      Leissner then had an affair with the intern—another potential FCPA violation—that was

widely discussed within the firm.133 On a separate occasion, he was caught passing information

outside the firm without authorization, which yielded only a temporary pay cut.134

         110.    As The Wall Street Journal reporters Wright and Hope described:

         Leissner was making money for Goldman, and the bank took no further action.
         Leissner took little notice of the admonishments—this was Asia, the Wild West of
         capitalism, after all—and, seemingly as long as the profits kept rolling in,
         Goldman bosses in the region allowed him a very long leash.135

         111.    In fact, as detailed below, far from merely tolerating Leissner’s behavior,

Goldman encouraged it by rewarding him repeatedly, making him one of the firm’s most highly

compensated and powerful employees.

                 2.       Top Bankers Resolve to Show Low “Goldman Affection”

         112.    Goldman’s entanglement with 1MDB began on January 5, 2009, when Roger Ng,

a Managing Director based in Goldman’s Singapore office, emailed Leissner to introduce him to

Low, recounting a recent meeting between Ng and Low about business opportunities for

Goldman in Malaysia.136 Low appeared to be well-connected politically, an important calling

card in a region known for endemic corruption. Ng and Leissner hoped that Low, whom Leissner



131
     Indeed, as described earlier, Vella’s provision of a suspect internship to the video-clerk sibling of an LIA
executive was a subject of inquiry by federal prosecutors investigating potential FCPA violations, and other banks
have paid hefty fines for similar conduct. For example, the Bank of New York Mellon paid $14.8 million for hiring
three inters whose relatives were high-ranking executives at a Middle Eastern sovereign wealth fund.
Antoine Gara, JPMorgan Agrees To Pay $264 Million Fine For ‘Sons And Daughters’ Hiring Program In China,
Forbes (Nov. 17, 2016), https://www.forbes.com/sites/antoinegara/2016/11/17/jpmorgan-agrees-to-pay-264-million-
fine-for-sons-and-daughters-hiring-program-in-china/#4ce6a4fc5688.
132
    Billion Dollar Whale at 124.
133
    Id.
134
    Id. at 57.
135
    Id.
136
     United States of America v. Leissner, No. 1:18-cr-00439-MKB (E.D.N.Y. August 28, 2018), ECF No. 1
(“Leissner Compl. & Aff.”), ¶ 23.

                                                       49
remarked to others was a “dodgy” character, could land the bank new business in Malaysia,

where Goldman was expending significant resources to generate business.

        113.     According to records that the FBI obtained from Goldman, Leissner and Ng met

with Low on January 6, 2009.137 Low told Leissner that the sultan of the Malaysian state of

Terengganu was looking to set up an investment fund (TIA, which would later become 1MDB)

to manage the state’s oil and gas resources. Low needed Goldman to lend legitimacy to his quest

to become an influential financier, and he told Leissner and Ng that TIA could provide business

to Goldman.138 The venture was codenamed “Project Tiara” inside the bank.

        114.     Emails from this period between Goldman employees and persons involved with

the TIA confirmed that Low was integral to the relationship. For example, after the January 6,

2009 meeting, Low emailed Leissner and Ng, copying a future 1MDB officer and stating,

“pleasure to meet with the both of you and look forward to forming a good working relationship

with ure kindselves [sic] and [Goldman].” Leissner responded, “[Jho Low] and Team, . . . look

forward to a great partnership.”139

        115.     On January 15, 2009, TIA’s executive director of business development—later

the Executive Director of 1MDB—emailed Ng, Leissner, and Low about Project Tiara, stating,

“I think it best to get [Jho Low] involve[d] at every stage.”140 The same day, Ng emailed

Leissner’s administrative assistant, writing, “can u send mtg request for tim and I and block 8.30-

9.30am with Low at the mandarin. Tim, we should [show] [Low] some [Goldman] affection to

make certain he is focused with us on TIA.”141 These and other emails obtained by federal


137
    Id.
138
    Billion Dollar Whale at 58.
139
    Leissner Compl. & Aff., ¶ 23.
140
    Id.
141
    Id.

                                                50
investigators and detailed in court filings prove that Goldman’s own internal records reflected

as early as January 2009 that its bankers were doing business with Low and that Low was

integral to its business with 1MDB.

        116.     Leissner did not hesitate to reveal Low’s role to other bankers at the firm. For

example, in an email dated January 21, 2009, Leissner, copying Ng, confirmed to a colleague

that they were working on Project Tiara with Low.142

        117.     Leissner met with Low and the sultan of Terengganu in early 2009, winning

Goldman a contract to advise the state on the formation of TIA.143 While the bank would earn

only $300,000 for the work in assisting TIA with the Islamic Bond Issuance, Leissner knew it

was an important first step in winning new business for Goldman in Malaysia.144

        118.     On April 3, 2009, Najib, then the Minister of Finance, was sworn in as Prime

Minister. In July 2009, the Ministry of Finance assumed control of TIA, changing its name two

months later to 1MDB and broadening its scope to a national concern.145 Najib chaired 1MDB’s

advisory board, reflecting his control of the fund.146

        119.     As detailed above, following Najib’s rise to Prime Minister, in April 2009, 1MDB

and PetroSaudi entered into a joint venture whereby 1MDB invested $1 billion of the Islamic

Bond Issuance, from which Low stole $700 million. Goldman attempted to consult on that joint

venture. Specifically, in September 2009, Ng emailed Leissner about the proposed joint venture

between 1MDB and PetroSaudi. Ng’s email relayed a recent meeting that Ng had with Low,



142
    Id., ¶ 24.
143
    Id., ¶ 25.
144
    Billion Dollar Whale at 51-52.
145
    Leissner Compl. & Aff., ¶ 56.
146
    Gavin Finch, Goldman’s Blankfein Met With Jho Low, the Man at Center of the 1MDB Probe, Bloomberg (Nov.
22,      2018),    https://www.bloomberg.com/news/articles/2018-11-22/goldman-s-blankfein-met-with-financier-at-
center-of-1mdb-probe.

                                                      51
expressing his hope in securing Goldman a role in the project. Ng told Leissner that Low would

“get [them] a date for week of Oct 19 for [a] presentation to [Prime Minister Najib].”147 The

Goldman bankers then met with Najib and various 1MDB officials to discuss how the bank

could be of service, and while there is no indication that Goldman was involved in the

1MDB/PetroSaudi joint venture, the budding relationship between the fund and the bank set the

stage for a meeting in New York with Goldman CEO Blankfein two months later.

                 3.       Goldman, through Its Global Compliance Department, Vets and
                          Rejects Low for the First Time

        120.     While Goldman bankers were working to show Low “some [Goldman] affection”

to cultivate Low as an investment banking client, Goldman compliance personnel identified him

as someone with whom the bank should not do business or maintain a relationship.

        121.     In September 2009, Ng referred Low for an account at Goldman’s private wealth

management (“PWM”) arm in Switzerland. Ng emailed a PWM banker, copying Leissner and

stating that Low was “currently our partner in a lot of transactions in [M]alaysia. Largely the

mid-east and [M]alaysia rationship [sic].”148

        122.     The referral went to the Global Compliance Department, who reviewed Low’s

finances and raised concerns about the lack of information about Low’s source of wealth. Ng and

Leissner were consulted during the vetting and continued to support the application.

        123.     Ultimately, Global Compliance refused to approve Low’s application for the

PWM account, pointing to unresolved questions about the source of Low’s money and news

coverage of Low’s extravagant spending.149 The failed referral was the first—but not the last—




147
    Leissner Compl. & Aff., ¶ 28.
148
    Id., ¶ 35.
149
    Id.

                                                52
time that Goldman’s Global Compliance and Legal Departments would be alerted to Goldman’s

continued high-risk business relationship with Low.

            124.   The incident also marked the beginning of an internal Goldman “file” on Low that

included compliance reviews, analyses of his financial records, and internal emails between

various departments discussing Low’s high risk to the bank. These records remained available to

Goldman throughout its relationship with 1MDB and Low, as demonstrated by their description

in court filings submitted by the DOJ in 2018.

                   4.     Blankfein Meets Privately with Low and Najib to Solicit Business
                          from 1MDB

            125.   The Goldman Compliance Department’s resounding decision to reject Low as a

PWM client based upon conspicuously unresolved questions about the source of wealth that

enabled his highly publicized lavish spending did nothing to dampen the enthusiasm of

Goldman’s Investment Banking division from working with him. On November 3, 2009, Ng

emailed Leissner and advised him that he had met with Low and a high-ranking 1MDB official,

and learned that the fund planned to raise $1.5 billion. In the email, Ng stated that he was

“[g]earing this up to” a meeting with a high-ranking Goldman executive.150

            126.   Meanwhile, Low’s extravagant spending was continuing to draw attention in the

press—and by others inside Goldman who knew of Low’s relationship to the bank. On

November 9, 2009, a Goldman banker sent Leissner and Ng a New York Post article published

the day before detailing Low’s partying habits.151 The article, under a picture of Low and pop

star Usher with a caption citing his $160,000 one-night bar tab, noted, “[s]peculation is brewing




150
      Id., ¶ 28.
151
      Id., ¶ 29.

                                                  53
over where Low is getting his money from. One inside observer said, ‘Nobody spends their own

money like that. It’s just weird.’”152

        127.     Just two weeks later, on November 22, 2009, Goldman CEO Blankfein met

privately with Low, Leissner, and Prime Minister Najib at the Four Seasons Hotel in New

York.153 Remarkably, despite the bank’s own compliance department having rejected Low as a

client and documenting Low’s intolerable risk to the firm in September 2009, and other bankers

circulating press reports of Low’s prodigal spending in the preceding weeks, Blankfein went

forward with the meeting. The meeting laid the ground for Goldman’s future work with the fund.

        128.     As the fund’s CEO, Shahrol Azral Ibrahim Halmi, later testified, “Jho Low and

Tim Leissner . . . acted as matchmakers for the meeting. Jho Low was the facilitator for [Prime

Minister] Najib while Leissner was the facilitator for Lloyd Craig Blankfein.”154 According to

1MDB’s titular head, it was during this 2009 meeting, in the presence of Low and Leissner,

that “Najib requested Blankfein and Goldman Sachs to support and consult on 1MDB

investments. At the time, the Prime Minister asked Goldman Sachs for its commitment to

1MDB.”155 The 1MDB officials then left the room, while Blankfein, Low, Leissner, and Najib

stayed behind. Thereafter, Goldman became 1MDB’s global investment bank of choice.

        129.     The private meeting between this quartet of Blankfein, Low, Leissner, and Najib

in November 2009, established three critical facts shaping all that would follow: Goldman’s

CEO knew that: (1) Jho Low was a critical intermediary in the 1MDB relationship; (2) Low and


152
    Brian Niemietz & Jennifer Gould Keil, Big-spending Malaysian is the mystery man of city club scene, N.Y. Post
(Nov. 8, 2009), https://nypost.com/2009/11/08/big-spending-malaysian-is-the-mystery-man-of-city-club-scene/.
153
    Sridhar Natarajan & Elffie Chew, Lloyd Blankfein Was the Unidentified Goldman Executive Present at 2009
1MDB Meeting, Bloomberg (Nov. 8, 2018), https://www.bloomberg.com/news/articles/2018-11-08/blankfein-said-
to-be-in-09-1mdb-meeting-set-up-by-leissner-low.
154
    Hafiz Yatim, Adam Aziz & Ahmad Naqib Idris, 1MDB-Tanore Trial: 1MDB was gold mine for Goldman, The
Edge (Oct. 15, 2019), https://www.theedgemarkets.com/article/1mdbtanore-trial-1mdb-was-gold-mine-goldman.
155
    Id.

                                                       54
Leissner were working closely together on 1MDB; and (3) Goldman’s top executives—including

Blankfein—were willing to ignore documented warnings from the bank’s own compliance

personnel and numerous other red flags in pursuit of potentially lucrative investment banking

business.

                 5.       Goldman’s 1MDB Bankers Engage with Najib through Low,
                          Dispensing Favors and Payouts

        130.     Following the meeting with Blankfein, in late 2009, Goldman bankers began

discussing ways to advise on a transaction concerning a special purpose vehicle that included

1MDB. The project was referred to inside Goldman as “Project Sunfish” and aligned with the

bankers’ broader effort to cultivate ties to Najib and 1MDB.156

        131.     On March 26, 2010, Ng emailed Leissner and another banker at Goldman,

emphasizing that Low was “close to [Najib]” and that Low’s involvement in Project Sunfish

“would be helpful . . . especially with [Najib].”157

        132.     At the same time, Ng and Leissner sought favor with Najib directly, involving top

Goldman executives in their efforts. For example, on April 7, 2010, Low emailed Ng to request

help in securing the attendance of what federal court filings described as “a former high-ranking

political official of the United States” at a charitable award ceremony celebrating Najib’s wife,

Rosmah, at an event in New York.158 The award was to honor Rosmah for her work as head of a

Malaysian charitable organization.

        133.     According to the DOJ, Ng forwarded the request to Leissner, who forwarded it to

“a high-ranking executive of [Goldman],” a description used in other internal Goldman




156
    Leissner Compl. & Aff., ¶ 32.
157
    Id.
158
    Id., ¶ 34.

                                                 55
documents for Blankfein.159 This email again demonstrated top executives’ awareness that

Leissner was working with Low in the bank’s relationship with Najib and 1MDB. Press accounts

from later in April 2010 reflect that Rosmah received the award at the St. Regis Hotel in New

York, presented by former U.S. Secretary of State Lawrence Eagleburger.160

        134.    Separately, between April and September 2010, Ng, Leissner, and Low discussed

making a donation of more than $300,000 to the same Malaysian organization headed by Najib’s

wife through Goldman’s charitable giving program. The effort was a ploy to curry favor with

Najib. Internal emails between Ng and Leissner discussed how “[Rosmah’s] not happy [the

donation is] taking so long and is questioning our sincerity,” which was important to Goldman

because the “Government maybe [sic] doing a sovereign [deal].”161 In short, Goldman bankers

were attempting to give money to the charity of a foreign official through an arm of the bank in

order to solicit business in a sovereign wealth fund deal—an obvious violation of the FCPA.

        135.    While it is unknown whether Goldman ultimately made the donation, the request

was conveyed to Goldman’s charitable arm (based in its New York headquarters) by the very

bankers involved in the 1MDB relationship. The affair also demonstrated once again Low’s

central role in facilitating Goldman’s dealings with 1MDB.

                6.      Vella and Leissner Join Forces to Sell Bonds for a Corrupt Malaysian
                        State Government, Earning Goldman a Public Rebuke

        136.    In mid-2010, as efforts to find a workable deal with 1MDB continued, Leissner

and Vella helped the Malaysian state government of Sarawak sell $800 million in bonds.162




159
    Id.
160
       Rosmah receives peace and harmony award from US, The Star (Apr. 18,                           2010),
https://www.thestar.com.my/news/nation/2010/04/18/rosmah-receives-peace-and-harmony-award-from-us.
161
    Leissner Compl. & Aff., ¶ 34.
162
    Billion Dollar Whale at 125-26.

                                                    56
        137.    In highly unusual fashion, Goldman bought the entire issuance itself at a discount,

later selling the bonds to institutional investors, and reaping a profit of $50 million on the deal—

50 times the typical $1 million fee charged for selling bonds for governments in the region.163

Goldman would later replicate this approach with the $6.5 billion in 1MDB bonds, buying them

directly after having lined up private clients to purchase them and taking outsized fees in the

process.

        138.    While financially successful, the Sarawak deal drew negative attention to

Goldman. Global Witness, an international watchdog organization that tracks corruption in

emerging economies, issued a report chastising the bank for funding the “notoriously corrupt

Sarawak regime”:

        Goldman Sachs is at serious risk of facilitating corruption by doing business with
        the Sarawak State Government. If you drew up a list of the most corrupt regimes
        in the region, this one would be near the top. Goldman Sachs either failed to do
        proper checks on its clients, or it did them and failed to highlight the risks to
        prospective buyers of the bonds.164

        139.    Rejecting any suggestion that Goldman helped to facilitate corruption, the bank’s

Goldman’s Head of Corporate Communications (Asia-Pacific), Edward Naylor, stated: “We

perform the same consistently high global standards of due diligence in connection with all

securities offerings.”165

                7.       Goldman’s Legal Department Reviews—and Rejects—Working with
                         Low

        140.    In early 2011, Low engaged Goldman to assist with his acquisition of a private

gold mining company in Kazakhstan by a private equity firm that he controlled. Leissner again


163
    Id.
164
    Goldman Sachs Underwrites US$1.6 Billion of ‘Under the Radar’ Bonds for Corrupt Sarawak Regime, and Wins
Business Award for It, Global Witness (Apr. 29, 2013), https://www.globalwitness.org/en/archive/goldman-sachs-
underwrites-us16-billion-under-radar-bonds-corrupt-sarawak-regime-and-wins/.
165
    Id.

                                                     57
served as Low’s primary relationship manager. Internally, the deal was known as “Project

Gold.”166

        141.     According to the FBI’s analysis of emails and other evidence in connection with

the DOJ’s ongoing 1MDB investigation, Goldman’s Legal Department performed an

Intelligence Group check on the deal, reviewing the entities and persons involved. Learning that

Low controlled the private equity firm, Legal expressed its concern about Low to the deal team

in an internal email about the bank advising on the transaction.167

        142.     Rather than withdraw from the deal due to concerns over Low’s involvement,

Goldman pivoted to advising a different private equity firm in the transaction. Low, however,

was behind the second firm as well.168

        143.     When the Intelligence Group discovered Low’s relationship to the second firm, it

objected again, deeming the proposal “even more problematic.”169 Other Goldman personnel

advised against the deal as well. For example, a senior employee in the bank’s Conflicts

Resolution Group—charged with managing the bank’s reputational risk arising from potential

conflicts of interest—counseled against completing the transaction.170

        144.     The deal was ultimately dropped, but not before again confirming to Legal and

Conflicts that top Goldman bankers were continuing to conduct new business with Low, a highly

suspicious figure by the bank’s own measure, and would manipulate the deal to conceal Low’s




166
    Leissner Compl. & Aff.,¶ 35.
167
    Id.
168
    Id.
169
    Id.
170
    Id.

                                                58
involvement.171 Goldman took no further action to ensure that the relationship with Low was

severed or that additional due diligence was done on the deal team’s Malaysia business in future.

                 8.     Multiple Departments within Goldman Reject Low for the Third
                        Time

          145.   In March 2011, less than a month after the Project Gold deal team was advised

not to work with Low, Leissner referred Low for a PWM account in Goldman’s Singapore

office. At Leissner’s request, Global Compliance initiated a “high priority” review for Low.172

          146.   Following a review of his finances and extensive press surrounding his

inexplicable spending habits, Low was rejected for the third time in less than two years. A

compliance employee explained to a PWM banker that Low “was reviewed by both my [Europe,

Middle East, and Africa] counterpart and [Legal’s Business Intelligence Group] team, and it was

concluded that no business will be allowed due to significant adverse information and

questionable source of wealth. Please be informed that we do not recommend onboarding this

client in PWM Singapore.”173 Another Global Compliance employee stated flatly, “we have

pretty much zero appetite for a relationship with this individual.”174

          147.   After Goldman’s decision to again refuse a “relationship” of any kind with Low,

Ng, Leissner, and Low met with another Goldman PWM banker to solicit “guidance” on the

process of opening a PWM account. Ng emphasized that although Low had been rejected by

Goldman’s Swiss PWM, “[g]iven the various things we have with this client, we should try to

make an attempt, if possible” to open an account for Low.175




171
    Id.
172
    Id.
173
    Id.
174
    Id.
175
    Id., ¶ 36.

                                                59
         148.     While Low did not get his private wealth management account with Goldman, the

referral process again notified multiple departments and employees—at a minimum, PWM,

Legal, and Global Compliance personnel for multiple regions—that the Southeast Asia deal

team viewed Low as a valuable client and was actively working with him, despite Global

Compliance’s view that “no business” or “relationship” should be allowed with him. It also

added to the bank’s internal records of red flags concerning Low.

                  9.       Project Magnolia: Goldman Nets $192 Million from 1MDB’s First
                           Bond Offering Amid a Sea of Red Flags

                           a)       Goldman’s Top Bankers Agree to Pay Bribes and Kickbacks

         149.     In early 2012, 1MDB engaged Goldman Sachs for advice in purchasing a

Malaysian energy company, including several power plants that it owned. According to

documents filed by the DOJ and unsealed in 2018, Low, Ng, Leissner, Vella, and multiple

1MDB officials met in Malaysia to discuss Goldman’s role in obtaining financing for the

acquisition.176 The engagement was known within Goldman as “Project Magnolia.”177

         150.     During the meeting, Vella, Leissner, and Ng discussed with Low the type of

guarantee that 1MDB needed to obtain for Goldman to serve as underwriter of the bonds. Low

suggested backing from IPIC, the Abu Dhabi sovereign wealth fund whose managing director,

Khadem Al Qubaisi, Low had cultivated.178

         151.     The IPIC managing director had a reputation for demanding bribes even before

the Abu Dhabi fund’s relationship with 1MDB.179 Indeed, Al Qubaisi had been sued in the

United States in 2009 by a consulting firm from whom the director had demanded a $300 million



176
    Leissner Info., ¶ 25.
177
    Leissner Compl. & Aff., ¶ 38; Leissner Info., ¶ 28.
178
    Billion Dollar Whale at 176-77.
179
    Id. at 178-79.

                                                          60
kickback.180 Tellingly, when Goldman’s 1MDB team solicited help from their colleagues in the

region, bankers in Goldman’s Middle Eastern headquarters declined to get involved with the

IPIC-guaranteed 1MDB bond offering, finding the idea “preposterous.”181

        152.     The quartet of Vella, Leissner, Ng, and Low nonetheless agreed that a guarantee

from IPIC would suffice. According to a later filing by the DOJ, Vella, Leissner, and Ng

“understood that [Low] would act as an intermediary between 1MDB, [Najib] and other

government officials from Abu Dhabi.”182

        153.     Unsurprisingly, IPIC’s participation did not come without a price. In late

February 2012, Low, Leissner, Ng, a 1MDB official, and others met in London to discuss the

bond deal. During the meeting, Low explained that to secure the guarantee from IPIC, they

would have to pay bribes and kickbacks to government officials in Malaysia and Abu Dhabi.183

        154.     After the meeting, Ng informed Vella that Goldman would have to pay bribes and

kickbacks to foreign officials for the bond deal to occur. Given his motivation to get the deal

done and drive profits for Goldman, Vella agreed.184

        155.     Project Magnolia received support from top Goldman management, including

President and COO Cohn, who recognized the deal’s alignment with the bank’s post-crisis

“monetize the state” initiative. As The Wall Street Journal reporters Wright and Hope recount:

        [W]ith Western economic activity subdued, Cohn was spearheading a drive to do
        more deals with sovereign wealth funds in emerging markets. And that led him to
        throw his support behind a potentially lucrative line of business that Leissner and
        Andrea Vella were developing in Malaysia. . . . The backing of a domineering


180
    Bradley Hope & Nicolas Parasie, Abu Dhabi Sovereign-Wealth Fund Gets Entangled in Global 1MDB Scandal,
The Wall Street Journal (Dec. 1, 2016), https://www.wsj.com/articles/malaysian-money-trail-leads-to-the-middle-
east-1480614247; Billion Dollar Whale at 152.
181
    Billion Dollar Whale at 178.
182
    Leissner Info, ¶ 25.
183
    Id., ¶ 26.
184
    Id., ¶ 27.

                                                      61
       and powerful personality like Cohn afforded significant cover to those involved
       in the 1MDB business and drowned out the voices who were uncomfortable
       with the plans to raise billions of dollars for the fund.185

       156.    In March 2012, 1MDB formally named Goldman as the “sole bookrunner and

arranger” for the $1.75 billion debt issuance to fund the acquisition.186 Goldman had won the

deal with no competition, flouting the typical process by which potential underwriters compete

for the issuer’s business by offering favorable terms.

                       b)      Numerous Other Red Flags Signal Corruption at 1MDB

       157.    The first 1MDB offering was recognized as “the biggest sole-led bond deal ever

printed in ex-Japan Asia.”187 Yet the inherently troubling features of doing business with the

fund, apparent from Blankfein’s first encounter with Low and Najib in 2009, had only grown

more pronounced with time. In addition to those identified above in ¶¶ 81-112, the red flags

around Project Magnolia included the following:

                               (1)     Low’s Role Is Well Known Inside the Bank

       158.    Throughout Project Magnolia’s formulation and execution, Low’s involvement as

the lynchpin of the deal was apparent.

       159.    First, the 1MDB deal team did little to mask their involvement with Low, openly

travelling together and conducting business publicly with Low and various third parties. For

example:

           a. On March 5, 2012, Vella, Leissner, and Ng traveled with Low to Abu Dhabi meet

               with IPIC executives;188



185
    Billion Dollar Whale at 182-83.
186
    Leissner Compl. & Aff., ¶ 38.
187
     Jonathan Rogers, Goldman ruffling feathers in Asian debt, IFR (June 1, 2012), https://www.ifre.com
/story/1225106/goldman-ruffling-feathers-in-asian-debt-xt8w2q8dml.
188
    Leissner Compl. & Aff., ¶ 40; Leissner Info., ¶ 30; Billion Dollar Whale at 176-81.

                                                  62
            b. Later that month, Ng, Leissner, and Low met in New York for a dinner with the

                head of the company from which 1MDB ultimately purchased the energy

                company;189 and

            c. On April 21, 2012, Leissner and Low met with several bankers from the

                Singapore branch of a private bank at a restaurant in Singapore to discuss Project

                Magnolia.190

        160.    Second, as The Wall Street Journal later reported, Low’s involvement in the

1MDB bond deal was “widely discussed” at Goldman’s Asia offices at the time.191 If Low’s role

was meant to be a secret, it was an open one. Again, this is unsurprising, given the deal team’s

recent solicitations to various personnel to ingratiate the bank to Low by opening a PWM

account for him in Singapore.

        161.    Third, internal documents, including Goldman emails, reflected Low’s role in the

bond deal. For example, The Wall Street Journal reported that “one managing director described

[Low] as ‘the 1MDB Operator or intermediary in Malaysia’ in a March 2012 email.”192

        162.    Fourth, Leissner himself informed Goldman that Low was involved in the deal.

On April 4, 2012, the Capital and Suitability Committees convened a firmwide meeting to

review Project Magnolia.193 Asked at this joint firmwide meeting about Low’s involvement by

the global Co-Head of Business Intelligence, Leissner admitted to the Committees that Low had



189
    Leissner Compl. & Aff., ¶ 40
190
    Id.
191
    Tom Wright & Liz Hoffman, Goldman Sachs’s Ex-CEO Lloyd Blankfein Met Malaysian at Center of 1MDB
Scandal, The Wall Street Journal (Nov. 9, 2018), https://www.wsj.com/articles/goldman-sachss-ex-ceo-met-
malaysian-twice-at-center-of-1mdb-scandal-1541779363.
192
    Justin Baer, Tom Wright & Ken Brown, Goldman Sachs Ties to Scandal-Plagued 1MDB Run Deep, The Wall
Street Journal (Dec. 22, 2016), https://www.wsj.com/articles/goldman-sachs-ties-to-scandal-plagued-1mdb-run-
deep-1482362362.
193
    Leissner Compl. & Aff., ¶ 41.

                                                    63
played a key role for 1MDB by facilitating the March 5, 2012 meeting between Goldman and

IPIC, the guarantor needed for the Project Magnolia deal to move forward.194 His disclosure

confirmed what copious other evidence inside the bank already reflected.

            163.   Fifth, others outside of the Business Intelligence Group knew that Low was the

central figure in the deal team’s effort to drum up business in Malaysia. As described above,

CEO Lloyd Blankfein had personally met with Low, Leissner, and Najib at least once by this

time, discussing how Goldman could win business with 1MDB, leaving no doubt that Low’s

involvement was known at the bank’s highest level. Furthermore, Global Compliance personnel

from multiple regions, PWM bankers from Goldman’s Switzerland and Singapore offices,

Conflicts personnel, and employees from the bank’s charitable arm had learned of the deal

team’s close relationship with Low—as well as the bankers’ willingness to manipulate deals to

hide Low’s involvement and court FCPA violations through “charitable” gifts to the family of

Low’s patron, Najib.

                                 (2)    Goldman Bankers Voice Concerns about the Deal’s Terms
                                        But Are Steamrolled by Senior Management

            164.   Low aside, senior bankers within Goldman were expressing concerns about other

features of the 1MDB deal even before the first offering had closed.

            165.   Most conspicuous was David Ryan, President of Goldman Asia and a member

of Goldman’s firmwide Management Committee (along with Blankfein, Cohn, Michael Evans,

current CEO David Solomon, and other key executives). Ryan expressed that Goldman’s receipt




194
      Id.

                                                 64
of the lucrative underwriting assignment without any competition with other banks was too good

to be true.195 Moreover, Ryan said, Goldman’s profit appeared to be excessive.196

           166.   Ryan also believed that the transaction was ill-suited for 1MDB. He had visited

1MDB’s offices in Malaysia, and he left concerned that management did not have the experience

to manage multi-billion-dollar investments and that the fund was taking on too much debt, which

he expressed at the time.197 His objections were overruled for the first of three times.

           167.   Alex Turnbull, a Goldman Executive Director based in Hong Kong, likewise

voiced concerns about Project Magnolia that Goldman quashed. Not involved in the deal

himself, a colleague dropped off the paperwork for the bond sale and told him, “Check this

out.”198

           168.   In an internal email that he sent to several colleagues, Turnbull expressed

disbelief at the offering’s terms and Goldman’s expected profits.199 The email exclaimed, “What

the f--- is going on with this? The pricing is nuts, what is the use of funds?”200 These concerns,

he told the Australian Financial Review, were “obvious” and “widely shared by the market

participants at the time.”201




195
    Emily Flitter, Matthew Goldstein & Kate Kelly, Goldman Chairman Met Privately With Fugitive Accused in
Malaysian Fraud, The N.Y. Times (Nov. 22, 2018), https://www.nytimes.com/2018/11/22/business/goldman-
blankfein-1mdb-malaysia.html.
196
    Billion Dollar Whale at 185.
197
    Id. at 183.
198
      Aaron Patrick, Goldman Sachs, Lies and 1MDB, Austl. Fin. Review (Jan. 19, 2019),
https://www.afr.com/politics/goldman-sachs-lies-and-1mdb-20190117-h1a5is.
199
    Billion Dollar Whale at 185.
200
    Jamie Smyth & Don Weinland, Australia PM’s son says Goldman sidelined him after 1MDB warnings, Fin.
Times (Mar. 8, 2018), https://www.ft.com/content/cb0fbf5c-2284-11e8-9a70-08f715791301.
201
    Aaron Patrick, Alex Turnbull’s 1MDB complaints about Goldman Sachs look prescient, Austl. Fin. Review (July
11, 2018), https://www.afr.com/markets/equity-markets/alex-turnbulls-1mdb-complaints-about-goldman-sachs-
look-prescient-20180710-h12gxa.

                                                      65
        169.     Unbeknownst to Turnbull, his email was forwarded to others inside the bank,

including compliance personnel. Yet rather than investigate the concerns raised by Turnbull,

Goldman silenced him—just as it had Ryan. Compliance reprimanded Turnbull for questioning

the deal.202 Separately, Turnbull’s boss told Turnbull to keep his mouth shut about the deal if

he ever wanted to be promoted.203 Turnbull was then demoted to the so-called “b-track,” frozen

out of important business. He left the bank almost two years after the email incident.204

        170.     Turnbull, a trader, later described the culture of Goldman investment bankers in

Asia to the Financial Times: “The attitude among some of the banking guys was . . . ‘Sure, all of

my clients are crooks – so how the f--- else am I going to deal with them?’ They kind of took the

view that if I want to get things done in Asia, then I will have to do it in the ‘Asian way.’”205

                                  (3)     Project Magnolia’s Terms Are Highly Suspicious

        171.     As observed by Ryan, Turnbull, and others, the deal’s terms and conditions were

highly suspicious and indicated a likelihood of corruption.

        172.     First, IPIC’s guarantee was suspicious, as there was little reason for a foreign

sovereign fund to be backstopping Malaysia’s own sovereign fund. “After all,” the Financial

Times wrote in a July 2012 article titled “1MDB of Malaysia’s $1.75b bond: one puzzle wrapped

in another,” “1MDB has secured a Malaysian state guarantee in the past. Why is a Gulf emirate,

many miles away, guaranteeing this bond?” 206




202
    Id.
203
    Billion Dollar Whale at 185-86.
204
    Id.
205
    Don Weinland, Stefania Palm & Jamie Smyth, Goldman Sachs’ Asia franchise suffers in 1MDB storm, Fin.
Times (Nov. 21, 2018), https://www.ft.com/content/8f33b9a0-e671-11e8-8a85-04b8afea6ea3.
206
    Camilla Hall, 1MDB of Malaysia’s $1.75bn bond: one puzzle wrapped up in another, Fin. Times (July 2, 2012),
https://www.ft.com/content/6c879300-465c-3a2b-ab04-a35e1d2e831e#ixzz2XeyVxYLm.

                                                      66
            173.   The Financial Times also noted that, even more curiously, IPIC did not receive a

documented fee for its role as guarantor. This feature was particularly suspect given IPIC’s

managing director’s reputation for soliciting bribes to influence IPIC investments—including

allegations from a U.S. lawsuit in 2009 that he had demanded a $300 million kickback in

connection with a deal. Equally telling was Goldman’s own Middle East office declining to get

involved due to suspicions over IPIC’s involvement.

            174.   Second, the entire issue was handled as a private placement, rather than an open

market offering, another highly unusual feature of a large sovereign offering. Private placements,

which lack the competition among buyers on the open market, often cost the issuer more, but

maintain a veil of confidentiality, which Low and Najib desired. 1MDB’s willingness to pay

more to keep the deal secret was suspicious.

            175.   Third, Goldman’s underwriting process was marked by extreme secrecy. Despite

being “Asia’s biggest sole-led dollar-bond sale,” the Financial Times noted on July 2, 2012, that

“it almost slipped under the radar.”207 It continued, “[t]he issue was never meant to be made

public but somehow it flickered up on bankers’ screens, sparking caustic commentary.”

            176.   Fourth, the yield on the bond was nearly 2 ½ times higher than comparable

securities. The Financial Times remarked that the 1MDB bonds were priced at 425 basis points

over 10-year Treasuries (a 6% yield), while comparable bonds traded at a spread of just 185

basis points.208 1MDB had no reason to agree to pay so much in interest unless it was trying to

consummate an otherwise suspect deal.

            177.   Fifth, the purpose of nearly half of the money 1MDB netted from Project

Magnolia was left undefined. According to the offering circular, $810 million would be used to

207
      Id.
208
      Id.

                                                  67
acquire the target energy company from a well-connected Malaysian tycoon—itself a red flag in

a country known for corruption—and the remaining $744 million would be set aside for “general

corporate purposes.”209 This meant that investors had no way of knowing whether the money

would be used for legitimate investments—or as a political or personal slush fund for Najib and

his associates.

        178.      Sixth, the fees that Goldman charged—and that 1MDB allowed—well exceeded

the industry standard. According to The Wall Street Journal, a typical fee on a deal like Project

Magnolia would be about $1 million, whereas the offering circular revealed that Goldman

charged 1MDB $192.5 million, or about 11% of the bond issue.210 The fees Goldman received

also dwarfed a typical Malaysian investment grade bond deal, which, in an article titled “Rogue

Bankers Don’t Explain Goldman’s 1MDB Mess,” Bloomberg explained typically “compare with

half a percentage point for underwriting a typical Malaysian investment-grade bond deal, one

percentage point for high-yield and mere basis points for government debt.” This seemed too

rich a price for Goldman’s services even to the Najib loyalists on 1MDB’s board, but the bank

cajoled them, “[l]ook at your number, not at our number.”211

        179.      While the deal went through, the fact that 1MDB permitted such exorbitant fees to

go to Goldman was strongly indicative of corruption, as no sovereign client legitimately

concerned about its country’s funds would have reason to agree to such terms. Indeed, after the

1MDB scandal broke, former Partners of the firm told Bloomberg that “the amount of money




209
    Leissner Compl. & Aff., ¶ 44.
210
    Justin Baer, Tom Wright & Ken Brown, Goldman Sachs Ties to Scandal-Plagued 1MDB Run Deep, The Wall
Street Journal (Dec. 22, 2016), https://www.wsj.com/articles/goldman-sachs-ties-to-scandal-plagued-1mdb-run-
deep-1482362362.
211
    Aaron Patrick, How Goldman Sachs silenced 1MDB doubters, Austl. Fin. Review, Sept. 7, 2018.

                                                    68
Goldman Sachs made from relatively plain bond deals should have been a bright warning to

its highest executives.”212

        180.    Much like the bank’s defense of Vella’s and Leissner’s earlier bond deal for the

state of Sarawak in 2010, Goldman sought to justify its enormous take on the ground that it had

undertaken heroic risk by buying the Magnolia issuance directly. In truth, Goldman had secured

buyers—including mutual funds in South Korea, China, and the Philippines—to purchase the

bonds prior to finalizing the deal, meaning that it had accepted virtually no risk in the deal.213

This, too, Goldman concealed from everyone outside the bank. In fact, a Goldman employee was

told to keep all correspondence about the bond off email, lest they become public and reveal

that the bank’s colossal fee was unjustified.214 Even had Goldman not lined up purchasers ahead

of time, it would have been able to easily offload the entire lot, as the markedly higher yields

compared to comparable securities made them enormously attractive to investors.

                                (4)      Sensing Political Corruption, Investment Bank Lazard Pulls
                                         Out of the Deal

        181.    Because the Project Magnolia offering was purportedly designed to provide funds

to purchase power plants from a Malaysian tycoon for $2.7 billion, Goldman engaged the

investment bank Lazard to provide an independent valuation of the plants to justify the purchase

price. Lazard initially agreed, but its analysis indicated that the $2.7 billion price tag was too




212
     Max Abelson & Sridhar Natarajan, Lloyd Blankfein’s Final Days at Goldman Clouded by 1MDB Scandal,
Bloomberg Businessweek (Dec. 13, 2018), https://www.bloomberg.com/news/articles/2018-12-13/lloyd-blankfein-
s-final-days-at-goldman-clouded-by-1mdb-scandal.
213
    Billion Dollar Whale at 186.
214
    Id.

                                                    69
high. As The Wall Street Journal later reported, Lazard pulled out, telling Goldman it believed

1MDB was overpaying and that the deal “smacked of political corruption.”215

        182.    Rather than find another third party valuation expert or otherwise scrutinize the

deal more objectively, Goldman stepped into Lazard’s role, eliminating any semblance of an

impartial valuation.216 Goldman had good reason to push for the high acquisition price, even if it

cost the bank’s client more: Goldman was to receive 0.5% of the $2.7 billion deal in addition to

its fees on the debt issuance.217 Drawing no objection from the internal committees that the BSC

created to prevent conflicts of interest or reputational harm, Goldman provided its own self-

serving valuation to justify the $2.7 billion figure and forged ahead with the offering.218

        183.    Lazard’s concerns of corruption proved well-founded. In addition to the theft by

Low and Najib of bond proceeds after the Magnolia offering closed, discussed below, the deal

involved a circular flow of kickbacks between 1MDB and the tycoon that owned the plants. As

stated in the circular that Goldman itself had drafted, that same tycoon was subscribing to a

“significant” portion of the offering, earning a 6% return at a time when global interest rates

were hovering around zero. In return, the tycoon made $170 million in donations to 1MDB’s

“charity” arm. Furthermore, 1MDB wrote off $400 million of the value of the plants, which

effectively conceded that it had paid a grossly inflated price—precisely Lazard’s reason for

withdrawing from the deal.219



215
    Tom Wright & Liz Hoffman, Goldman Sachs Ignored 1MDB Warning Signs in Pursuit of Asian Business, The
Wall Street Journal (Dec. 17, 2018), https://www.wsj.com/articles/goldman-sachs-ignored-1mdb-warning-signs-in-
pursuit-of-asian-business-11545088802; Billion Dollar Whale at 184.
216
    Billion Dollar Whale at 185.
217
    Adam Aziz, Jho Low, Tim Leissner ‘matchmaker’ for Najib and Goldman Sachs, court told, EdgeProp (Sept. 27,
2019),        https://www.edgeprop.my/content/1592465/jho-low-tim-leissner-matchmaker-najib-and-goldman-sachs-
court-told.
218
    Billion Dollar Whale at 184.
219
    Id. at 186.

                                                     70
                                  (5)     Outrage Over Corruption in Najib’s Regime Spills into
                                          Malaysia’s Streets

        184.     Another salient warning of corruption at 1MDB was the unrest roiling Malaysian

politics, reflecting opposition to the Najib regime and growing cynicism about his “1Malaysia”

campaign. In late April 2012, tens of thousands of protesters took to Kuala Lumpur’s streets to

demand Najib’s resignation and an overhaul of the country’s electoral system after decades of

institutionalized graft. Some held up caricatures of Najib’s wife, Rosmah, asking how she had

paid for her jewels on Najib’s government salary.220

        185.     The protests resulted in hundreds of arrests, with protestors clad in signature

yellow t-shirts sprayed with tear gas and water cannons.221 The unrest was reported around the

world by outlets such as The New York Times, the BBC, and Reuters. Human Rights Watch

chastised the Najib regime for using excessive force.222

        186.     Occurring simultaneously with Goldman’s readying of the Magnolia offering,

these events highlighted that the bank was helping to fund a corrupt regime, just as Vella’s and

Leissner’s underwriting in the state of Sarawak had reportedly done not long before.

                         c)       Defying the Warnings, Goldman Forges Ahead With the
                                  Magnolia Offering—and the Funds Quickly Disappear

        187.     Goldman’s Asia Pacific committee was tasked with reviewing the deal, pitched by

Leissner and Ng, before sending it on to the firmwide Capital Committee in New York.223 The

Committee met in Hong Kong and was co-chaired by Eugene Leouzon, Goldman’s Global Chief


220
    Id. at 191.
221
    Liz Gooch, Police Clash With Malaysia Protesters Seeking Electoral Reforms, The N.Y. Times (Apr. 28, 2012),
https://www.nytimes.com/2012/04/29/world/asia/malaysian-capital-braces-for-rally-by-democracy-activists.html.
222
     Malaysia: Excessive Force Used to Disperse Peaceful Protests, Human Rights Watch (Apr. 29, 2012),
https://www.hrw.org/news/2012/04/29/malaysia-excessive-force-used-disperse-peaceful-protests.
223
    John Gapper & Laura Noonan, NY Fed told Goldman to improve risk reporting shortly after 1MDB, Fin. Times
(Nov.        25,    2018),      https://www.ft.com/content/bc59bc34-f0a0-11e8-ae55-df4bf40f9d0d?emailId=5bfa
ce7617a34c00049cc5ce&amp;segmentId=ce31c7f5-c2de-09db-abdc-f2fd624da608.

                                                      71
Underwriting Officer.224 The regional committee immediately recognized the risk of the deal,

expressly identifying “potential media and political scrutiny” that the bank could suffer on the

committee meeting’s agenda.225

        188.    The deal had powerful champions, however, and the committee went along. Vella

was a member of the Hong Kong-based Asia Pacific Committee. While the Asia Pacific

Committee’s minutes reflected that Vella recused himself from the financing decision given his

interest in the transaction, he remained in the room and continued to take part in the discussions.

In fact, according to the Financial Times, “Vella . . . was the most influential figure within the

Asia Pacific committee in securing approval for 1MDB as a member of the deal team.”226

        189.    Ultimately, five Goldman committees, including four powerful firmwide

committees charged with reviewing important transactions—the Risk, Business Standards,

Capital, and Suitability Committees—approved Project Magnolia in mid-May 2012.227 Among

those who approved the deal were: CEO Blankfein; then-Head of Investment Banking and

current CEO David Solomon; and then-Global Head of Financing, now CFO Stephen Scherr.228

In its rush to complete the deal, Goldman failed to obtain approval from IPIC’s board, the

guarantor of the bonds. Instead, it relied on the approval of the two corrupt officials with whom




224
    Id.
225
    Tom Wright & Liz Hoffman, Goldman Sachs Ignored 1MDB Warning Signs in Pursuit of Asian Business, The
Wall Street Journal (Dec. 17, 2018), https://www.wsj.com/articles/goldman-sachs-ignored-1mdb-warning-signs-in-
pursuit-of-asian-business-11545088802.
226
    Id.
227
    Leissner Compl. & Aff., ¶ 41; Matt Wirz & Alex Frangos, Goldman Sees Payoff in Malaysia Bet, The Wall
Street Journal (Apr. 30, 2013), https://www.wsj.com/articles/SB10001424127887323798104578452802751076598;
Yantoultra Ngui & Liz Hoffman, Malaysia Charges Goldman Sachs Executives in 1MDB Scandal, The Wall Street
Journal (Aug. 9, 2019), https://www.wsj.com/articles/malaysia-charges-goldman-directors-over-1mdb-scandal-
11565342749.
228
    Hugh Son, As Goldman’s 1MDB scandal deepens, insiders doubt the firm’s rogue banker defense, CNBC (Dec.
18, 2018), https://www.cnbc.com/2018/12/17/as-goldmans-1mdb-mess-deepens-insiders-doubt-the-firms-rogue-
banker-defense.html.

                                                     72
Low was conspiring, including the executive with a well-known reputation for demanding

kickbacks. 229

        190.     Project Magnolia closed on May 21, 2012, for a total offering of $1.75 billion in

1MDB bonds.230 As noted above, the offering was structured to operate effectively as a private

placement, with Goldman buying the entire lot from 1MDB directly, then reselling them to a pre-

defined group of clients—much like Vella and Leissner had done for the state of Sarawak in

2010, after which an international watchdog upbraided the firm for bankrolling corruption.

        191.     Approximately one third of Project Magnolia’s net proceeds disappeared almost

immediately. According to the FBI’s review of financial records, nearly $577 million was

diverted to a BSI account held by a shell company incorporated in the British Virgin Islands,

from which it was funneled elsewhere.231 The offering circular had made no mention of such a

use.

        192.     On May 25, 2012, $295 million was transferred into a shell account at a

Singapore bank controlled by Low’s associate, Eric Tan, whom Low frequently used as a proxy

for financial transactions to keep Low’s name off the radar. Other funds from the Low-controlled

Tan account went to officials at IPIC and 1MDB.232

        193.     Meanwhile, Goldman’s haul of over $192 million in fees from the deal

singlehandedly moved the bank up two slots on the 2012 underwriting league tables for Asia.233

Back in New York, Goldman awarded the Project Magnolia deal its highest internal prize, the


229
    Dave Guilas, Report: Goldman proceeded with $1.75B bond sale without IPIC’s board OK, S&P Global Market
Intelligence (Dec. 21, 2018), https://www.spglobal.com/marketintelligence/en/news-insights/trending/iVizr2kcC
wL22Q2VlaAevA2.
230
    Leissner Compl. & Aff., ¶ 44.
231
    Id., ¶ 45.
232
    Id., ¶ 46.
233
    Camilla Hall, 1MDB of Malaysia’s $1.75bn bond: one puzzle wrapped up in another, Fin. Times (July 2, 2012),
https://www.ft.com/content/6c879300-465c-3a2b-ab04-a35e1d2e831e#ixzz2XeyVxYLm.

                                                      73
Michael P. Mortara Award,234 on a night that has been referred to as Goldman’s “internal

equivalent of the Oscars”—demonstrating that knowledge of the deal reached all members of

senior management.235 Acknowledging the breadth of involvement by the bank’s various

functions, the award’s selection committee lauded bankers in four separate Goldman divisions

for “solving an important client’s problem through outstanding firmwide cooperation.”236

                10.      Project Maximus: As the Warning Signs Multiply, 1MDB’s Second
                         Offering Brings Goldman Another $114 Million in Fees

                         a)      Immediately After the First Offering, 1MDB Seeks a Second

        194.    Only ten days after Project Magnolia closed on May 21, 2012, and as its proceeds

were being funneled through shell accounts to pay off Low and officials at 1MDB and IPIC,

Goldman was tapped to underwrite a second bond deal with 1MDB—again without any

competition from rival investment banks.

        195.    On May 31, 2012, Leissner informed a colleague at Goldman that 1MDB planned

to buy a second energy company and was looking to retain Goldman as its adviser on a second

capital raise to fund the acquisition. Internally, the venture was called “Project Maximus.”

Leissner and Ng, along with other Goldman bankers, were on the deal team, overseen by

Vella.237




234
     Mortara was a Goldman Partner “who was instrumental in the founding of the market for mortgage-backed
securities.” Jonathan Fuerbringer, Michael P. Mortara, 51, a Developer of Mortage-Backed Securities, The N.Y.
Times (Nov. 16, 2000), https://www.nytimes.com/2000/11/16/business/michael-p-mortara-51-a-developer-of-
mortgage-backed-securities.html.
235
    Tom Wright & Liz Hoffman, Goldman Sachs Ignored 1MDB Warning Signs in Pursuit of Asian Business, The
Wall Street Journal (Dec. 17, 2018), https://www.wsj.com/articles/goldman-sachs-ignored-1mdb-warning-signs-in-
pursuit-of-asian-business-11545088802.
236
    Id.
237
    Leissner Compl. & Aff., ¶ 50.

                                                     74
        196.    The offering was structured to raise $1.75 billion in additional funds for

1MDB.238 The funds were ostensibly intended for the purchase of power plants from a casino-

and-plantations conglomerate.239 Pursuant to negotiations with Goldman, IPIC again agreed to

guarantee the Project Maximus bonds.240

                         b)      Red Flags Again Signal Corruption

        197.    Various signs of corruption attended Project Maximus. Given the razor-thin

interval between the first and second offerings, the same red flags that existed when Project

Magnolia was underway persisted at the outset of Project Maximus: (i) knowledge of Low’s role

had not dissipated; (ii) the previously expressed concerns of experienced Goldman bankers

during the first deal remained as valid; (iii) the terms and structure of the bonds remained as

suspect, with the Project Maximus bonds bearing largely the same characteristics as the Project

Magnolia bonds, including another inexplicable guarantee from IPIC and its graft-prone director;

and (iv) Lazard’s withdrawal over corruption concerns seemed only more prescient in the wake

of the mass street protests demanding Najib’s resignation.

        198.    Indeed, had Goldman actually engaged in the post-transaction monitoring that the

BSC had mandated—and which bank President Cohn assured investors in 2013 had been “fully

implemented”—more personnel at the bank would have discovered the corruption that both

Lazard and the protesters suspected. Irrespective of the bank’s fulfillment of its commitment to

post-transaction monitoring, even modest due diligence in connection with Project Maximus




238
    Billion Dollar Whale at 189; Leissner Compl. & Aff., ¶ 50.
239
    Billion Dollar Whale at 189.
240
    Carmel Crimmins, Olivia Oran, Sumeet Chatterjee, Grant McCool, Anshuman Daga & Martin Howell, Goldman
Sachs under spotlight in Malaysian fund scandal, Reuters (July 20, 2016), https://www.reuters.com/article/us-
malaysia-scandal-goldman-sachs/goldman-sachs-under-spotlight-in-malaysian-fund-scandal-idUSKCN1002OR.

                                                     75
would have revealed that hundreds of millions of dollars in proceeds from the first offering had

disappeared almost instantaneously.

        199.     Furthermore, as was true throughout Goldman’s relationship with Low and

1MDB, signs of corruption were only multiplying with time. Additional red flags during Project

Maximus included the following:

                                  (1)      The Second Deal’s Terms Are Again Suspect

        200.     Press reports following consummation of the Project Magnolia deal in May 2012

raised questions about the structure of the deal that mirrored those of the second offering,

including: (i) the unusually onerous interest payments 1MDB was agreeing to make; (ii) the

extreme secrecy surrounding the issuance, including its sale by private placement; and (iii) the

inexplicable role that IPIC had undertaken as guarantor of the offering.241

        201.     Moreover, the offering circular stated that of the approximately $1.63 billion in

net proceeds that the offering was expected to be generate, only $692 million would be used to

buy the second energy company. Over $1 billion of the second offering was allocated to “general

corporate purposes.” This was itself a red flag, as there was no reason to rush an offering the

purpose of which had been left largely undefined.242

        202.     Furthermore, even the stated justification for the portion of the raise that was

earmarked for a specific use was suspicious. As noted above, $744 million of the first offering

was purportedly set aside for “general corporate purposes,” including future acquisitions. With


241
    Camilla Hall, 1MDB of Malaysia’s $1.75bn bond: one puzzle wrapped up in another, Fin. Times (July 2, 2012),
https://www.ft.com/content/6c879300-465c-3a2b-ab04-a35e1d2e831e#ixzz2XeyVxYLm; Carmel Crimmins, Olivia
Oran, Sumeet Chatterjee, Grant McCool, Anshuman Daga & Martin Howell, Goldman Sachs under spotlight in
Malaysian fund scandal, Reuters (July 20, 2016), https://www.reuters.com/article/us-malaysia-scandal-goldman-
sachs/goldman-sachs-under-spotlight-in-malaysian-fund-scandal-idUSKCN1002OR; A Thief and Liar, Caught Red
Handed by the FBI! – PM Najib Razak [“Malaysia Official Number 1”] Is Unmasked!, Sarawak Report (July 20,
2016),      http://www.sarawakreport.org/2016/07/caught-red-handed-by-the-fbi-pm-najib-razak-malaysian-official-
number-1-is-fingered-by-the-doj/.
242
    Leissner Compl. & Aff., ¶ 55.

                                                      76
only $692 million needed to buy the second energy company, the set-aside funds from the first

offering would have sufficed—had they not already been funneled offshore for corrupt

payments to Najib, officials at 1MDB and IPIC, and Low.

                                 (2)     Asia President David Ryan Again Speaks Out But Is
                                         Overruled and Sidelined by President Gary Cohn

        203.    In connection with Project Maximus, Goldman’s Asia President, David Ryan,

again voiced strong reservations about Goldman’s investment banking work for 1MDB. Ryan

was Vella’s and Leissner’s superior. He was also one of only 25 Senior Directors at the bank and

served on Goldman’s Management Committee, according to its 2013 Annual Report.243

Nevertheless, he received treatment similar to Turnbull, the Executive Director “b-tracked” and

reprimanded by compliance personnel after objecting to the first offering several months before.

        204.    The New York Times reported that, after the first offering was completed, Ryan

had argued to colleagues that Goldman should reassess—and potentially end—its relationship

with 1MDB.244 According to the paper’s four sources, “[t]he unusual no-bid contract struck Mr.

Ryan and other Goldman executives as possibly too good to be true.”245 When the second

offering popped up on the heels of the first, Ryan questioned why Goldman was not lowering its

fees, given the ease with which it had offloaded the first round (indeed, lining up purchasers

before closing).246




243
    2013 Annual Report.
244
    Emily Flitter, Matthew Goldstein & Kate Kelly, Goldman Chairman Met Privately With Fugitive Accused in
Malaysian Fraud, The N.Y. Times (Nov. 22, 2018), https://www.nytimes.com/2018/11/22/business/goldman-
blankfein-1mdb-malaysia.html.
245
    Id.
246
    Justin Baer, Tom Wright & Ken Brown, Goldman Sachs Ties to Scandal-Plagued 1MDB Run Deep, The Wall
Street Journal (Dec. 22, 2016), https://www.wsj.com/articles/goldman-sachs-ties-to-scandal-plagued-1mdb-run-
deep-1482362362.

                                                    77
        205.     Gary Cohn immediately silenced Ryan, rehiring Mark Schwartz, a former

Goldman banker, and installing him as Chair of Goldman Asia, a post above Ryan.247 Schwartz,

who joined the firm’s Management Committee, was a proponent of the 1MDB relationship.248

Frozen out of the bank’s hottest business in his own region, Ryan was marginalized.

                         c)       Goldman Again Ignores the Warning Signs, and Hundreds of
                                  Millions More Are Stolen

        206.     Despite these red flags, Goldman’s compliance and supervisory committees

rubber-stamped the deal. Five internal committees, including the firmwide Risk, Business

Standards, Capital, and Suitability Committees, signed off on the offering.249 CEO Blankfein,

then-Head of Investment Banking and current CEO Solomon, and then-Global Head of

Financing, now CFO Scherr, were again among those who approved the deal.250

        207.     Project Maximus closed on October 17, 2012, supposedly yielding $1.75 billion

in proceeds for the people of Malaysia.251 As with Project Magnolia, however, a large chunk of

the $1.75 billion offering was immediately siphoned off illegally. According to the FBI’s review

of financial records from the transaction, nearly half of the net proceeds of the deal—$790

million—was diverted from 1MDB’s account within 48 hours of Goldman sending the offering’s




247
     Susanne Craig, The Return of Goldman’s Mark Schwartz, The N.Y. Times (June 12, 2012),
https://dealbook.nytimes.com/2012/06/12/the-return-of-goldmans-mark-schwartz/; Billion Dollar Whale at 189
248
    Billion Dollar Whale at 189.
249
    Leissner Compl. & Aff., ¶ 53; Matt Wirz & Alex Frangos, Goldman Sees Payoff in Malaysia Bet, The Wall
Street Journal (Apr. 30, 2013), https://www.wsj.com/articles/SB10001424127887323798104578452802751076598;
Yantoultra Ngui & Liz Hoffman, Malaysia Charges Goldman Sachs Executives in 1MDB Scandal, The Wall Street
Journal (Aug. 9, 2019), https://www.wsj.com/articles/malaysia-charges-goldman-directors-over-1mdb-scandal-
11565342749; John Gapper & Laura Noonan, NY Fed told Goldman to improve risk reporting shortly after 1MDB,
Fin.        Times        (Nov.        25,     2018),         https://www.ft.com/content/bc59bc34-f0a0-11e8-ae55-
df4bf40f9d0d?emailId=5bface7617a34c00049cc5ce&amp;segmentId=ce31c7f5-c2de-09db-abdc-f2fd624da608.
250
    Hugh Son, As Goldman’s 1MDB scandal deepens, insiders doubt the firm’s rogue banker defense, CNBC (Dec.
18, 2018), https://www.cnbc.com/2018/12/17/as-goldmans-1mdb-mess-deepens-insiders-doubt-the-firms-rogue-
banker-defense.html.
251
    Leissner Compl. & Aff., ¶ 55.

                                                      78
proceeds to the fund, again going to a shell company incorporated in the British Virgin Islands at

an account held at BSI.252 More followed.

       208.    Beginning in late October, the stolen proceeds were used for, among other

purposes, the following:

           a. Approximately $200 million was funneled into an account controlled by Low.

               Low used the stolen funds to buy jewelry, pay off credit cards, dole out to family

               members, and cover the costs of his private jet. Another $473 million was

               diverted to pay for luxury properties in New York and Beverly Hills.253

           b. Another $238 million was diverted to the account of Riza Aziz, Najib’s son and a

               close friend of Low.254 Aziz has since been charged with money laundering by

               Malaysian prosecutors.255

           c. In early December 2012, Leissner used proceeds from the 1MDB bond sales to

               pay kickbacks of $1.7 million to accounts controlled by Najib and a high-ranking

               1MDB official. Leissner attempted to make another $1 million transfer to a

               second high-ranking 1MDB official but was thwarted by incorrect wire

               information.256




252
     Id., ¶ 56.
253
     Id., ¶ 58.
254
     Id.
255
    ‘The Wolf of Wall Street’ producer charged with money laundering in Malaysia, CNBC (July 4, 2019),
https://www.cnbc.com/2019/07/05/1mdb-scandal-najib-razak-stepson-charged-with-money-laundering.html.
256
     Leissner Compl. & Aff., ¶ 58.

                                                 79
        209.    For its part, Goldman made about $114 million on the deal, again, well in excess

of the typical banking fee of $1 million on a deal of this type.257 This second fee brought

Goldman’s total haul from 1MDB in five months to over $300 million.

        210.    Blankfein and Cohn’s strategy to “monetize the state” in Goldman’s eastward tilt

was being realized with spectacular success, and this success helped Blankfein take home $21

million in 2012. Leissner was rewarded with over $10 million in salary and bonuses in 2012,

making him one of Goldman’s highest paid Partners.258 Blankfein also added Leissner to the

firmwide Partnership Committee, the powerful group of about two-dozen of the bank’s highest-

profile Partners who select which Managing Directors will join them in Goldman’s top 1%.259

                11.     Low’s Extravagance Continues to Grab Headlines

        211.    As Goldman deepened its relationship with 1MDB and the bank’s top bankers and

executives reaped the financial benefits, reports of Low’s extraordinary spending had been piling

up for years. By the summer of 2010, items such as the following were regularly appearing in

Western media:

            a. Low, only 28 years old, “routinely” spent $50,000 to $60,000 at a popular

                Manhattan nightclub between rollicks with Hollywood celebrities like Jamie

                Foxx, Megan Fox, and Usher, with dubious sources of income: “Officially he is




257
    Justin Baer, Tom Wright & Ken Brown, Goldman Sachs Ties to Scandal-Plagued 1MDB Run Deep, The Wall
Street Journal (Dec. 22, 2016), https://www.wsj.com/articles/goldman-sachs-ties-to-scandal-plagued-1mdb-run-
deep-1482362362.
258
    Billion Dollar Whale at 189-90.
259
    Liz Hoffman, Goldman Sachs Adds Investment-Management Head to Partnership Committee, The Wall Street
Journal (Feb. 8, 2017), https://www.wsj.com/articles/goldman-sachs-adds-investment-management-head-to-
partnership-committee-1486602136; Dakin Campbell, A small group of Goldman Sachs employees just got the call
of a lifetime – here’s how it went down, Bus. Insider (Nov. 7, 2018), https://www.businessinsider.com/
becoming-a-partner-at-goldman-sachs-2014-11.

                                                    80
                an adviser to some international corporations, but no one knows what that means

                or seems to believe that is the truth”;260

            b. A four-day birthday bash at Caesars Palace in Las Vegas, which included a

                nightclub outing during which Low bought 120 bottles of Cristal, one of the most

                expensive champagnes in the world, for club goers;261

            c. Low’s across-the-club delivery of 23 bottles of Cristal to Lindsay Lohan at New

                York’s 1OAK one evening;262

            d. A $160,000 bar tab at another New York club that Low ran up on a single

                night;263

            e. Low’s rumored $1 million stipend to Paris Hilton to stay with him aboard a yacht

                on the French Riviera;264 and

            f. Outings with the likes of Leonardo DiCaprio and Mick Jagger, alongside acting as

                an intermediary “put[ing] together deals for businessmen and even governments”

                in Malaysia and the Middle East.265

        212.    As reported by AsiaOne on September 1, 2012, Low followed up these exploits

by spending $2 million on a romantic dinner for two with a Taiwanese pop star at the Atlantis,




260
     Brian Moylan, Jho Low: Manhattan’s Mysterious Big-Spending Party Boy, Gawker (Nov. 10, 2009),
https://gawker.com/5401369/jho-low-manhattans-mysterious-big-spending-party-boy.
261
    Clubs court low-key Mr. Low, Page Six (Nov. 10, 2009), https://pagesix.com/2009/11/10/clubs-court-low-key-
mr-low/.
262
     Lindsay Robertson, Meet Jho Low: NYC Club Scene’s ‘Man of Mystery,’ Intelligencer (Nov. 8, 2009),
http://nymag.com/intelligencer/2009/11/meet_jho_low_nycs_club_scenes.html.
263
    Id.
264
    Maureen O’Connor, How Much Is Paris Hilton Getting Paid to Party in St. Tropez, Gawker (July 29, 2010),
https://gawker.com/5599561/how-much-is-paris-hilton-getting-paid-to-party-in-st-tropez.
265
     Wong Chun Wai, Jho Low, love him or hate him, The Star (Aug. 1, 2010), https://www.thestar.com.my
/opinion/columnists/on-the-beat/2010/08/01/jho-low-love-him-or-hate-him.

                                                     81
The Palm Hotel and Resort in Dubai in 2011.266 The evening involved copious flowers, 100

candles, fireworks, live violinists, and a pair of skydivers who presented Low’s love interest with

a $20,000 pendant-and-necklace set.267 Then, on November 3, 2012, Low held another birthday

celebration in Las Vegas.268 The night began with a pre-party in a $25,000-a-night room at The

Palazzo hotel, moving to an airplane-hanger-sized venue specially constructed for the occasion

teeming with celebrities such as Bradley Cooper, Jamie Foxx, and Leonardo DiCaprio, and

culminating in what The Wall Street Journal later called “the wildest party Vegas ever saw.”269

        213.     These reports revealed a level of profligacy rarely seen before and raised

suspicions—especially for a recently fined and highly regulated bank like Goldman—absent any

additional information. Critically, however, Goldman’s own compliance personnel had already

reviewed Low’s finances in detail—twice—pursuant to his applications for PWM accounts at

Goldman’s Swiss and Singapore offices. Twice, Goldman’s own employees had concluded that

Low could not provide a legitimate account of where his money came from. Personnel from

Legal and Conflicts had found him similarly suspect. Nevertheless, Goldman green-lighted the

two 1MDB bond offerings knowing that Low was actively involved in both deals.

                 12.      Between Bond Deals, Blankfein Meets Privately with Low Again—
                          This Time One-On-One

        214.     At the end of 2012, Goldman having earned over $300 million in underwriting

fees from 1MDB since March of that year, Blankfein again met with Low. Unlike Blankfein’s

introduction to Low and Najib at the Four Seasons Hotel in in 2009, this was a one-on-one


266
      Malaysian billionaire blows $2m to woo Taiwan pop star, Asia One (Sept. 1, 2012),
https://www.asiaone.com/News/Latest%2BNews/Showbiz/Story/A1Story20120901-368973.html.
267
    Id.
268
    Tom Wright & Bradley Hope, The Billion-Dollar Mystery Man and the Wildest Party Vegas Ever Saw, The Wall
Street Journal (Sept. 15, 2018), https://www.wsj.com/articles/the-billion-dollar-mystery-man-and-the-wildest-party-
vegas-ever-saw-1536984061.
269
    Id.

                                                        82
meeting between Low and Blankfein—a private opportunity for Low to pitch the head of

Goldman on additional work that Low could steer to the bank.270

        215.    The sit-down with one of the world’s most powerful bankers came after

Goldman’s Global Compliance and Legal Departments had repeatedly flagged Low’s

unexplained source of wealth and independently said that the bank should not do business with

Low. As noted in a review published by the Harvard Law School Forum on Corporate

Governance and Financial Regulation, the Blankfein meeting was “a rare and extremely difficult

audience to get and presumably only after the person is subject to the most rigorous background

checks and due diligence. Even if all the other red flags were somehow missed, it’s

inconceivable that the information in Goldman’s own compliance system would not have been

known.”271

                13.      Project Catalyze: Goldman Rushes a Third Offering to Market Amid
                         Proliferating Evidence of Corruption

                         a)      Najib Looks to Refill His Campaign Slush Fund as an Election
                                 Nears, and Goldman Gladly Obliges

        216.    In January 2013, Goldman Vice Chairman Evans met with Prime Minister Najib

on the sidelines of the World Economic Forum in Davos, Switzerland.272 As one of only four

vice chairmen among the bank’s executive officers, Evans was viewed as a potential successor to

Blankfein.273 Evans had also served as one of two Co-Heads of the BSC.274




270
    Emily Flitter, Matthew Goldstein & Kate Kelly, Goldman Chairman Met Privately With Fugitive Accused in
Malaysian Fraud, The N.Y. Times (Nov. 22, 2018), https://www.nytimes.com/2018/11/22/business/goldman-
blankfein-1mdb-malaysia.html.
271
    Dennis M. Kelleher, Goldman Sachs and the 1MDB Scandal, Harvard Law Sch. Forum on Corp. Governance &
Fin. Regulation (May 14, 2019), https://corpgov.law.harvard.edu/2019/05/14/goldman-sachs-and-the-1mdb-
scandal/.
272
    Aaron Patrick, How Goldman Sachs silenced 1MDB doubters, Austl. Fin. Review, Sept. 7, 2018.
273
    Peter Lattman, Goldman Executive Is Said to Buy $27 Million Luxury Apartment, The N.Y. Times (Aug. 27,
2012), https://dealbook.nytimes.com/2012/08/27/goldman-executive-is-said-to-buy-27-million-luxury-apartment/.

                                                     83
        217.    In Davos, Najib asked Evans if Goldman would raise an additional $3 billion for

1MDB—less than three months after it had raised $1.75 billion through Project Maximus.

Najib added that he wished to raise the staggering sum quickly and quietly. Goldman, having

already earned over $300 million from 1MDB over the prior nine months amid numerous red

flags, readily agreed through Evans, who replied: “Of course, Goldman would be more than

willing to help out.”275 The deal, which Goldman was again awarded without competition, was

codenamed “Project Catalyze.”276 It would close just a few weeks later in March 2013, yielding

Goldman its biggest payday in the relationship to date.277

        218.    As they had with the prior issuances, Vella, Leissner, and others continued to

work with Low as an intermediary between Goldman, 1MDB, Najib, and other government

officials to bring the third round of 1MDB bonds to market.278

        219.    Meanwhile, within days of being awarded the third bond deal, Leissner was again

paying kickbacks. On January 17, 2013, he made two transfers of $1 million each to two high-

ranking 1MDB officials.279

                         b)      Red Flags Mark Project Catalyze As a Conduit for Corruption

        220.    Between Blankfein’s one-on-one meeting with Low in November 2012, Evans’s

agreement to underwrite Project Catalyze in January 2013, and Goldman’s closure of the deal in

March 2013, red flags from the first two issuances had grown even more pronounced. Indeed, the

flow of negative press reports about Low’s profligate spending without any legitimate source of



274
      Goldman Sets Up Business Standards Committee, The N.Y. Times (May                           14,   2010),
https://dealbook.nytimes.com/2010/05/14/goldman-sets-up-its-business-standard-committee/.
275
    Aaron Patrick, How Goldman Sachs silenced 1MDB doubters, Austl. Fin. Review, Sept. 7, 2018.
276
    Billion Dollar Whale at 220; Leissner Info., ¶ 41.
277
    Billion Dollar Whale at 220.
278
    Leissner Info., ¶ 42.
279
    Leissner Compl. & Aff., ¶ 61.

                                                     84
funds and concerns with the 1MDB deals had only increased, and further awareness of Low’s

involvement with 1MDB continued to spread throughout the bank. In addition, the following

specific features of Project Catalyze added to the suspicion.

                                (1)      The Speed, Secrecy, and Shifting Purpose of the Issuance
                                         Are Red Flags

        221.    When Najib approached Evans in Davos in January 2013, he told the Goldman

executive that speed and secrecy were of the essence. To justify the capital raise, Najib claimed

that he had the opportunity to partner with an IPIC subsidiary to build a new financial center in

Kuala Lumpur, the total cost of which would be $6 billion.280 There was no explanation as to

why financing for a massive $6 billion real estate development had to be raised in a matter of

weeks. Although it had already won the deal in Davos, Goldman made a presentation to 1MDB

and the IPIC subsidiary, citing its client’s key objectives as “maintenance of confidentiality

during execution” and “speed.”281

        222.    Even Najib’s claimed justification for the raise—the $6 billion Kuala Lumpur

financial center—vanished as the offering approached, as the offering circular for the bonds

contained no stated purpose whatsoever for the use of funds.282 To the contrary, Goldman’s

circular for the deal stated that the joint venture with the IPIC subsidiary “has yet to adopt a

formal investment plan or establish investment criteria”283 and “does not have any specific

investment, merger, stock exchange, asset acquisition, reorganization, or other business

combination under consideration or contemplation.”284 Moreover, the circular stated that the



280
    Billion Dollar Whale at 219.
281
    Id. at 220.
282
    Offering Circular for 1MDB Global Investment Ltd. $3,000,000,000 4.4 Per Cent Notes Due 2023 (“Catalyze
Offering Circular”).
283
    Catalyze Offering Circular at 28.
284
    Id. at 15.

                                                    85
joint venture “has not, nor has anyone on [its] behalf, contacted, or been contacted by, any

potential target investment or had any discussions, formal or otherwise, with respect to such a

transaction.”285 These disclosures directly contradicted what Najib had told Evans in Davos as

the reason for a rushed deal.

       223.    After the deal closed and funds were moved to offshore investment funds, 1MDB

explained the transfers on the ground that the money was not needed immediately.286 The

explanation made no sense and contradicted the purported urgency of the deal. The emphasis on

speed and secrecy, coupled with the lack of a clear rationale for the raise and the transfer of

funds offshore on dubious pretenses, were clear indications that corruption was afoot.

                                (2)   The Timing of the Raise Strongly Indicates Corruption

       224.    In truth, the purpose of the funds was not for investment; it was political. A

parliamentary election approached in May 2013, with Najib’s continued role as Prime Minister

hanging in the balance.287 He was struggling in the polls and sought an infusion of cash into his

campaign coffers to illegally dole out patronage and buy votes.

       225.    Low, too, had a vested interest in seeing Najib succeed, as without Najib, Low

would lose control of 1MDB: opposition leader Anwar Ibrahim had promised he would close

down the fund if elected.288 Low actively worked on Najib’s behalf during the campaign, even

organizing a massive “1Malaysia” concert with U.S. celebrities to draw supporters—a video of




285
    Id. at 28.
286
     Justin Baer, Tom Wright & Bradley Hope, Goldman Probed Over Malaysia Fund 1MDB, The Wall Street
Journal (June 7, 2016), https://www.wsj.com/articles/goldman-probed-over-malaysia-fund-1465257383.
287
    Id.
288
    Billion Dollar Whale at 218.

                                                86
the event, with Low giving an interview to a television station, was uploaded to YouTube, where

it has since remained available.289 Low’s connections to Najib and 1MDB were on full display.

        226.    Matched against the shifting and contradictory justifications that had been

provided for the bond offering, the urgency of Najib’s request for a quick, secret raise of $3

billion for no particular purpose—so soon after the prior two raises and so close to the election—

was a glaring warning sign that the money would be diverted.

                                 (3)     Internally, Goldman Bankers Discuss Najib’s Misuse of
                                         1MDB Funds

        227.    Against this backdrop, Goldman bankers unsurprisingly engaged in internal

discussions concerning the possibility that the bond money was being diverted to fuel political

corruption. Indeed, The Wall Street Journal reported that at the time of the offering, “Mr. Najib

faced a tough re-election fight, and concerns that [Najib] might be tapping 1MDB for money to

help him win were discussed openly within Goldman.”290 Even Leissner raised the issue

internally, commenting to a colleague in early 2013 that he knew 1MDB was operating as a

political slush fund.291

                                 (4)     The Third Offering’s Terms Are Equally Suspicious

        228.    As with the first and the second offerings, the terms of Project Catalyze—as

Goldman memorialized in the offering circular—were extremely unusual. The $3 billion in 10-

year notes, issued through a British Virgin Islands-incorporated investment vehicle called

“1MDB Global Investments Limited,” bore a 4.4% annual interest rate, significantly higher than



289
     Jho Low: 1Malaysia Penang Concert for ‘Peace, Unity and Prosperity,’ YouTube (Apr. 21, 2013),
https://www.youtube.com/watch?v=3eCoW44Um9w.
290
    Justin Baer, Tom Wright & Ken Brown, Goldman Sachs Ties to Scandal-Plagued 1MDB Run Deep, The Wall
Street Journal (Dec. 22, 2016), https://www.wsj.com/articles/goldman-sachs-ties-to-scandal-plagued-1mdb-run-
deep-1482362362.
291
    Id.

                                                    87
the “close to zero” rates other governments were paying across the region around this time.292 As

noted above, the funds were supposedly intended to capitalize a joint investment entity that, by

the terms of the offering circular, had no investment prospects. And the deal again involved

IPIC, although this offering was accompanied by an unusual “Letter of Support” from the

Malaysian government, with the express reservation that, “[n]otwithstanding the [Letter of

Support], the Notes will not constitute general or direct obligations of the Government of

Malaysia.”293 Even more bizarrely, the circular stated that “the Issuer has no employees”294 and

that “no members have been appointed to the management of [the joint entity] and only one

person has been appointed to [its] Board of Directors.”295 The net proceeds of the offering were

listed as about $2.716 billion, indicating that Goldman would reap nearly $300 million in

fees296—again far above the typical fees for such a deal.

                                 (5)     1MDB’s Capital Structure and Interest Obligations Render
                                         the Offering Suspect

        229.    Even before Project Catalyze took shape, 1MDB had amassed excessive debt

through the first two bond offerings but had not used the funds to acquire sufficient income-

producing assets. Indeed, before Project Catalyze, 1MDB’s debt load stood at $7 billion, yet the

fund held few real assets.297 This fact alone indicated that the fund was being bilked.

Furthermore, because of the unusually high interest rate that the first two Vella-structured




292
    Catalyze Offering Circular; Aaron Patrick, How Goldman Sachs silenced 1MDB doubters, Austl. Fin. Review,
Sept. 7, 2018.
293
    Catalyze Offering Circular at 19.
294
    Id. at 27.
295
    Id. at 16.
296
    Id. at 24.
297
    Billion Dollar Whale at 192.

                                                    88
issuances carried, 1MDB was hemorrhaging cash. In its 2012 financial report, the fund had

booked a $30 million loss.298

        230.    Goldman, as 1MDB’s principal investment bank and underwriter, had access to

1MDB’s financial records. It knew, therefore, that the offering was totally suspect and

indefensible given the fund’s current capital structure. It also knew that, if recent history were

any guide, the money from this third offering would disappear without the assets to show for it—

which it had expressly covenanted would not happen.

                                 (6)      Ryan Resigns After Cohn Silences Him a Third Time

        231.    For the third time, David Ryan, Goldman’s Asia President and member of the

Management Committee, voiced suspicions about 1MDB and cautioned the bank against the

bond issuance. Ryan was suspicious about the bank’s procurement of the massive bond deal

through what appeared to have been a casual conversation, skipping entirely the usual process of

detailed presentations, financial modeling, and negotiation that precedes deals of much lesser

magnitude.299

        232.    Again, bank President Gary Cohn and Mark Schwartz, the newly installed Chair

of Asia, summarily overruled Ryan, short-circuiting the additional investigation and reporting to

Legal and Compliance that the BSC had mandated.300 Only 43 years old and highly regarded at

Goldman before his protests of the bank’s dealings with 1MDB, Ryan retired from Goldman in

June 2013, partly because his concerns about the 1MDB deals were ignored.301


298
    Id. at 192-93.
299
    Id. at 219.
300
    Id. at 219-20.
301
    Cynthia Koons, Goldman Sachs’s Asia President Resigns; New York Banker to Step In, The Wall Street Journal
(July        2,    2013),    https://www.wsj.com/articles/SB10001424127887323297504578581234058040970?
mg=prod/com-wsj; Emily Flitter, Matthew Goldstein & Kate Kelly, Goldman Chairman Met Privately With
Fugitive Accused in Malaysian Fraud, The N.Y. Times (Nov. 22, 2018), https://www.nytimes.com/2018/11/22/
business/goldman-blankfein-1mdb-malaysia.html.

                                                     89
                                 (7)     BSI Questions Its Role, Prompting Goldman to Intervene to
                                         Keep the Deal on Track

        233.    As noted earlier, Low had selected BSI to receive the funds from 1MDB’s various

capital raises because he believed the Swiss bank would be more pliant than a global bank that

was less dependent on 1MDB’s account, and less likely to have rigorous compliance protocols.

In the Project Catalyze transaction, however, 1MDB’s continuing use of BSI at Low’s direction

nearly derailed the offering, drawing scrutiny from BSI itself.

        234.    As The Wall Street Journal noted, “[p]roceeds from a $3 billion bond issue would

typically go into a major international bank.”302 While Goldman’s compliance department

acceded to 1MDB’s insistence—at Low’s behest—on depositing funds in the tiny Swiss bank,

“BSI compliance officials questioned why the 1MDB bond proceeds were being sent to their

bank, given its small size and its focus as a manager of wealthy people’s money.”303

        235.    Low asked Goldman to meet with BSI’s compliance staff to keep the deal on

track, which the bankers did at a Chinese restaurant in Singapore. BSI management later cited

the attendance of a senior Goldman executive at this meeting to overcome its compliance

department’s concerns over the deal.304

                                 (8)     Goldman’s Own Outside Counsel Identifies BSI as a
                                         Compliance Risk

        236.    1MDB’s reliance on BSI, long a red flag, was too much even for Goldman’s own

outside counsel to ignore for a deal of this magnitude.




302
    Justin Baer, Tom Wright & Ken Brown, Goldman Sachs Ties to Scandal-Plagued 1MDB Run Deep, The Wall
Street Journal (Dec. 22, 2016), https://www.wsj.com/articles/goldman-sachs-ties-to-scandal-plagued-1mdb-run-
deep-1482362362.
303
    Id.
304
    Id.

                                                    90
       237.    Kevin Wong, a partner at Linklaters and Goldman’s outside counsel on the

Project Catalyze transaction, questioned the arrangement to deposit $3 billion in proceeds from

the issuance in the small private bank’s Swiss office, not the large international financial

institution that would typically be involved in deals of this size.305

       238.    Goldman acknowledged the concern, purported to look into BSI and summarily

dismissed its attorney’s concerns without further explanation.306 As reported by The Wall Street

Journal, federal investigators believed the transfer of the offering proceeds to BSI, rather than a

large global bank, was an obvious red flag and may have violated the Bank Secrecy Act, which

requires financial institutions to report suspicious transactions to regulators through “Suspicious

Activity Reports.”307

                        c)     Goldman Rams Through Project Catalyze Despite the Red
                               Flags, Nettings Its Biggest Payday Yet While Billions More are
                               Stolen

       239.    In addition to the sea of red flags in Defendants field of vision, Goldman was

obligated to know whether the proceeds of the deal were being used for an improper purpose as

Goldman expressly warranted in the Project Catalyze Offering Circular that it would ensure that

none of the deal’s proceeds would violate anti-corruption or anti-money laundering laws:

       The Issuer [1MDB Global Investments Limited] and 1MDB have agreed with
       Goldman Sachs in the Arranger Agreement to ensure that none of the net
       proceeds raised from the issue of Notes shall be directly or indirectly lent,
       contributed or otherwise made available to any person or entity (whether or not
       related to the Issuer or 1MDB) for the purpose of financing the activities of any
       person, or for the benefit of any country, that is the subject of sanctions




305
     Justin Baer, Tom Wright & Bradley Hope, Goldman Probed Over Malaysia Fund 1MDB, The Wall Street
Journal (June 7, 2016), https://www.wsj.com/articles/goldman-probed-over-malaysia-fund-1465257383.
306
    Billion Dollar Whale at 220.
307
    Id.

                                                  91
        administered or enforced by a relevant sanctions authority or in violation of any
        applicable anti-corruption or anti-money laundering laws.308

        240.    Like the two offerings before it, Project Catalyze received approval from the

bank’s highest reaches, with several firmwide committees and top executives, including

Blankfein, Solomon, and Scherr, again approving the deal.309 The firmwide Risk, Business

Standards, Capital, and Suitability Committees were among the five that greenlit the offering.310

Project Catalyze closed on March 19, 2013, and Goldman again purchased the bonds directly,

reselling them in a private placement at a profit.

        241.    After Goldman wired the net proceeds from the $3 billion issue to 1MDB’s

account at BSI, more than a third was immediately funneled through a web of offshore funds on

its way to Low and his co-conspirators.311 The dizzying movement included the following:

            a. Two days after closing, Low transferred $681 million into an account owned by

                Najib at AmBank in Kuala Lumpur.312

            b. Approximately $27.3 million from another account was paid to a New York

                jeweler to buy a 22-carat pink diamond pendant and necklace for Najib’s wife,

                Rosmah.




308
    Catalyze Offering Circular at 97.
309
    Hugh Son, As Goldman’s 1MDB scandal deepens, insiders doubt the firm’s rogue banker defense, CNBC (Dec.
18, 2018), https://www.cnbc.com/2018/12/17/as-goldmans-1mdb-mess-deepens-insiders-doubt-the-firms-rogue-
banker-defense.html.
310
    Leissner Compl. & Aff., ¶¶ 63-64; Matt Wirz & Alex Frangos, Goldman Sees Payoff in Malaysia Bet, The Wall
Street Journal (Apr. 30, 2013), https://www.wsj.com/articles/SB10001424127887323798104578452802751076598;
Yantoultra Ngui & Liz Hoffman, Malaysia Charges Goldman Sachs Executives in 1MDB Scandal, The Wall Street
Journal (Aug. 9, 2019), https://www.wsj.com/articles/malaysia-charges-goldman-directors-over-1mdb-scandal-
11565342749.
311
    Justin Baer, Tom Wright & Ken Brown, Goldman Sachs Ties to Scandal-Plagued 1MDB Run Deep, The Wall
Street Journal (Dec. 22, 2016), https://www.wsj.com/articles/goldman-sachs-ties-to-scandal-plagued-1mdb-run-
deep-1482362362.
312
    Leissner Compl. & Aff., ¶ 66; Billion Dollar Whale at 221.

                                                     92
            c. Approximately $58 million was transferred to a New York auction house to

                acquire artwork for Low.313

        242.    Other funds moved to Najib’s political allies to shore up support in the election.

The massive infusion of cash allowed Najib’s party to hold on to power in the elections and he

onto the premiership, although his coalition lost the popular vote.314

        243.    For its part, Goldman made nearly $300 million.315 The deal brought the bank’s

total haul from the three offerings to about $600 million. Back in New York, Cohn boasted about

the fees to journalists.316 He had reason to: The $600 million in fees that Goldman received

from 1MDB in about 12 months was nearly equal to the $694 million in revenue from its

entire global bond underwriting business in the first quarter of 2013.317

                14.     Questions About 1MDB’s Legitimacy and Low’s Role in the Fund
                        Spill into the Press

        244.    Armed with hundreds of millions of dollars in cash stolen from the 1MDB

offering, Najib was able to hang on to power by a thin margin in the May 2013 elections,

although his coalition lost the popular vote and several seats in parliament.318 Allegations of

fraud were rampant, with The Economist observing that the result depended on “cash handouts

and other goodies” and “blatant vote-buying.”319 Amid the open spigot of political patronage in

the run-up to the vote and growing attention to the enormous profits Goldman was making from



313
    Leissner Compl. & Aff., ¶ 66
314
    Billion Dollar Whale at 224.
315
    Id. at 220.
316
    Id. at 226.
317
     Nisha Gopalan, Rogue Bankers Don’t Explain Goldman’s 1MDB Mess, Bloomberg (Dec. 21, 2018),
https://www.bloomberg.com/opinion/articles/2018-12-21/rogue-bankers-don-t-explain-goldman-s-gs-1mdb-mess.
318
      Malaysia vote: PM Najib Razak’s Barisan Nasional wins, BBC News (May 6, 2013),
https://www.bbc.com/news/world-asia-22422172.
319
     A dangerous result, The Economist (May 11, 2014), https://www.economist.com/leaders/2013/05/11/a-
dangerous-result.

                                                   93
its business in Malaysia, scrutiny on the Goldman-1MDB relationship in the local and

international press increased exponentially.

        245.    On March 26, 2013, only days after the third offering closed, a prominent

Malaysian business news outlet, KINIBIZ, published a series of articles questioning 1MDB’s

legitimacy and leaving little doubt as to Low’s central role. Reporting on what a Malaysian

Minister of Parliament called “the biggest ponzi scheme the nation has ever seen,” the outlet

observed that “much of what 1MDB does is often shrouded in secrecy, and leaves many

questions unanswered.”320

        246.    Clearly skeptical of the fund’s claim that Low’s role at 1MDB was “zero,” the

articles detailed Low’s connections to various figures involved in its origins and important deals.

Recounting what it called “[t]he colourful history of 1MDB,” it also described how Goldman and

Low played key roles in the fund’s genesis by setting up TIA and bringing the Islamic Bond

Issuance to market.321

        247.    On April 22, 2013, the Malaysian newspaper The Edge published an article in

which an opposition party leader publicly questioned both Low’s role in the bond offerings and

Goldman’s fees:

        “Why were they all done through private placements? Why not launch it publicly,
        where the pricing of the bonds can be determined more efficiently?” queried
        [opposition party leader] Wong. . . . Wong highlighted that [the] company that
        arranged for the bond issuance, international investment bank and securities firm
        Goldman Sachs, had received a fee of $71 million. “They were grossly overpaid
        by 1MDB,” said the corporate lawyer turned politician. “Since it is a company
        backed by the government, the local banks or arrangers would usually charge a
        very nominal fee. . . .” Wong also brought up mysterious investment “whizz kid”




320
       1MDB: Giant ponzi scheme or strategic investment fund?, Kinibiz (Mar. 26,                       2013),
http://www.kinibiz.com/story/issues/11166/1mdb-giant-ponzi-scheme-or-strategic-investment-fund.html.
321
    Id.

                                                     94
        Low Taek Jho, who he claimed was involved with 1MDB since its predecessor –
        the Terengganu Investment Authority – was set up.322

        248.    A week later, The Wall Street Journal published an article titled, “Goldman Sees

Payoff in Malaysia Bet.”323 Reporting that that Goldman had made profits of “more than $200

million” from the 1MDB bond deals—in fact, a gross underestimation of the bank’s 1MDB

earnings—the article observed that “Malaysia is one of the most lucrative places in the world

for Goldman Sachs,” a market into which the bank made a “concerted push” in the wake of the

financial crisis.324 The Journal noted that the outsized fees the bank was generating had drawn

criticism, with Malaysian opposition politicians accusing Goldman of “overcharging the

government” for its work with a fund that was unduly secretive and mismanaged. According to

the article, even internally, there was dissent:

        Some Goldman bankers and compliance officials raised questions about the
        potential legal and reputational risks of doing business in what they see as a
        country with close ties between government and business, and about how the
        money Malaysian clients raised might be used, according to people familiar with
        the concerns. Goldman’s risk committee, which includes several of the firm’s top
        executives, approved the deals, said people familiar with the transactions.325

Bank spokesman Naylor responded to the article, “We’re very proud of our track record in

Malaysia.”

        249.    The scrutiny only increased from there. In July 2013, The Sawarak Report—later

widely credited with having helped to expose the 1MDB fraud—published an article detailing

the suspicious terms of the Project Magnolia offering, including its (i) secrecy, (ii) staggering

interest rates, (iii) outsized fees to Goldman, and (iv) inflated purchase price of the power plants

322
     #GE13* PKR questions timing of 1MDB’s RM9.1b bond issuance, The Edge (Apr. 22, 2013),
https://www.theedgemarkets.com/article/ge13-pkr-questions-timing-1mdbs-rm91b-bond-issuance-0.
323
    Matt Wirz & Alex Frangos, Goldman Sees Payoff in Malaysia Bet, The Wall Street Journal (Apr. 30, 2013),
https://www.wsj.com/articles/SB10001424127887323798104578452802751076598.
324
    Id.
325
    Id.

                                                    95
that had supposedly justified the issuance.326 The article’s authors called for an investigation of

Goldman by U.S. regulators.

        250.    The following month, The Edge published a lengthy investigative report on

1MDB detailing charges of “aggressive borrowings, opaque financial [maneuvers] and risky

bets” that had plagued the fund since its inception.”327 The report observed, “1MDB’s dizzying

buildup of debt is also drawing international attention because of the fund’s cosy relations with

international banking powerhouse Goldman Sachs, which critics say has allowed the US firm

to charge supernormal fees.”328 The article also again reported Jho Low’s connection to the

fund since its inception. At all times during the Class Period, however, as detailed in Section VI,

Goldman consistently and repeatedly denied any involvement in or knowledge of the 1MDB

fraud, or Low’s involvement in the fraud.

                15.     Blankfein Meets with Low for the Third Time as Goldman Pushes for
                        More Business with 1MDB

        251.    In July 2013, Goldman Vice Chairman and Head of Emerging Markets Mike

Evans—who, along with Gary Cohn, had silenced David Ryan’s three separate objections to

Goldman’s work with 1MDB—attended a party for Najib arranged by Low aboard a luxury

yacht in Saint-Tropez. Low had spent 3.5 million euros from the Project Catalyze bond offering

to rent the yacht for a week.329 During the gathering on the boat, Najib praised Goldman’s work

with the fund and promised the bank more work from 1MDB. Najib reinforced the connection



326
      Goldman Sachs’ US$200million Charge For 1MDB Issue!, Sarawak Report (July 8, 2013),
http://www.sarawakreport.org/2013/07/goldman-sachs-us200million-charge-for-1mdb-bond-issue/.
327
         Debt-laden    Malaysian     fund    stirs   controversy,      The     Edge (Aug.     25,    2013),
https://www.theedgemarkets.com/article/debt-laden-malaysian-fund-stirs-controversy.
328
    Id.
329
     Billion Dollar Whale at 235-36; Justin Baer, Tom Wright & Ken Brown, Goldman Sachs Ties to Scandal-
Plagued 1MDB Run Deep, The Wall Street Journal (Dec. 22, 2016), https://www.wsj.com/articles/goldman-sachs-
ties-to-scandal-plagued-1mdb-run-deep-1482362362.

                                                    96
between Goldman and 1MDB, rhetorically asking, “Do you see any other bankers on this

boat?”330

        252.    To that end, on September 25, 2013, Blankfein again met with Low, Najib, and

Leissner to discuss how the bank could do more business with 1MDB.331 The meeting, which

included other 1MDB executives, took place at the Time Warner Center in New York. It marked

the third time in less than four years that Blankfein had met personally with Low to discuss

business with 1MDB. He had reason to, as Blankfein’s attention had paid off: between 2008 and

2013, Goldman was the only western investment bank to rank among Malaysia’s top-ten fee

earnings.332

        253.    Three days after his meeting with Low and Najib, Blankfein hosted a meeting for

Goldman clients at the Mandarin Oriental, with attendees including famed hedge fund manager

John Paulson and head of private equity firm TPG Capital, David Bonderman.333 Among these

luminaries, Blankfein made Najib the headliner. The message of the meeting was clear: 1MDB

was a prized client, worthy of regular attention from Goldman’s top executive.

        254.    The attention was part of a strategy to prevent other investment banks, who had

noticed the astronomical fees that Goldman was earning from 1MDB, from stealing its

Malaysian cash cow. It was a growing concern at the bank’s New York headquarters, as other

banks were trying to make inroads with 1MDB. For example, in mid-2013, Deutsche Bank had

poached a Managing Director named Tan Boon-Kee from Goldman, naming her Deutsche



330
    Justin Baer, Tom Wright & Ken Brown, Goldman Sachs Ties to Scandal-Plagued 1MDB Run Deep, The Wall
Street Journal (Dec. 22, 2016), https://www.wsj.com/articles/goldman-sachs-ties-to-scandal-plagued-1mdb-run-
deep-1482362362.
331
    Leissner Compl. & Aff., ¶ 70.
332
    Don Weinland, Stefania Palm & Jamie Smyth, Goldman Sachs’ Asia franchise suffers in 1MDB storm, Fin.
Times (Nov. 21, 2018), https://www.ft.com/content/8f33b9a0-e671-11e8-8a85-04b8afea6ea3.
333
    Billion Dollar Whale at 238.

                                                    97
Bank’s Head of Client Coverage for Southeast Asia.334 Tan had a long-standing relationship with

1MDB, having been introduced to Low by Ng, then becoming one of the lead bankers on the

1MDB account.335 The hiring by Deutsche Bank reflected increasing competition in what had,

until then, been an exclusive and lucrative relationship between 1MDB and Goldman.

                 16.     The Federal Reserve Warns Goldman of Reputational Risk from Its
                         Work with 1MDB

        255.     In early 2014, the Federal Reserve engaged Goldman to discuss its role in the

1MDB bond offerings. It questioned why 1MDB had continued to sell bonds despite supposedly

holding large amounts of cash from prior offerings (the regulator not yet aware that virtually all

had been stolen). According to The Wall Street Journal, “Fed officials were also critical of

Goldman’s vetting of the 1MDB deals, noting that they had posed reputational risk” to the

firm.336 The Fed criticized the bank’s committee review system, which “seemed to reject very

few deals as being too risky or inappropriate.337

        256.     The scrutiny from Goldman’s primary U.S. regulator marked another conspicuous

warning sign that its relationship with 1MDB was suspect. Nevertheless, Goldman continued to

court more business with the fund and its de facto chief executive, Jho Low.




334
    Isabella Steger, Deutsche Bank Hires Southeast Asia Banker from Goldman Sachs, The Wall Street Journal (July
8, 2013), https://blogs.wsj.com/moneybeat/2013/07/08/deutsche-bank-hires-southeast-asia-banker-from-goldman-
sachs/.
335
     Andrea Tan, Elffie Chew & Joyce Koh, Deutsche Bank Executive’s 1MDB Role in Investigators’ Focus,
Bloomberg (Sept. 17, 2018), https://www.bloomberg.com/news/articles/2018-09-17/deutsche-bank-executive-s-
1mdb-role-in-focus-for-investigators.
336
    Justin Baer & Bradley Hope, Fed Warned Goldman on Malaysia Bond Deals, The Wall Street Journal (Apr. 6,
2016), https://www.wsj.com/articles/fed-warned-goldman-on-malaysia-bond-deals-1459974246.
337
    John Gapper & Laura Noonan, NY Fed told Goldman to improve risk reporting shortly after 1MDB, Fin. Times
(Nov.        25,      2018),     https://www.ft.com/content/bc59bc34-f0a0-11e8-ae55-df4bf40f9d0d?emailId=5bfa
ce7617a34c00049cc5ce&amp;segmentId=ce31c7f5-c2de-09db-abdc-f2fd624da608.

                                                      98
                17.     Coastal Energy: Goldman’s Dubai Office Helps Low Move Stolen
                        Money, Hides Low’s Involvement, and Blesses a Highly Suspicious
                        Payout to Low a Week Later

        257.    Having stolen over $1 billion from 1MDB, Low needed vehicles through which to

launder the proceeds from his schemes. Again, he sought—and received—Goldman’s help.

        258.    Through his work with Goldman, Low had made connections with top bankers in

its Middle East offices, including Hazem Shawki, Goldman’s Head of Investment Banking for

the Middle East and North Africa.338 Low had made various pitches to Shawki, including one to

acquire a Houston-based oil and gas company called Coastal Energy.339

        259.    In 2012, advised by Goldman, Low approached Coastal Energy about a

transaction in which Low would acquire the company. Coastal Energy rejected the proposal but

told Low to return with a partner.340

        260.    In mid-2013, Low went back to Coastal Energy alongside IPIC, whose corrupt

executives had guaranteed the 1MDB bond deals in return for hundreds of millions of dollars in

kickbacks and bribes. IPIC had agreed, through its Spanish energy unit, Compañía Española de

Petróleos (“CEPSA”), to join with a Low-controlled shell company called Strategic Resources

Global (“SRG”) to make a $2.2 billion bid for Coastal Energy. Goldman’s Dubai office—which

in 2012 had declined involvement in the Project Magnolia offering because of IPIC’s

“preposterous” role as guarantor—now advised Low and SRG.341

        261.    As detailed above, Low had already been rejected—twice—by Goldman’s private

banking arm because of compliance officers’ concerns about the source of his wealth. This time,



338
     Hazem Shawki, LinkedIn (last visited Oct. 25, 2019), https://www.linkedin.com/in/hazem-shawki-21a12b/?
originalSubdomain=ae.
339
    Billion Dollar Whale at 245.
340
    Id.
341
    Id.

                                                    99
however, Goldman compliance personnel suggested a workaround in internal emails reviewed by

The Wall Street Journal, as far more lucrative investment banking fees were at stake. The paper

described the Goldman e-mails as follows:

        “Jho Low’s appearance is not welcome,” one compliance officer wrote to a
        banker in 2013 when Mr. Low teamed up with a Goldman client [IPIC] to buy a
        Houston-based oil company. “But if he is in a very minor role…then we may be
        able to live with it.” That deal, a takeover of Coastal Energy brokered by
        Goldman, is being investigated by U.S. prosecutors.342

        262.    In response, the Goldman Dubai deal team nominally switched to advising

CEPSA, rather than SRG, knowing that Low would stay in the deal.343 The workaround was

illusory, as the Goldman bankers were fully aware that (i) Low had long-standing ties to IPIC,

the entity that controlled CEPSA, (ii) SRG, which Goldman had advised until that point, was

controlled by Low, (iii) CEPSA and SRG were jointly purchasing Coastal Energy, and (iv) the

deal was the consummation of a transaction Low had been pursuing with Goldman since 2012.

        263.    On November 19, 2013, it was announced that CEPSA and SRG would acquire

Coastal Energy for $2.2 billion.344 The announcement stated that CEPSA, advised by Goldman,

had created a new entity, funded by Low’s SRG, to execute the acquisition, which would occur

in early 2014. The announcement contained a statement by Low, described as a “spokesperson”

for SRG. Contemporaneous press reports confirmed that Low and his private investment

company, Jynwel Capital, were behind the deal, with an article in Forbes published the same day




342
    Tom Wright & Liz Hoffman, Goldman Sachs Ignored 1MDB Warning Signs in Pursuit of Asian Business, The
Wall Street Journal (Dec. 17, 2018), https://www.wsj.com/articles/goldman-sachs-ignored-1mdb-warning-signs-in-
pursuit-of-asian-business-11545088802.
343
    Billion Dollar Whale at 245.
344
    Pres Release, Coastal Energy Co., CEPSA to Acquire Coastal Energy Company for C$19.00 Per Share (Nov. 19,
2013),          https://www.globenewswire.com/news-release/2013/11/19/590787/10058583/en/CEPSA-to-Acquire-
Coastal-Energy-Company-for-C-19-00-Per-Share.html.

                                                    100
as the announcement identifying “Jho Low, 31, CEO of Hong Kong-based Jynwel Capital” as

controlling SRG.345

        264.     The deal was a transparent money-laundering operation. Low put $50 million into

the deal, with CEPSA funding the rest. One week after the transaction closed, CEPSA

transferred $350 million into Low’s shell company, SRG, purporting to buy out Low’s shares in

Coastal Energy—a 600% return over several days.346

        265.     Remarkably, Goldman’s Dubai office knew about the $350 million payment

from CEPSA to Low at the time. Shawki told executives at IPIC that the payout was a “reward”

to Low for scouting out the deal—despite the fact that the transfer was structured as a share

buyout.347

        266.     The DOJ later determined that Low’s $50 million was traceable to funds diverted

from the third 1MDB bond offering in 2013, which rendered the $350 million received from

CEPSA and used to purchase other assets, including an interest in the Viceroy Hotel Group, also

tainted.348 The Wall Street Journal reported on the DOJ’s investigation into the Coastal Energy

deal in a June 12, 2017, article titled, “U.S. Lawsuit Links $2.2 Billion Deal to Malaysian 1MDB

Scandal.”349 Other outlets similarly covered the connection between the 1MDB scandal, Low,

and the Coastal Energy acquisition. Moreover, the Coastal Energy deal appeared to be only the

tip of the iceberg, with Low reportedly executing, or attempting to execute, a number of other

345
    Christopher Helman, Texas Oil Legend Oscar Wyatt Hits $500M Payday In Deal With Malaysia Investor, Forbes
(Nov. 19, 2013), https://www.forbes.com/sites/christopherhelman/2013/11/19/texas-oil-legend-oscar-wyatt-hits-
500m-payday-in-deal-with-malaysian-investor/#7a604d8b4010.
346
    Billion Dollar Whale at 245-46.
347
    Id.
348
    Rozanna Latiff & Nathan Layne, Misappropriated 1MDB funds helped finance $2.2 billion energy firm deal –
U.S. lawsuit, Reuters (June 13, 2017), https://www.reuters.com/article/us-malaysia-scandal-usa/misappropriated-
1mdb-funds-helped-finance-2-2-billion-energy-firm-deal-u-s-lawsuit-idUSKBN1941JH.
349
    Tom Wright, Justin Baer & Bradley Hope, U.S. Lawsuit Links $2.2 Billion Deal to Malaysia 1MDB Scandal, The
Wall Street Journal (June 12, 2017), https://www.wsj.com/articles/u-s-lawsuit-links-2-2-billion-deal-to-malaysian-
scandal-1497311418.

                                                      101
transactions by which to funnel illicit funds into ownership stakes in seemingly legitimate

business interests, including EMI Music Publishing, Reebok, the Helmsley Park Lane Hotel, and

Salamander Energy (which received a joint bid from a Low-controlled entity and CEPSA).350

        267.    The Coastal Energy deal laid bare a fact suggested by the three 1MDB bond

offerings preceded it: While Goldman’s Global Compliance Department could prevent its private

bank from taking on suspicious depositors, it would do little to thwart Goldman’s powerhouse

Investment Banking division. As The Wall Street Journal later noted, “when Goldman bankers

pursued deals involving Mr. Low, compliance officials offered mild protests, but not

roadblocks.”351

                18.      “We Have to Do More of That”: Blankfein Extols Vella and Leissner,
                         Urging Other Goldman Bankers to Emulate Them

        268.    After Blankfein’s solicitation of Najib and Low in New York, Leissner continued

to seek new business with 1MDB.

        269.    For instance, Goldman lobbied hard in 2014 to run an IPO of 1MDB’s modest

energy assets, which was necessary to restore the fund to solvency amid hundreds of millions of

dollars in interest payments. When Goldman balked at making a quarter-billion dollar loan to

1MDB, however, Deutsche Bank’s Tan Boon-Kee—who had just left Goldman—came up with

the loan and secured the lead role in the IPO, with Goldman settling for a role as an advisor.352




350
    Gurmeet Kaur & Celia Kok, Jho Low back in the limelight, The Star Online (Nov. 1, 2014),
https://www.thestar.com.my/business/business-news/2014/11/01/jho-low-back-in-the-limelight-jynwel-capital-
involved-in-corporate-deals-worth-more-t.

351
    Tom Wright & Liz Hoffman, Goldman Sachs Ignored 1MDB Warning Signs in Pursuit of Asian Business, The
Wall Street Journal (Dec. 17, 2018), https://www.wsj.com/articles/goldman-sachs-ignored-1mdb-warning-signs-in-
pursuit-of-asian-business-11545088802.
352
    Billion Dollar Whale at 276-77.

                                                    102
        270.    Looking to ensure that Leissner did not follow the lead of the Deutsche Bank

defector and take his 1MDB ties elsewhere, Goldman elevated him to Chair of Southeast Asia,

an extraordinary promotion within a year of adding him to the elite Partnership Committee.353

Meanwhile, back at headquarters, CEO Blankfein lauded Vella’s and Leissner’s work with

1MDB as exemplifying his drive to “be Goldman Sachs in more places.” At a 2014 meeting in

New York focused on building Goldman’s business in emerging markets, rather than in the

heavily regulated United States, Blankfein was effusive: “Look at what Tim and Andrea did in

Malaysia. We have to do more of that.”

        C.      As Outside Scrutiny Grows and Prosecutors Close in, Goldman Tries to
                Obscure Its Role in the Fraud

        271.    As questions about 1MDB grew in the press, Goldman sought to distance itself

from the scandal, particularly when the fund asked Goldman for a loan as it struggled to service

the billions in debt it had taken on.354 At every turn, Defendants publicly downplayed Goldman’s

involvement with 1MDB, denying knowledge of the thefts while characterizing its relationship

with the fund as fully above board.

        272.    For example, on October 29, 2014, The Edge raised concerns over 1MDB,

including the “exceptionally high” fees Goldman had received in connection with the three bond

offerings.355 In response, Goldman falsely stated in no uncertain terms: “Other than legal and

accounting firms providing professional services, no fees or commissions were paid by 1MDB

or Goldman Sachs to external third parties in connection with these transactions, nor have we

ever been asked by 1MDB or others to pay such fees or commissions[.]”



353
    Id. at 278.
354
    Id. at 277.
355
      Cindy Yeap, Goldman says no payment to third parties, The                 Edge   (Oct.   29,   2014),
https://www.theedgemarkets.com/article/goldman-says-no-payment-third-parties.

                                                  103
        273.    The following summer, on July 21, 2015, Goldman again rejected any notion of

wrongdoing stemming from its “close ties” with 1MDB, telling Bloomberg that the 1MDB bond

“transactions were individually tailored financing solutions, the fee and commissions for which

reflected the underwriting risks assumed by Goldman Sachs on each series of bonds, as well as

other prevailing conditions at the time, including spreads of credit benchmarks, hedging costs,

and general market conditions[.]”

        274.    As Goldman was fending off press questions about 1MDB, it repeatedly

represented in its SEC filings that: (i) it maintained a “culture of effective risk management”; (ii)

“[e]ffective risk management underpins everything that we do”; (iii) it was “dedicated to

complying fully with the letter and spirit of the laws, rules and ethical principles that govern us”;

and (iv) the bank’s “continued success depends upon unswerving adherence to this standard.”

        275.    By 2016, news reports began to surface concerning Leissner’s role in the 1MDB

scandal. Additional reports in July 2016 revealed that Goldman’s work on the 1MDB bond deals

was under investigation by the DOJ.356

        276.    In response, market commentators clamored for information from Goldman,

questioning whether funds from the 1MDB bond offerings had been improperly siphoned off.

Goldman denied any wrongdoing and claimed ignorance, falsely stating, “[w]e had no visibility

into whether some of those funds may have been subsequently diverted to other purposes.”

        277.    As more information about 1MDB surfaced, the press continued to question

Goldman’s role in the 1MDB deals. On December 22, 2016, The Wall Street Journal asked



356
   Carmel Crimmins, Olivia Oran, Sumeet Chatterjee, Grant McCool, Anshuman Daga & Martin Howell, Goldman
Sachs under spotlight in Malaysian fund scandal, Reuters (July 20, 2016), https://www.reuters.com/article/us-
malaysia-scandal-goldman-sachs/goldman-sachs-under-spotlight-in-malaysian-fund-scandal-idUSKCN1002OR;
Randeep Ramesh, 1MDB: The inside story of the world's biggest financial scandal, The Guardian (July 28, 2016),
https://www.theguardian.com/world/2016/jul/28/1mdb-inside-story-worlds-biggest-financial-scandal-malaysia.

                                                    104
questions about the intricate relationship between Goldman, 1MDB, and Low in an article titled

“Goldman Sachs Ties to Scandal-Plagued 1MDB Run Deep.” In response to the report that

“Goldman holds a unique position for its closeness to 1MDB and the principals,” the Company

again demurred: “We have found no evidence showing any involvement by Jho Low in the

1MDB bond transactions[.]”

       278.    On June 13, 2017, Goldman again shot down speculation concerning its

relationship with Low, this time in response to reports that money was siphoned from 1MDB to

fund the Goldman-backed Coastal Energy deal, stating “[n]either Jho Low, Jynwel or SRG were

a client of Goldman Sachs in connection with the Coastal Energy acquisition.”

       279.    Goldman did not waiver in its denials. In June 2018, for example, The New York

Times and The Wall Street Journal reported that Malaysian authorities planned to seek payback

from Goldman for at least the $600 million in fees made in connection with the three 1MDB

bond transactions.357 Goldman stuck to its script, stating once more that it was entitled to the

fees: “What we earned from the debt transactions reflected the risks we assumed at the time,

specifically movement in credit spreads tied to specific bonds, hedging costs and underlying

market conditions.”

       280.    Meanwhile, the DOJ investigation picked up steam. On August 7, 2018, The New

York Times reported that Deputy Attorney General Rod Rosenstein had transferred full authority

over the 1MDB criminal investigation from the U.S. Attorney’s Office in Los Angeles to its




357
   Alexandra Stevenson & Hannah Beech, Goldman Sachs Made Millions in Malaysia. Now Malaysia Wants Some
Money Back, The N.Y. Times (June 14, 2018), https://www.nytimes.com/2018/06/14/business/1mdb-malaysia-
goldman-sachs.html; James Hookway, Malaysia’s Tall Order: Trying to Recoup 1MDB Funds, The Wall Street
Journal (June 22, 2018), https://www.wsj.com/articles/malaysias-tall-order-trying-to-recoup-1mdb-funds-
1529668806.

                                                 105
counterpart in Brooklyn in a move that heightened scrutiny on the bank at the corporate level.358

The result was that “the investigation is now more intensively focused on the potential

culpability of Goldman Sachs” itself.359

        281.    On the heels of Goldman’s denials, on November 1, 2018, the U.S. Attorney for

the Eastern District of New York unsealed a multi-count criminal information charging Leissner

with conspiracy to violate the FCPA and commit money laundering.360 An affidavit in support of

Leissner’s arrest warrant, sworn to by an FBI agent and approved by a federal magistrate,

described “an overarching criminal scheme to divert billions of dollars in funds belonging to

1MDB to members of the conspiracy and others, and to pay bribes to secure and retain business

for [Goldman].”361 The affidavit stated that “Leissner, acting on behalf of [Goldman], and

[Low], together with others, made and endeavored to make corrupt payments to 1MDB officials

and to a family member of [Najib] to influence those officials to obtain and retain business from

1MDB for, and direct business to, [Goldman Sachs].”362

        282.    The unsealed filings also revealed that, in a closed proceeding on August 28,

2018, Leissner pled guilty to the two counts of the information. As part of his guilty plea,

Leissner admitted to a conspiracy at Goldman, the corrupt nature of the bank’s corporate culture,

and Goldman’s disregard for internal controls and compliance protocols. Among other

confessions, Leissner admitted:

        During the course of the conspiracy, I conspired with other employees and agents
        of Goldman Sachs very much in line of its culture of Goldman Sachs to conceal
        facts from certain compliance and legal employees of Goldman Sachs, including

358
    Matthew Goldstein, Goldman Sachs Is Said to Be Under U.S. Scrutiny in Malaysian Inquiry, The N.Y. Times
(Aug. 7, 2018), https://www.nytimes.com/2018/08/07/business/goldman-malaysia-1mdb.html.
359
    Id.
360
    Leissner Info.
361
    Leissner Compl. & Aff., ¶ 16.
362
    Id., ¶18.

                                                   106
           the fact that Jho Low . . . was acting as an intermediary for and on behalf of
           Goldman Sachs, 1MDB, and Malaysian and Abu Dhabi officials.”363

Leissner’s sentencing was originally scheduled for January 17, 2019, but was adjourned until

December 17, 2019. Redacted text spanning six pages of the plea transcript, together with the

continuance, has fueled speculation that Leissner may be cooperating with the Justice

Department’s criminal investigation of Goldman.364

           283.    Also in November 2018, the United States unsealed an indictment of Ng and

Low.365 Like Leissner, Ng was charged with conspiracy to violate the FCPA and conspiracy to

commit money laundering. In the indictment, federal prosecutors alleged “the business culture

at [Goldman], particularly in Southeast Asia, was highly focused on consummating deals, at

times prioritizing this goal ahead of the proper operation of its compliance functions.”366

           284.    Ng was detained in Malaysia and extradited to the U.S. on May 3, 2019.367 After

pleading not guilty, Ng reportedly entered plea negotiations with the government. Ng and his

family have agreed to surrender about $29 million to authorities in Singapore, which would then

repatriate the funds to Malaysia.368 At the time of this pleading, Low is still at large.

           285.    Despite Leissner’s plea and Ng’s indictment, Defendants held firm to their

defense that they did nothing wrong and Goldman’s role in the 1MDB scandal—which yielded

more than $600 million in fees—was the work of a few rogue employees. In a November 1, 2018

363
      United States of America v. Leissner, No. 1:18-cr-00439-MKB (E.D.N.Y. August 28, 2018), ECF No. 30 at 38-
39.
364
    Patricia Hurtado & Greg Farrell, Leissner Cites Goldman’s ‘Culture’ of Secrecy in 1MDB Scheme, Bloomberg
(Nov. 9, 2018), https://www.bloomberg.com/news/articles/2018-11-09/leissner-in-unsealed-plea-cites-goldman-
culture-of-secrecy.
365
    United States of America v. Low, No. 1:18-cr-00538-MKB (E.D.N.Y. Oct. 3, 2018), ECF No. 1.
366
    Id. at 7-8.
367
     Ex-Goldman Banker Extradited to US Over Multi-Billion-Dollar Scandal, The Globe Post (May 6, 2019),
https://theglobepost.com/2019/05/06/goldman-sachs-1mdb/.
368
    Gerald Porter Jr., Ex-Goldman Banker in Plea Talks to Avoid U.S. Trial Over 1MDB Charges, Bloomberg (July
18, 2019), https://www.bloomberg.com/news/articles/2019-07-18/ex-goldman-banker-in-plea-talks-for-alleged-role-
in-1mdb-fraud.

                                                      107
New York Times article titled, “Goldman Sachs Ensnarled in Vast 1MDB Fraud Scandal,”

Defendant Blankfein “sought to frame the matter as the misdeeds of rogue employees,” stating:

“These are guys who evaded our safeguards, and lie, stuff like that’s going to happen[.]” The

New York Times further reported that “American prosecutors are continuing to investigate other

bankers and Goldman itself, according to three people with knowledge of the matter.”

        286.    The same day Leissner’s guilty plea was revealed—November 1, 2018—

Bloomberg reported that Goldman had placed Vella, the former Co-Head of Investment Banking

in Asia, on leave. Bloomberg further reported that Vella matched the description of “Co-

Conspirator #4” in the Leissner charging documents.369

        287.    As the evidence of Goldman’s complicity piled up, on November 8, 2018,

Bloomberg revealed that Defendant Blankfein had met personally in 2009 with former Prime

Minister Najib and Low regarding 1MDB. Citing a “person with direct knowledge of the

matter,” the article, “Lloyd Blankfein was the Unidentified Goldman Executive Present at 2009

1MDB Meeting,” reported that Blankfein had met with Najib and Low at the Four Seasons hotel

in New York, as referenced in recently unsealed court documents. Bloomberg explained, “[t]he

high-level gathering,” which Leissner also attended, “laid the ground work for a relationship that

would prove profitable for the investment bank.”

        288.    The next day, news media reported that Blankfein also met with Low and Najib in

2013, even “after [the] bank’s compliance department had raised concerns about dealings with

financier Jho Low.” The article, titled “Goldman Sachs’s Ex-CEO Lloyd Blankfein Met

Malaysian at Center of 1MDB Scandal,” revealed: “Mr. Leissner arranged for Mr. Najib,



369
   Sridhar Natarajan, Goldman Sachs Places Andrea Vella on Leave Over 1MDB Case, Bloomberg (Nov. 1, 2018),
https://www.bloomberg.com/news/articles/2018-11-01/goldman-sachs-is-said-to-place-vella-on-leave-over-1mdb-
case.

                                                   108
Malaysia’s then Prime Minister, to sit down with around 20 high-level Goldman clients at New

York’s Mandarin Oriental hotel. Mr. Low attended with Mr. Najib.”370

        289.    On November 12, 2018, Bloomberg reported in an article titled “Malaysia

Seeking ‘Full Refund’ From Goldman For 1MDB Deals,” that Malaysia’s Finance Minister, Lim

Guan Eng, intended to lean on Goldman’s “indirect” admission of wrongdoing and U.S.

kleptocracy law to help Malaysia claw back fees 1MDB paid Goldman for its role in the

Magnolia, Maximus, and Catalyze bond deals. Goldman bankers had “cheated” the country in

their dealings with 1MDB, Malaysia’s incumbent Prime Minister, Mahathir Mohamad stated.

When asked if Goldman would be banned from doing business in Malaysia, Mahathir responded:

“We are watching.”

        290.    As Goldman was working to defend itself in the press, on November 21, 2018,

Reuters reported that IPIC filed a civil legal action against Goldman and others alleging that they

“played a central role in a long-running effort to corrupt former executives of IPIC and its

subsidiary Aabar Investments, and mislead IPIC and Aabar,” aiming to further the business of

Goldman and 1MDB.371

        291.    A week later, on November 29, 2018, Bloomberg reported in an article titled

“Goldman Takes Another 1MDB Blow as Fed Steps Up Probe,” that the Federal Reserve was

“ramping up its investigation into how executives dodged [Goldman’s] internal controls while

helping Malaysian authorities raise billions of dollars that later went missing.” The article then




370
    Tom Wright & Liz Hoffman, Goldman Sachs’s Ex-CEO Lloyd Blankfein Met Malaysian at Center of 1MDB
Scandal, The Wall Street Journal (Nov. 9, 2018), https://www.wsj.com/articles/goldman-sachss-ex-ceo-met-
malaysian-twice-at-center-of-1mdb-scandal-1541779363.
371
    Stanley Carvalho, Aparajita Saxena, Andrew Torchia, Jane Merriman & Elaine Hardcastle, Abu Dhabi's IPIC
files lawsuit against Goldman Sachs, others over 1MDB case, Reuters (November 21, 2018); see also Int’l
Petroleum Inv. Co. v. The Goldman Sachs Grp., Inc., Index No. 655821/2018 (N.Y. Sup. Ct.).

                                                   109
stated the probe was examining “the actions of Goldman Sachs as well as individuals and has

been gaining momentum in recent weeks,” citing “people briefed on the matter.”

       292.    In the early morning hours on December 17, 2018, Reuters published an article

titled “Goldman Sachs fires back after Malaysia charges bank in 1MDB probe,” which reported

that Malaysia had filed criminal charges against Goldman related to its dealings with 1MDB. On

December 17, 2018, The New York Times reported in an article titled “Malaysia Files Criminal

Charges Against Goldman Sachs Over 1MDB Scandal” that new charges, filed by the Malaysian

government earlier that day, accused Goldman Sachs of making false and misleading statements

related to the 1MDB scandal and were “a rare international rebuke of an institution that has long

represented the pinnacle of money and power.”

       293.    In connection with these new charges, the Malaysian government said it would

seek criminal fines in excess of $2.7 billion. The Malaysian government also filed charges

against a number of individuals, including Leissner, Loo, and Low, and stated that it would also

be charging Ng in the near future.

       294.    Also on December 17, 2018, Goldman spokesperson Michael DuVally offered

another refrain denying any wrongdoing by Goldman, stating: “Certain members of the former

Malaysian government and 1MDB lied to Goldman Sachs, outside counsel and others about the

use of proceeds from these transactions[.]”

       295.    After the market closed on December 20, 2018, the Financial Times disclosed that

Lim, the Malaysian Finance Minister, intended to seek $7.5 billion in reparations from Goldman

Sachs related to its role in the 1MDB scandal. Lim stated: “We are not only looking at just the

[bond] fees and issuance [volumes]. We are looking for a much larger sum.” According to Lim,

Goldman should return $6.5 billion—the sum of the three bond deals that Goldman underwrote



                                              110
in 2012 and 2013, the proceeds of which “were not used for national development but w[ere]

siphoned out”—as well as an additional $1 billion to account for the $600 million in

underwriting fees Goldman received and the “higher than market rate” bond coupons.372

        296.    The following day, on December 21, 2018, Bloomberg reported that Singapore

had added Goldman to its criminal probe into funds linked to 1MDB, noting this was a “potential

new battle front for Goldman less than a week after Malaysia filed the first criminal charges

against the firm over a relationship that spawned one of the biggest scandals in its history.”

Authorities in Singapore are examining whether portions of Goldman’s $600 million in fees

from the 1MDB bond deals moved through any Singapore subsidiary.373

        297.    As alleged below in Section VII, the gradual disclosures of Goldman’s

involvement in the 1MDB fraud and the ensuing government investigations shocked the market,

resulting in significant declines in Goldman’s stock price and massive losses for unsuspecting

investors in Goldman stock.

        298.    Details concerning Goldman’s misconduct and of ongoing investigations into the

Company’s dealings with 1MDB have continued to emerge after the Class Period:

            a. On Goldman’s January 16, 2019 earnings call, Solomon reaffirmed that the DOJ

                investigation was still “open,” and the Company was cooperating with the DOJ

                and other unnamed “regulators.”




372
    Stefanie Palma & Robert Armstrong, Malaysia finance minister wants $7.5bn from Goldman, Fin. Times (Dec.
20, 2018), https://www.ft.com/content/11572a34-045e-11e9-9d01-cd4d49afbbe3.
373
    Andrea Tan, Singapore to Expand 1MDB Criminal Probe to Include Goldman, Bloomberg (Dec. 21, 2018),
https://www.bloomberg.com/news/articles/2018-12-21/singapore-said-to-expand-1mdb-criminal-probe-to-include-
goldman.

                                                   111
            b. On January 24, 2019, Bloomberg reported that Malaysian police raided Rahmat

                Lim & Partners, the law firm that represented Goldman in the 1MDB deals, to

                search for documents related to the bonds.374

            c. On April 24, 2019, the Financial Times reported that the DOJ staff have

                recommended that a settlement with Goldman over its role in 1MDB should

                include a guilty plea at the parent company level.375

            d. On June 23, 2019, reports were published revealing that Goldman had offered 1

                billion ringgit—approximately $241 million—to avoid criminal charges in

                Malaysia. Current Prime Minister Mahathir Mohamad rejected the offer as

                “peanuts,” declaring that “[w]hat Goldman Sachs has offered is not adequate.”376

            e. On July 11, 2019, The Wall Street Journal quoted Assistant Attorney General

                Brian Benczkowski, who commented that “[w]e do anticipate getting into active

                discussions with Goldman, at this point, in the near future.” Citing an anonymous

                senior official, the Journal reported the DOJ will “soon . . . try to resolve

                allegations through a possible criminal settlement.”

            f. On August 9, 2019, the Malaysia Attorney General, Tommy Thomas, filed

                charges against seventeen current and former Goldman executives over their

                involvement in the 1MDB fraud, including directors of three Goldman units.




374
    Anisah Shukry, Malaysian Police Seek 1MDB Documents From Goldman’s Lawyer, Bloomberg (Jan. 24, 2019),
https://www.bloomberg.com/news/articles/2019-01-24/malaysia-police-seek-1mdb-deal-documents-from-goldman-
s-lawyer.
375
    Kadhim Shubber, DoJ staff push for Goldman guilty plea in 1MDB case, Fin. Times (Apr. 24, 2019),
https://www.ft.com/content/2658ac78-66a6-11e9-a79d-04f350474d62.
376
    Yen Nee Lee, Goldman Sachs is offering ‘peanuts’ to compensate for 1MDB, says Malaysian prime minister,
CNBC (June 23, 2019), https://www.cnbc.com/2019/06/24/goldman-sachs-offers-peanuts-to-compensate-malaysia-
for-1mdb-mahathir.html.

                                                   112
                Those charged include Michael Evans and Richard Gnodde, CEO of Goldman

                Sachs International.377

        299.    In addition to the foregoing, the Federal Reserve, the SEC, and the New York

State Department of Financial Services (“DFS”), along with numerous authorities overseas, are

all separately investigating Goldman’s role in the 1MDB scandal.378

        D.      Goldman Mounts a “Rogue Banker” Defense that is Widely Rejected

        300.    Goldman had celebrated its half-decade relationship with 1MDB, lauding

Leissner and Vella for bringing in a remarkable bounty in deal fees. Yet, after Leissner pled

guilty to money laundering and FCPA violations, Goldman set out to pin the blame on him

alone. Abdicating all responsibility for the many Goldman executives who had approved the

deals and courted Low—including both his predecessor and himself—newly installed CEO

David Solomon stated, “[f]or Leissner’s role in that fraud, we apologize to the Malaysian

people.”379

        301.    Goldman adopted this refrain in presentations to U.S. prosecutors, seeking to

distance itself while discrediting Leissner, pointing to his multiple affairs and doctorate from a

“mail-order diploma mill.” Of course, the bank was aware of these facts well before elevating

Leissner to the Partnership Committee, making him Chair of Southeast Asia, and paying him



377
    Malaysia charges 17 current and former Goldman Sachs executives in expansion of 1MDB fraud case, The
Wash. Post (Aug. 9, 2019), https://www.washingtonpost.com/business/economy/malaysia-charges-17-current-and-
former-goldman-sachs-executives-in-expansion-of-1mdb-fraud-case/2019/08/09/c8d74ede-ba9b-11e9-bad6-
609f75bfd97f_story.html.
378
    Carmel Crimmins, Olivia Oran, Sumeet Chatterjee, Grant McCool, Anshuman Daga & Martin Howell, Goldman
Sachs under spotlight in Malaysian fund scandal, Reuters (July 20, 2016), https://www.reuters.com/article/us-
malaysia-scandal-goldman-sachs/goldman-sachs-under-spotlight-in-malaysian-fund-scandal-idUSKCN1002OR;
Randeep Ramesh, 1MDB: The inside story of the world's biggest financial scandal, The Guardian (July 28, 2016),
https://www.theguardian.com/world/2016/jul/28/1mdb-inside-story-worlds-biggest-financial-scandal-malaysia.
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    Matthew Goldstein, Emily Flitter & Kate Kelly, Goldman Sachs’s Tactic in Malaysian Fraud Case: Smear an
Ex-Partner, The N.Y. Times (Jan. 16, 2019), https://www.nytimes.com/2019/01/16/business/goldman-malaysia-
1mdb-leissner.html.

                                                    113
more than $10 million in a single year to reward his work on the 1MDB deals. The New York

Times observed:

            The scorched-earth tactics, especially against someone who had been a star
            banker, reflect just how worried Goldman is about the criminal investigations into
            its role in the theft of at least $2.7 billion from [1MDB]. One big reason for
            concern is that senior Goldman officials, including the bank’s chief executive at
            the time, helped win Malaysian business. And the relationship became a crucial
            engine of profits for the bank. . . . The bank’s hope is that by casting Mr.
            Leissner as a rogue employee, Goldman will reduce its legal and reputational
            liability.380

            302.   Beyond its character attacks, Goldman’s public defense has focused on Leissner’s

supposed concealment of Low’s involvement in the 1MDB deals. In talks with federal

prosecutors and regulators, “Goldman executives and their lawyers have depicted Tim Leissner,

a former top investment banker, as a master con man, someone so sneaky that even the retired

military intelligence officers who work for the bank couldn’t sniff him out.”381

            303.   Goldman’s attempt to isolate Leissner as a lone wolf whose activities were

artfully concealed from other top executives has been met with skepticism, if not outright

derision. The New York Times criticized the bank’s “well-worn defense,” questioning “whether

those responsible for vetting the transactions simply took the word of Mr. Leissner and Mr. Ng”:

            If only it were just some questionable shenanigans in the back room. Three
            Goldman Sachs partners have been implicated in paying bribes to win business
            from the investment fund, 1Malaysia Development Berhad, or 1MDB, as part of a
            multibillion-dollar fraud. . . . Goldman earned $600 million from helping to
            arrange bond offerings of about $6.5 billion for 1MDB in 2012 and 2013.
            Goldman’s management was sure to notice fees of that size, and it has been
            reported that Mr. Blankfein met with the former Malaysian prime minister Najib
            Razak, Mr. Low and Mr. Leissner. But those fees were apparently not enough to
            raise questions about how the firm won a lead role in the transactions. . . . A
            partnership at Goldman is one of the most coveted positions on Wall Street, so
            labeling high-level managers as uncontrolled rogues as a way to avoid criminal



380
      Id.
381
      Id.

                                                   114
        charges may not play well with prosecutors, especially when the deals were so
        lucrative for the company.382

        304.    The Times further observed: “[T]he existence of a face-to-face meeting between

Goldman’s chief executive and the man accused at the center of a sprawling fraud undercuts an

argument the bank has made: that its problems stem from the actions of a small number of rogue

employees.”383 Of course, Blankfein in fact had not one, but three such meetings. The Australian

Financial Review, which followed the 1MDB scandal closely, observed, “Goldman’s contact on

the 1MDB deals was Jho Low. If know-your-client were practised [sic] at the bank, Low would

have made for interesting compliance visits.”384

        305.    A Bloomberg article titled “Rogue Bankers Don’t Explain Goldman’s 1MDB

Mess” was equally skeptical of Goldman’s argument that it “didn’t realize until January 2016

that Leissner had ties with Low, at which point the partner was suspended”:

        The sheer amount of fees should have been the first red flag: $600 million for
        underwriting $6.5 billion in bond sales between 2012 and 2013 for 1MDB. Let’s
        put that in perspective. The amount Goldman raked in from the investment fund
        alone is nearly equivalent to the $694 million in revenue from its entire global
        bond underwriting business in the first quarter of 2013. . . . 1MDB was a quasi-
        sovereign, with two of the bonds backed by an Abu Dhabi sovereign wealth fund.
        Underwriting its bonds shouldn’t have involved the rocket-science-type
        structuring for which Goldman is known. It’s also well-known that Asian
        governments are loath to pay fees. . . . All this should have triggered a wringer
        of committee approvals, especially because bank capital – so precious after the
        financial crisis – was at risk.

        306.    In a detailed examination of the scandal, the Harvard Law School Forum on

Corporate Governance and Financial Regulation was even more critical, dubbing the “rogue


382
    Peter J. Henning, Goldman Blames Rogue Staff for Its 1MDB Scandal. That May Not Wash., The N.Y. Times
(Nov. 15, 2018), https://www.nytimes.com/2018/11/15/business/dealbook/goldman-sachs-1mdb.html.
383
    Emily Flitter, Matthew Goldstein & Kate Kelly, Goldman Chairman Met Privately With Fugitive Accused in
Malaysian Fraud, The N.Y. Times (Nov. 22, 2018), https://www.nytimes.com/2018/11/22/business/goldman-
blankfein-1mdb-malaysia.html.
384
      Aaron Patrick, Goldman Sachs, Lies and 1MDB, Austl. Fin. Review (Jan. 19, 2019),
https://www.afr.com/politics/goldman-sachs-lies-and-1mdb-20190117-h1a5is.

                                                  115
employee” campaign “Goldman’s ‘Four Monkeys’ defense: see no evil, hear no evil, speak

no evil and keep all the money.”385 (Emphasis in original). The authors described the gambit as

“the standard Wall Street playbook to deny all wrongdoing and proclaim total innocence, if not

shamelessly suggesting that they are victims themselves.”386 (Emphasis in original). Yet, the

article noted, “numerous red flags suggest[ed] fraud if not criminal conduct,” including:

           a. The “exorbitant” $600 million in fees that Goldman received “in three no-bid

               offerings over ten months in 2012-2013,” which was “more than two hundred

               times the typical fee”;

           b. The observation that “any relationship that generated an apparent record of $600

               or so million over a mere ten months would be expected to get the very close

               attention of Goldman’s most senior officers, including the then-Co-Head of

               Investment Banking and now CEO, David Solomon, as well as the CEO at that

               time”;

           c. The deal was subject to “rigorous review by no less than five internal Goldman

               committees” and done “under the noses of more than 30 Goldman Sachs

               executives”;

           d. The fact that “a simple review of 1MDB’s financials should have quickly revealed

               inexplicable layering and innumerable huge financial transactions all over the

               world, including prominently in locations well-known for money laundering”;

           e. Jho Low “was actually caught by Goldman’s compliance system . . . not once, but

               at least twice” (emphasis in original);


385
    Dennis M. Kelleher, Goldman Sachs and the 1MDB Scandal, Harvard Law Sch. Forum on Corp. Governance &
Fin. Regulation (May 14, 2019), https://corpgov.law.harvard.edu/2019/05/14/goldman-sachs-and-the-1mdb-
scandal/.
386
    Id.

                                                 116
          f. Blankfein’s multiple meetings with Najib and Low, “after Goldman’s compliance

              department had raised multiple concerns about the prime minister’s primary co-

              conspirator, the inexperienced Jho Low, who was only in his late 20s or early 30s,

              but nonetheless de facto ran the 1MDB fund”;

          g. The April 2012 protests—“the largest democratic protests in Malaysia’s

              history”—when “some one hundred thousand anticorruption protesters poured out

              into the streets of Kuala Lumpur” to “oust Prime Minister Najib’s kleptocratic

              regime”;

          h. Within 1MDB itself, “there was significant staff and executive turnover; those

              working there had little or no experience; the Chairman of the Board of Directors

              resigned abruptly as did another director just weeks later; its first auditors, Ernst

              & Young, resigned as did its second auditors, KPMG, and its third auditor,

              Deloitte, was just fined by Malaysian authorities”; and

          i. Lazard’s withdrawal from one of the offerings and 1MDB’s reliance on tiny BSI.

       307.   Amid these and other red flags, the Harvard Law School Forum’s analysis found

Goldman’s explanation wanting:

       Goldman wants the world to believe that no one at Goldman was smart enough to
       get a hint of one of the biggest frauds in the world happening right under their
       noses in a multi-year, multi-deal relationship that stretched from junior bankers to
       the most senior executives at the bank. . . . Doesn’t Goldman brag about having
       the worlds’ [sic] state-of-the-art, high-tech, comprehensive systems and
       multiple, robust layers of compliance, risk, legal, audit and management
       designed to ensure that something like this could never happen, even at
       fractions of the size of this fraud and these fraudulent activities? Aren’t they
       supposed to be experts at due diligence?

       308.   As for Goldman’s claims that Leissner and Ng had concealed their misconduct

from management and compliance, the authors observed, “[n]one of this required Sherlock

Holmes or even a business degree to uncover; scratch almost any surface with the most basic

                                               117
questions and the fraud seemingly would have been visible for anyone to see and quickly

unravel.”387 To the contrary, “Leissner and the other criminals just weren’t that smart and there

were red flags waving all over the Malaysia relationship and Goldman’s 1MDB offerings, which

caught the attention of senior Goldman officers.” David Ryan’s repeated protests of the deals

were testament to how conspicuous the problems were.

        309.    While unwavering in its “rogue banker” defense since Leissner’s role in the

scandal first came to light in 2016, Goldman has struggled to maintain it as new facts come to

light. For example, in addition to Ng and Leissner, Vella was also deeply involved, having

personally approved the bribes and kickback payments to government officials. Following the

unsealing of Leissner’s Information thinly veiling Vella’s identity as a co-conspirator, the bank

quietly put him on leave in late fall 2018.388 It has been equally silent in addressing Co-Head of

Investment Banking Hazem Shawki’s role in obtaining Global Compliance’s sign-off in Low’s

Coastal Energy deal—a deal Leissner had no involvement in—after Global Compliance had

rejected Low as a private wealth client multiple times.

        310.    The DOJ, following an exhaustive, multiyear investigation in which it sifted

through internal Goldman documents obtained by subpoena and search warrant, refuted

Goldman’s “rogue banker” defense in its indictment of Low and Ng, describing the practice of

skirting compliance to push deals through as endemic to the firm. Noting that while Global

Compliance and Legal’s Business Intelligence Group “worked in conjunction with, and as part

of, various committees in reviewing transactions, including the three 1MDB bond deals, for

approval,” the indictment, returned by a federal grand jury, stated that “the business culture at


387
   Id.
388
   Sridhar Natarajan, Goldman Sachs Places Andrea Vella on Leave Over 1MDB Case, Bloomberg (Nov. 1, 2018),
https://www.bloomberg.com/news/articles/2018-11-01/goldman-sachs-is-said-to-place-vella-on-leave-over-1mdb-
case.

                                                   118
[Goldman Sachs], particularly in South Asia, was highly focused on consummating deals, at

times prioritizing this goal ahead of the proper operation of its compliance functions.”389

Meanwhile, the affidavit supporting Leissner’s arrest warrant stated unequivocally that Leissner

was “acting on behalf of [Goldman Sachs]” and doing so “to secure and retain business for

[Goldman Sachs].”390

           311.    Given the extraordinary compensation that Goldman received for the three 1MDB

deals—$600 million—claims that Leissner was a rogue actor operating against Goldman’s

interests or outside the scope of his authority ring hollow. Goldman was an extraordinary

beneficiary of its relationship with 1MDB, and it hailed Leissner as a conquering hero for

securing the fund’s business—and compensated and promoted him as such.

V.         SUMMARY ALLEGATIONS OF SCIENTER

           312.    As detailed above, knowledge and/or deliberate disregard of the warning signs

encircling Goldman’s half-decade-long relationship with Jho Low and 1MDB permeated a range

of departments and regions at the bank beginning in 2009, reaching its highest offices. Below is a

summary of certain facts set forth above in Section IV reflecting Defendants’ knowledge and/or

deliberate disregard at the time that they made their materially false or misleading statements to

investors.

           A.      Scores of Red Flags Surrounded Goldman’s Relationship with 1MDB

           313.    Five Goldman committees, including four powerful firmwide committees charged

with reviewing important transactions and managing reputational risk for the bank—the Business

Standards (chaired by President and COO Cohn), Risk, Capital, and Suitability Committees—

approved each of the three 1MDB bond deals, along with CEO Blankfein, then-Head of


389
      United States of America v. Low, No. 1:18-cr-00538-MKB (E.D.N.Y. Oct. 3, 2018), ECF No. 1.
390
      Leissner Compl. & Aff., ¶¶ 16, 18.

                                                       119
Investment Banking and current CEO David Solomon, and then-Global Head of Financing, now

CFO Stephen Scherr.

       314.    Every executive, compliance official, and committee member who reviewed

Goldman’s dealings with 1MDB was confronted with a fleet of red flags indicating the

likelihood of corruption, severe compliance risks, and reputational harm.

       315.    First, several general features of 1MDB that persisted throughout Goldman’s

relationship with the fund signaled the likelihood of graft. They were readily apparent to anyone

involved in reviewing the 1MDB deals. These red flags included the following:

           a. Malaysia was widely known as one of the most corrupt countries in the world in

               which to do business, where foreign companies doing business with the

               government “[had] to be aware that they’re likely to be asked for a bribe” (¶ 81);

           b. Najib, who oversaw 1MDB and whom Blankfein and other Goldman executives

               repeatedly courted, was notoriously corrupt, with allegations of graft predating his

               premiership and growing exponentially after he became Prime Minister (¶¶ 84-

               87);

           c. As Goldman prepared the first offering, tens of thousands of Malaysians in Kuala

               Lumpur protested the corruption of Najib’s regime (¶¶ 184-85);

           d. From its launch, 1MDB exhibited a range of potential compliance problems,

               including board and outside auditor resignations, press accounts and internal

               allegations of corruption, disagreements with auditors, and board minutes plainly

               acknowledging the fund’s perception as “a secretive cloak-and-dagger setup with

               sinister motives to benefit cronies and not the Malaysian people” (¶¶ 94-97, 99);

               and



                                               120
           e. 1MDB insisted on tiny Swiss bank BSI as the fund’s principal custodian bank,

               rather than a large institutional bank, because BSI would be beholden to a client

               of 1MDB’s size—its largest—and less likely to question suspicious money

               transfers (¶ 98).

       316.    Second, another red flag visible to Goldman during its relationship with 1MDB

was Jho Low, whose wildly extravagant spending, high-profile partying, and dubious source of

wealth were well documented in the press beginning in 2009 and continuing throughout

Goldman’s relationship with Low. ¶¶ 92, 211-12. Following a review of Low’s personal finances

in connection with his first PWM application, the lack of a legitimate explanation for Low’s

wealth prompted Goldman’s internal compliance personnel to reject him as a private client for

the first of several times. ¶¶ 120-24.

       317.    Knowledge of Low’s role as 1MBD’s representative and a key intermediary

between Goldman, 1MDB, and IPIC was common and widespread at the bank throughout the

relationship. For example:

           a. In 2009, press accounts that were readily accessible to Defendants detailed Low’s

               key role in 1MDB since its inception (¶ 90);

           b. In 2009, Low was introduced to Goldman as 1MDB’s central facilitator at the

               deal team (¶¶ 112-15, 119) and chief executive levels (¶¶ 127-29); and Low’s role

               as 1MDB’s key representative and control person was confirmed to Goldman

               numerous times over the next five years, again at both the deal team (¶¶ 131, 147-

               48) and chief executive levels (¶¶ 214, 252-54);

           c. From 2009 to 2014, Goldman bankers in Hong Kong, Singapore, and Dubai

               repeatedly confirmed to the Global Compliance and Legal Departments that Low



                                               121
              was Goldman’s partner in transactions in Malaysia and the Middle East (¶¶ 120-

              24, 140-44, 162, 261);

          d. At an April 4, 2012 firmwide meeting of the Capital Committee and Suitability

              Committee to review the Project Magnolia deal, Leissner stated that Low had

              facilitated Goldman’s meeting with 1MDB’s guarantor in offering, IPIC, in

              response to questions from the Co-Head of Global Compliance (¶ 162);

          e. Other business units and internal control functions also knew that Vella, Leissner,

              and Ng were working with Low, including PWM and the Conflicts Department,

              which reviewed—and rejected—requests to bring Low on as a client (¶¶ 121, 143,

              145);

          f. Bankers at Goldman outside the underwriting deal team knew of Low’s

              involvement as “the 1MDB Operator or intermediary” and discussed it

              internally, including by email (¶¶ 160-61);

          g. Internal Goldman emails and the deal team’s travel schedule and meetings with

              third parties reflected that the deal team (including Vella, Leissner, and Ng) was

              regularly working with and courting Low in his capacity as 1MDB’s

              representative (¶¶ 159, 234-35); and

          h. Goldman Vice Chairman Michael Evans attended a party for Najib that Low had

              arranged on a superyacht in Saint-Tropez in July 2013 (¶ 251).

       318.   Third, Defendants knew, or recklessly disregarded, the risk posed by Goldman’s

own lead bankers on the 1MDB deals—Vella and Leissner—who have both been implicated in

the DOJ’s investigation, with Leissner pleading guilty to the crimes with which he was charged.




                                              122
Red flags regarding these two senior-level Partners before and during the 1MDB bond deals

included the following:

           a. Vella oversaw the LIA account team in Libya accused of bribing government

               officials, and he personally approved an internship for the close relative of a

               political official that exposed Goldman to FCPA violations (¶¶ 67-74);

           b. Leissner had a reputation within the bank for being “prone to go off the

               reservation,” a trait that Goldman “tolerated because he brought in business”

               (¶ 107);

           c. Leissner exhibited a tendency to skirt ethical lines well before Goldman’s work

               with 1MDB, including in ways that exposed the bank to potential FCPA

               violations (¶¶ 108-10);

           d. In mid-2010, Vella and Leissner advised the Malaysian state of Sarawak on an

               $800 million bond offering, making Goldman 50 times the customary fee on

               similar deals and causing an international watchdog organization to publicly

               chastise the bank for facilitating corruption in Malaysia (¶¶ 136-38);

           e. In mid-2010, Leissner, along with Ng, alerted Goldman’s charitable arm that the

               bankers sought to make payments to Najib’s wife, Rosmah, through Goldman’s

               charitable arm, a potential FCPA violation (¶ 134); and

           f. Leissner continued to work with and recommend Low to Goldman as a client

               even after Global Compliance and Legal had rejected him because of his

               unexplained wealth (¶¶ 145-54, 195, 218).

       319.    Fourth, Defendants and the committees reviewing the 1MDB bond deals were

also faced with a litany of red flags concerning the deals’ highly suspicious terms:



                                               123
a. 1MDB agreed to pay Goldman nearly $600 million in fees for the three bond

   offerings, having solicited no competing bids and naming Goldman as sole lead

   underwriter, notwithstanding that: (i) the customary fee for such a deal was

   approximately $1 million per deal, and (ii) Goldman had secured buyers for the

   bonds before they finalized the deal, thereby assuming such a nominal risk that

   they warned at least one deal team member not to identify that pre-sale even on

   internal emails for fear of exposure (¶¶ 178-80, 190, 193, 209, 217, 228);

b. 1MDB and its representatives, including Low and Najib, emphasized speed and

   secrecy in the offerings when no business justification explained these

   imperatives (¶¶ 174-75, 200, 221-23);

c. 1MDB’s willingness to award each of these deals to Goldman on a no-bid basis,

   with no competition from other investment banks despite the enormous fees that

   Goldman was earning, was suspicious, as it was both highly unusual and meant

   that 1MDB was foregoing a process that may have resulted in lower fees (¶¶ 156,

   165, 194);

d. The timing of the second offering was suspicious in that 1MDB sought the new

   raise immediately after the first one had closed and when ample funds from the

   “general purposes” portion of the first offering were still available to cover the

   acquisition that was the claimed purpose of the second offering (¶¶ 194, 202);

e. The timing and size of the third offering were suspicious in that Najib sought the

   $3 billion raise shortly before his highly contested election and within 12 months

   of the fund having raised $3.5 billion, much of which was allocated to “general




                                   124
              corporate purposes” and thus, was once again still available for investment by

              1MDB such that another capital raise was unnecessary (¶¶ 221-26);

          f. The yields on the three debt issuances—6% to 4.4%—were far higher than

              comparable offerings, raising a red flag as to why a sovereign-backed entity like

              1MDB would agree to pay so much interest (¶¶ 176, 228);

          g. There was no stated purpose for nearly 50% of the funds raised by the first

              offering, 58% of the second offering, and 100% of the third offering (¶¶ 177, 201,

              222); and

          h. The 1MDB bonds were backed up by an unusual, feeless guarantee from IPIC, an

              Abu Dhabi fund whose director had a reputation (and had been sued) for

              demanding kickbacks (¶ 151)—an arrangement that prompted Goldman’s Middle

              East headquarters to decline to work on the deal and to declare it “preposterous”

              (¶¶ 151, 172).

       320.   Fifth, multiple third parties identified red flags and alerted Goldman to them in

the 1MDB bond deals. These included the following:

          a. Investment bank Lazard withdrew from providing a valuation of the energy

              assets that were the stated target of the Project Magnolia funds because the deal

              “smacked of political corruption,” prompting Goldman to step in and provide an

              inflated valuation of the assets that was quickly written down (¶ 181);

          b. BSI, 1MDB’s own bank, protested the plan to transfer the $3 billion in Project

              Catalyze proceeds to 1MDB’s account at BSI, rather than to a global bank,

              prompting Goldman bankers to intercede and convince BSI to accept the funds

              (¶¶ 234-35);



                                              125
           c. An attorney at Linklaters, Goldman’s own outside counsel on Project Catalyze,

               also questioned the use of BSI for such a massive deposit, but Goldman ignored

               him (¶¶ 236-38);

           d. 1MDB fired its first auditor, Ernst & Young, when the firm refused to certify a

               transaction to hide the fund’s first-year losses and instead book a fictitious profit

               (¶ 97); and

           e. 1MDB’s second auditor, KPMG, issued an unusual “emphasis of matter”

               highlighting its concern over the transaction in the fund’s first set of financial

               reports, after which it, too, was fired (¶ 97).

       321.    Goldman’s refusal to investigate and/or its disregard of these and other red flags

breached its internal policies and the Project Catalyze Offering Circular. Specifically:

           a. As part of the BSC review following the financial crisis, Goldman claimed to

               have implemented reforms creating a rigorous oversight process to “strengthen

               accountability, compliance, and internal control standards,” committing to pre-

               and post-transaction monitoring, establishing a reporting mechanism for

               “escalating issues to sales leadership and the Credit, Legal and Compliance

               Departments,” and emphasizing that “[e]very employee has an equal obligation to

               raise issues or concerns, no matter how small, to protect the firm’s reputation”

               (¶¶ 52-61); and

           b. Goldman’s offering circular for the $3 billion Project Catalyze bond offering

               expressly represented that 1MDB and Goldman Sachs would “ensure that none

               of the net proceeds raised from the issue of the Notes shall be . . . made




                                                 126
               available to any person or entity . . . in violation of any applicable anti-

               corruption or anti-money laundering laws” (¶ 239).

       322.    Goldman’s role as 1MDB’s exclusive debt underwriter during this period—

serving as the fund’s sole bookrunner on three no-bid, sole-lead offerings in quick succession—

gave it unique insight into the highly unusual and suspect workings of the fund. And, in

particular, the second and third offerings required due diligence concerning 1MDB’s controls

and financial position that would have readily alerted Goldman to the fact that hundreds of

millions of dollars from the previous offerings had disappeared without sufficient explanation.

Despite these glaring red flags, and against the backdrop of its stated commitment to risk

management and anti-corruption, Goldman rubber-stamped the deals which undergirded the

1MDB fraud.

       B.      Defendant Blankfein Met with Low Three Times to Discuss Goldman’s
               Business with 1MDB

       323.    Before, during, and after 1MDB’s three offerings, Blankfein met with Low to

discuss how Goldman could serve as investment bank to and generate fees from 1MDB. All of

these meetings occurred after Goldman’s own Global Compliance Department had flagged Low

as someone with whom the bank should not do business or have a relationship. Specifically:

            a. In November 2009, after Global Compliance had already rejected Low as a PWM

               client due to press coverage of his spending and Global Compliance concerns

               over his unexplained wealth, Blankfein met with Low, Leissner, and Najib, where

               the four specifically discussed Goldman serving as 1MDB’s investment bank and

               laid the groundwork for Goldman’s ensuing work for 1MDB (¶¶ 127-29);




                                             127
            b. Between the second and third 1MDB bond offerings, amid the red flags discussed

               above and after multiple compliance functions had repeatedly rejected Low as a

               Goldman client, Blankfein met one-on-one with Low in late 2012 (¶ 214); and

            c. In September 2013, as red flags and scrutiny of 1MDB proliferated, Blankfein

               again met with Low, Leissner, and Najib in New York to discuss how Goldman

               could do more business with 1MDB (¶¶ 252-53).

       324.    Blankfein personally reviewed and approved each of the 1MDB bond offerings,

and thus was exposed to all of the red flags discussed above. ¶¶ 189, 206, 240. Moreover, as the

Harvard Law School Forum on Corporate Governance and Financial Regulation observed in an

analysis of the scandal, a meeting with Blankfein, one of the world’s most powerful bankers,

would come after only “the most rigorous background checks and due diligence.” ¶ 215. That he

did so—not once, but at least three times—reflects that Blankfein was willing to overlook those

red flags and Goldman’s own internal compliance warnings to pursue what he recognized was a

lucrative source of investment banking fees. Indeed, even after the warning signs had increased

further, with the Federal Reserve explicitly warning Goldman of “reputational risk” from the

1MDB relationship (¶ 255), Blankfein urged his other bankers to emulate Leissner and Vella,

proclaiming, “We have to do more of that.” ¶ 270.

       C.      Goldman’s Asia President David Ryan Repeatedly Warned of the Risk
               1MDB Posed

       325.    David Ryan, President of Goldman Asia and a member of Goldman’s

Management Committee, specifically and repeatedly identified red flags around Goldman’s

relationship with 1MDB. In fact, he warned of the risk during each of Goldman’s three bond

offerings for the fund:




                                              128
            a. Before Project Magnolia closed in May 2012, Ryan (i) voiced concern that the

               award of the lucrative underwriting assignment without any competing bids was

               too good to be true, (ii) opined that the bank’s profit on the deal appeared

               excessive in light of its structure and limited risk, and (iii) expressed concern

               (based on his own visit to 1MDB’s offices) that the fund did not have the

               personnel to handle so much capital or bear such a heavy debt load (¶¶ 165-66);

            b. Before Project Maximus closed in October 2012, Ryan expressed concern again

               that the no-bid assignment was too good to be true, urging the bank to consider

               terminating the relationship and, in any event, to lower its fees on the second

               offering, given how easily it had sold the bonds from the first offering (¶¶ 203-

               05); and

            c. Before Project Catalyze closed in March 2013, Ryan objected to the 1MDB

               relationship for the third time, expressing suspicion about the fund’s award of the

               massive $3 billion offering without competition on the heels of two other no-bid

               deals (¶¶ 231-32).

       326.    As President of Goldman’s Asia business and a member of Goldman’s

Management Committee, Ryan’s repeated warnings constituted knowledge of the relationship’s

red flags at the bank’s highest level. Ryan resigned three months after the final offering, having

been overruled three times by Gary Cohn and sidelined following the installation of pro-1MDB

Asia Chair Mark Schwartz above Ryan.

       D.      Gary Cohn and Other Top Executives Not Only Heard Concerns about the
               Risks Posed by 1MDB, They Retaliated Against Those Who Voiced Them

       327.    Goldman President and COO Cohn, intent on seeing his and Blankfein’s

initiatives to “monetize the state” in emerging markets succeed, personally learned of and


                                               129
silenced Ryan’s repeated objections to the 1MDB bond deals. ¶¶ 165-66, 203-05, 231-32.

Specifically, Cohn repeatedly overruled Ryan and elevated Mark Schwartz above Ryan to ensure

the 1MDB deals proceeded unencumbered. Id.

         328.   Like Cohn, Mark Schwartz was one of the highest-ranking executives at Goldman

at the time of Project Catalyze. As the newly installed Asia Chair, Schwartz learned of Ryan’s

objections to the deal and, with Cohn, silenced Ryan, disregarding the additional investigation

and reporting to the bank’s internal control functions. ¶ 232.

         329.   Alex Turnbull, an Executive Director based in Goldman’s Hong Kong office, also

voiced serious concerns about Project Magnolia’s terms and Goldman’s expected profits on the

deal. ¶ 167-68. In response, he was reprimanded by compliance for questioning the deal. ¶ 169.

Separately, Turnbull’s boss told Turnbull to keep his mouth shut if he ever wanted to be

promoted. Id. These individuals had knowledge of the red flags that Turnbull had identified, and

each of them chose to disregard Turnbull’s warnings and the reporting process supposedly

established by the BSC. Cf. ¶¶ 53-54, 59.

         E.     Vella and Leissner Were Among Goldman’s Most Powerful Senior Bankers

         330.   Vella and Leissner were both Partners at Goldman and thus within the top 1% of

the bank’s hierarchy. ¶¶ 37, 42, 46. Moreover, they were senior-ranking members of that rarified

class.

         331.   Vella was a senior Partner when he moved to Goldman’s Hong Kong office in

2010, was promoted to Co-Head of the Financing Group for Asia in January 2014, and was

promoted again in 2015 to Co-Head of Investment Banking for Asia, the top post in Goldman’s

preeminent division in a region of prime importance to Goldman, Blankfein, and Cohn. ¶ 42.

         332.   Leissner began the 1MDB relationship as Chair of Investment Banking for

Southeast Asia but, because of his work helping to generate $600 million in fees through the

                                                130
1MDB bond deals, was elevated to Chair of Southeast Asia in July 2014, added to the elite

Partnership Committee, and rewarded with extraordinary compensation. ¶¶ 106, 270.

       333.    In short, the pair were prominent executives and among the most powerful senior

bankers at the firm. They were also behind the “overarching criminal scheme,” orchestrated by

Jho Low, “to pay bribes to secure and retain business for [Goldman Sachs].” ¶ 281. In fact,

each personally approved the payment of kickbacks to government officials to win that business

for the bank. ¶¶ 153-54. Through Leissner and Vella, that scheme extended to Goldman’s top

echelon, and thus Goldman issued its materially false or misleading statements with knowledge

or deliberate recklessness of their false or misleading nature.

       F.      Goldman’s Dubai Office and Global Compliance Knew the Bank Was
               Advising Low and that Low Would Receive a Highly Suspicious Payout on
               the Coastal Energy Deal

       334.    Hazem Shawki, Co-Head of Investment Banking for the Middle East and North

Africa, was another top-level Goldman executive with knowledge of glaring warning signs

concerning Low’s misconduct. Shawki was based in Goldman’s Dubai office, which had

previously refused to support Project Magnolia because of the “preposterous” no fee guarantee

provided by IPIC (a frequent Goldman Dubai client) to back up 1MDB’s debt offering. ¶ 151.

Despite the red flag, Shawki agreed to work with Low to acquire Coastal Energy. ¶ 260.

       335.    Global Compliance once again objected to Goldman advising Low directly, but

advised that “if he is in a very minor role . . . then we may be able to live with it.” As a

consequence, Shawki and his team nominally switched to advising CEPSA; however, as

Goldman knew full well, Low stayed involved in the deal by partnering with CEPSA through

SRG. ¶¶ 261-62. As detailed above, the transaction was a money-laundering gambit to cleanse

money that Low had stolen from 1MDB. Low invested $50 million of the stolen 1MDB funds in

the $2.2 Coastal billion acquisition, and then received a $350 million payment from CEPSA a

                                                131
week later purportedly to “buy out” Low’s shares in the acquired company. ¶¶ 264, 266. Shawki

knew of this inexplicably large payment to Low at the time, referring to it as a “reward” for

Low scouting out the deal, even though it was structured as an equity buyout. ¶¶ 265. If not

evidence of criminality, the payment was at minimum a glaring red flag known at Goldman’s

highest levels, made all the more so when matched against the bank’s own repeated rejection of

Low as a client.

VI.    DEFENDANTS’ MATERIALLY FALSE OR MISLEADING STATEMENTS AND
       OMISSIONS OF MATERIAL FACT

       A.      Materially False or Misleading Statements Regarding the 1MDB Deals

       336.    Throughout the Class Period, in response to growing market concern regarding

Goldman’s dealings with 1MDB, Defendants falsely downplayed the bank’s involvement with

1MDB and individuals connected to the fund, denied any wrongdoing, and misrepresented that

its work with the fund was legitimate and that its compensation for such work was fair.

       337.    On October 29, 2014, The Edge published an article titled “Goldman says no

payment to third parties,” which questioned the fees Goldman received for its role in

underwriting the 1MDB bond deals and whether any funds were paid to third parties. In

response, Goldman’s Head of Corporate Communications (Asia-Pacific), Edward Naylor, stated

the following on behalf of the Company:

       [Goldman’s fees and commissions referred to in offering documents] are standard
       terms used to describe part of Goldman Sachs’ compensation for the risks
       assumed in underwriting the bonds in question.

       Other than legal and accounting firms providing professional services, no fees or
       commissions were paid by 1MDB or Goldman Sachs to external third parties in
       connection with these transactions, nor have we ever been asked by 1MDB or
       others to pay such fees or commissions.

       338.    Goldman’s statement identified above in paragraph 337, representing that the fees

and commissions referred to in the 1MDB offering materials were “standard terms used to

                                              132
describe part of Goldman Sachs’ compensation for the risks assumed in underwriting the

bonds in question” was materially false or misleading when made because, in truth, the terms

were not “standard,” and the fees and commissions were neither “standard” nor reflective of the

risks assumed by the Company, for the following reasons:

          a. Goldman took on virtually no risk in the 1MDB bond offerings because each

              offering was effectively structured to operate as a private placement, with

              Goldman buying the entire lot from 1MDB directly and then reselling them to a

              pre-arranged group of clients prior to closing. ¶¶ 174, 190, 200, 240. For example,

              by the closing date of the first bond offering, Project Magnolia, Goldman had

              already secured buyers—mutual funds in South Korea, China, and the

              Philippines—to purchase all of the bonds. ¶ 180. Moreover, even had Goldman

              taken the bonds onto its balance sheet before lining up buyers, the yields on the

              bonds were so much higher than comparable securities that they could have easily

              offloaded them. ¶¶ 19, 180.

          b. The fees Goldman received dwarfed the industry standards for the same or similar

              work on bond offerings. According to The Wall Street Journal, a typical fee on a

              deal like Project Magnolia would be about $1 million. ¶ 178. Goldman charged

              1MDB $192.5 million, or about 11% of the Magnolia bond issue. Id. Altogether,

              Goldman received approximately $600 million for the three offerings, all of

              which closed over the course of roughly ten months. ¶ 243.

          c. Numerous press reports confirmed that the compensation terms were not standard

              for debt issuances of governments in the region, and that the bond offerings did

              not possess any features warranting the massive fees. For example, Bloomberg



                                              133
   reported, “[u]nderwriting . . . [1MDB’s] bonds shouldn’t have involved the

   rocket-science-type structuring for which Goldman is known. It’s also well-

   known that Asian governments are loath to pay fees.” ¶ 305.

d. The fees Goldman received also dwarfed a typical Malaysian investment grade

   bond deal, which Bloomberg explained typically “compare with half a percentage

   point for underwriting a typical Malaysian investment-grade bond deal, one

   percentage point for high-yield and mere basis points for government debt.”

   ¶ 178.

e. Reflecting the fact that the fees were far in excess of standard terms, Goldman

   went to great lengths to conceal from the public the terms of the deal, including

   that Goldman had already lined up investors to purchase the full lot, virtually

   eliminating the bank’s risk. For example, Goldman bankers were told to keep all

   correspondence about the bond offerings off email to prevent the terms from

   becoming public, which would reveal that the bank’s fees were not justified.

   ¶ 180. The Financial Times observed that “[t]he issue was never meant to be

   made public,” despite being the largest offering of its kind. ¶ 175.

f. Goldman’s own senior bankers questioned the compensation the bank received

   relative to the minimal risk (if any) the bank undertook, acknowledging that the

   fees and commissions received were not “standard terms” at all. For example,

   David Ryan, President of Goldman Asia, expressed that Goldman’s compensation

   was excessive, particularly in light of how easily the bank offloaded the bonds to

   pre-offering purchasers, while pointing to suspicious circumstances around the

   three offerings. ¶¶ 165-66, 203-05, 231-32. Alex Turnbull similarly objected to



                                   134
              the terms and pricing of the first offering. ¶¶ 168-69. These objections reflected

              that the enormous fees that the bank received were not “standard terms”

              commensurate with the (nominal) risk the bank was undertaking.

          g. Goldman’s client, 1MDB, was a sovereign wealth fund backstopped at all times

              by the Malaysian government. Furthermore, two of the bonds were backed by an

              Abu Dhabi sovereign wealth fund. ¶¶ 172, 196. These facts demonstrate that even

              if Goldman had taken the bonds onto its own books without lining up buyers in

              advance, there was nothing inherently risky about their terms that would justify

              the outsized fees.

          h. 1MDB awarded Goldman each of the bond deals on a no-bid basis even though a

              competitive process involving bids from other investment banks was typical and

              likely would have resulted in lower fees for 1MDB. ¶¶ 156, 165, 194.

          i. In truth, 1MDB paid the enormous fees to Goldman not to account for the

              underwriting risks assumed by the bank, but to ensure speed and secrecy for each

              offering. ¶¶ 174-75, 200, 221-23.

       339.   Goldman’s statements identified in paragraph 337 that “no fees or commissions

were paid by 1MDB or Goldman Sachs to external third parties in connection with these

transactions, nor have we ever been asked by 1MDB or others to pay such fees or

commissions” were materially false or misleading when made because, in fact, hundreds of

millions of dollars were paid or shared by Goldman or 1MDB with external third parties

numerous times, and for the following reasons:

          a. Senior bankers at Goldman were explicitly informed that Goldman would need to

              pay bribes in order to consummate Project Magnolia. For example, in late



                                             135
   February 2012, during a meeting between Leissner, Ng, Low, a 1MDB official,

   and others in connection with Project Magnolia, Low told Leissner and Ng that to

   secure the guarantee from IPIC for the first bond offering, they would have to pay

   bribes and kickbacks to government officials in Malaysia and Abu Dhabi. The

   Goldman bankers agreed. ¶ 153.

b. After the February 2012 meeting, Ng informed Vella that Goldman would have to

   pay bribes and kickbacks to foreign officials for the bond deal to occur. Vella

   agreed. ¶ 154.

c. Leissner later pled guilty to two counts of conspiracy to violate the FCPA and to

   commit money laundering, admitting that hundreds of millions of dollars in

   kickbacks were paid by Goldman and 1MDB to third parties in connection with

   each 1MDB bond offering. ¶ 282. Pursuant to his guilty plea, Leissner admitted

   that Goldman was asked by 1MDB, Low, and others to pay fees and commissions

   to external third parties in connection with each 1MDB bond offering. Id.

d. The affidavit supporting Leissner’s arrest warrant, sworn to by an FBI agent

   familiar with the underlying facts and approved by a federal magistrate judge,

   stated that Leissner’s and his co-conspirators’ payment of kickbacks and bribes to

   foreign government officials was done “to secure and retain business for

   [Goldman Sachs]” and that Leissner was “acting on behalf of [Goldman Sachs]”

   in making those payments. ¶ 281.

e. Nearly one third of net proceeds from Project Magnolia was diverted within days

   of its closing on May 21, 2012. ¶ 191. According to the FBI’s review of financial

   records, approximately: (i) $577 million was moved to a Swiss bank account held



                                  136
   by a shell company incorporated in the British Virgin Islands; (ii) $295 million

   was transferred into a shell account at a Singapore bank controlled by Low’s

   associate, Eric Tan; and (iii) other funds from the Low-controlled Eric Tan

   account went to officials at IPIC and 1MDB. ¶¶ 191-92.

f. Nearly half of the net proceeds for Project Maximus ($790 million), which closed

   on October 17, 2012, was diverted from 1MDB’s account within 48 hours after

   Goldman sent the offering’s proceeds to the fund, again moving to the Swiss bank

   account of a shell company incorporated in the British Virgin Islands. ¶ 207.

g. Beginning in late October 2012, the stolen Project Maximus funds were used for,

   among other things, the following purposes: (i) $200 million was funneled into an

   account controlled by Low, who used the stolen funds for personal uses; (ii) $473

   million was diverted to pay for luxury properties; and (iii) $238 million was

   funneled to Riza Aziz, Najib’s son and Low’s close friend. ¶ 208.

h. In early December 2012, Leissner used $1.7 million to pay kickbacks to Najib and

   two high-ranking 1MDB officials. Id.

i. On January 17, 2013, within days of being awarded Project Catalyze, Leissner

   made two transfers of $1 million each to two high-ranking 1MDB officials. ¶ 219.

j. After Goldman wired the proceeds from Project Catalyze, which closed on March

   19, 2013, into 1MDB’s BSI account, over one-third was immediately siphoned off

   to Low and others. Low transferred $681 million into an account owned by Najib

   at AmBank in Kuala Lumpur; approximately $27.3 million from another account

   was paid to a New York jeweler to buy a 22-carat pink diamond pendant and




                                   137
               necklace for Najib’s wife, Rosmah; and approximately $58 million was

               transferred to an auction house in New York to acquire artwork for Low. ¶ 241.

           k. Assisted by Goldman’s Dubai office, Low contributed $50 million stolen from the

               1MDB bond offerings that Goldman had underwritten to the purchase of Coastal

               Energy with CEPSA, a subsidiary of IPIC, whose officials had taken kickbacks

               (including from the 1MDB bond proceeds) to guarantee the 1MDB bond

               offerings. ¶ 264. A week after the Coastal Energy acquisition closed, CEPSA paid

               Low $350 million, which Goldman’s Shawki knew at the time. ¶¶ 264-65.

       340.    On July 21, 2015, Bloomberg published an article titled “The Scandal That Ate

Malaysia,” which, among other things, discussed Goldman’s “close ties” with 1MDB and the

Company’s role in the much maligned 1MDB bond issuances. In the article, Naylor, speaking on

behalf of the Company, once again attempted to tamp down concerns arising from Goldman’s

outsized fees on the 1MDB bond deals, stating:

       These transactions were individually tailored financing solutions, the fee and
       commissions for which reflected the underwriting risks assumed by Goldman
       Sachs on each series of bonds, as well as other prevailing conditions at the time,
       including spreads of credit benchmarks, hedging costs, and general market
       conditions.

       341.    Goldman’s statement identified in paragraph 340 that “[t]hese transactions were

individually tailored financing solutions” was materially false or misleading when made

because it created the misleading impression that the bond offerings were legitimate transactions

providing “financing solutions” for specific needs that Goldman considered when “individually

tailor[ing]” each transaction, rather than hurried and secretive no-bid deals serving as conduits

for embezzlement, bribery, and political graft on a massive scale, and omitted the true facts

concerning the nature of the transactions so to not make the statement misleading. In truth, as set

forth in paragraph 339, the “financing” 1MDB received from each bond offering was used in

                                               138
large part to funnel kickbacks and illicit payments to government officials and other external

third parties and intermediaries.

       342.      In addition, Goldman’s statement identified in paragraph 340 that “the fee and

commissions for which reflected the underwriting risks assumed by Goldman Sachs on each

series of bonds” was materially false or misleading when made for the reasons set forth in

paragraph 338.

       343.      Finally, Goldman’s statement identified in paragraph 340 that the massive fees it

received reflected “prevailing conditions at the time” was also materially false or misleading

when made because Goldman had already secretly pre-sold the offerings prior to closing, such

that “prevailing conditions” in the market had little impact on the value of the bonds or the

bank’s cost to hedge its exposure created by purchasing the bonds.

       344.      On July 20, 2016, Reuters published an article titled “Goldman Sachs under

spotlight in Malaysian fund scandal,” which reported that Goldman’s work on the 1MDB bond

deals was under investigation by U.S. prosecutors. In the article, Goldman denied any complicity

in the 1MDB scandal, stating:

       We helped raise money for a sovereign wealth fund that was designed to invest in
       Malaysia. We had no visibility into whether some of those funds may have been
       subsequently diverted to other purposes.

       345.      On July 28, 2016, Goldman repeated the materially false or misleading statement

identified in paragraph 344 in response to inquiries from The Guardian. The Company’s

statement was published in a The Guardian article that same day titled “1MDB: The inside story

of the world’s biggest financial scandal.”

       346.      Goldman’s statements identified in paragraphs 344-45 that 1MDB was “a

sovereign wealth fund that was designed to invest in Malaysia” were materially false or

misleading when made because they created the misleading impression that 1MDB was a

                                                139
legitimate investment fund, as opposed to a vehicle for embezzlement, bribery, and political

graft, and omitted the true facts concerning 1MDB so as to not make the statement misleading. In

truth, as set forth in paragraph 339, 1MDB was used in large part to funnel kickbacks and illicit

payments to government officials and other third parties and intermediaries.

       347.    Goldman’s statements identified in paragraphs 344-45 that “[w]e had no visibility

into whether some of those funds may have been subsequently diverted to other purposes” was

materially false or misleading when made for the following reasons:

           a. Goldman executives, including Leissner, diverted funds from each of the 1MDB

               offerings for others to pay kickbacks and bribes to foreign officials in order to

               secure 1MDB business. ¶¶ 208, 219. Leissner has pled guilty to two counts of

               conspiracy to violate the FCPA and to commit money laundering, admitting that

               hundreds of millions of dollars in kickbacks were paid by Goldman and 1MDB to

               third parties in connection with each 1MDB bond offering. ¶¶ 281-82.

           b. Vella and Ng agreed that bribes and kickbacks would be paid to government

               officials in Malaysia and Abu Dhabi pursuant to the 1MDB bond deals. ¶ 154.

               After the deals closed, Leissner, Low, and others made such corrupt payments

               from funds obtained from the offerings. ¶¶ 208, 219.

           c. Goldman had “visibility” into how the Project Catalyze proceeds were used, as it

               expressly agreed with 1MDB in the offering circular to “ensure” that funds from

               the third offering were not diverted to third parties in violation of anti-corruption

               (e.g., the FCPA) or anti-money laundering laws. ¶ 239. This promise was

               predicated on Goldman’s continued monitoring of how the funds from the

               offering were used.



                                               140
d. Goldman committed to post-transaction monitoring of its transactions,

   particularly those as significant to the bank as the three 1MDB bond offerings, as

   part of its BSC-led reforms to improve the bank’s compliance safeguards. ¶¶ 58-

   59. This, too, required an ability to see how the funds raised from its transactions

   were used. Id.

e. Goldman’s role as 1MDB’s exclusive, no-bid underwriter during the 2012-2013

   period in which the three offerings were brought to market necessarily involved

   “visibility” into 1MDB’s use of funds, as the three offerings occurred in quick

   succession, closing over a period of ten months.

f. Project Maximus began just ten days after Project Magnolia closed. ¶ 194. During

   the course of Goldman’s due diligence in underwriting Project Maximus, it had

   access to 1MDB’s financial records, which reflected the disappearance without

   explanation of hundreds of millions of dollars from the Project Magnolia proceeds

   almost immediately after closing. ¶ 198.

g. Similarly, during Goldman’s due diligence in underwriting Project Catalyze,

   which began only weeks after Project Maximus closed, it had access to 1MDB’s

   financial records reflecting the nearly instantaneous disappearance without

   explanation of funds from Project Maximus’s closing. ¶ 230. Access to 1MDB’s

   financial records during due diligence for the second two offerings afforded

   Goldman ample “visibility” into how funds from such offerings were used.

h. Goldman knew, or should have learned during its due diligence for each offering,

   that: Ernst & Young had been fired by 1MDB before certifying the fund’s first set

   of financial records; KPMG had not issued an unqualified opinion regarding



                                   141
              1MDB within its first year of operations and was itself soon fired; members of

              1MDB’s board, including its chairman, resigned shortly after 1MDB was formed

              amid questions over the diversion of funds from the Islamic Bond Issuance;

              Goldman’s own outside counsel had raised concerns regarding 1MDB’s usage of

              tiny BSI to house the funds from the transactions; and BSI itself had questioned

              regarding its role in receiving 1MDB bond issuance funds. ¶¶ 94-99.

          i. The unexplained wealth of individuals associated with 1MDB, like Low, which

              was widely reported in the press, indicated that money was being siphoned off

              from 1MDB’s offerings, especially in light of Goldman’s prior rejections of Low

              as a private wealth client based upon concerns as to the unexplained source of his

              wealth. ¶¶ 91, 123-24, 146, 211-13.

          j. It was widely reported that Najib was prone to graft, and media reports regularly

              contended that 1MDB was being used as a political piggybank and slush fund.

              ¶¶ 84-85. Before Project Magnolia closed, as Goldman readied 1MBD’s first

              offering, tens of thousands of Malaysians protested Najib’s corruption in Kuala

              Lumpur. ¶ 184. Prior to the third offering, Najib’s Prime Minister opposition

              candidate, Anwar Ibrahim, promised he would close down 1MDB if elected due

              to the concerns surrounding the fund. ¶ 225.

       348.   On December 22, 2016, The Wall Street Journal published an article titled

“Goldman Sachs Ties to Scandal-Plagued 1MDB Run Deep,” which reported on the intimate

relationship between Goldman, 1MDB, and Low, stating, “Goldman holds a unique position for

its closeness to 1MDB and the principals.” Consistent with its prior denials, Goldman stated:




                                             142
“We have found no evidence showing any involvement by Jho Low in the 1MDB bond

transactions[.]”

       349.   Goldman’s statement identified in paragraph 348 was materially false or

misleading when made because there was ample evidence that Low was inextricably linked to,

and in fact ran, 1MDB, including the following facts:

           a. Before, during, and after the 1MDB bond transactions, Defendant Blankfein

              privately met with Low to discuss Goldman’s business with 1MDB, with Low

              acting as a representative of and intermediary for 1MDB. In fact, Blankfein

              personally met with Low at least three times, including: (i) on November 22,

              2009, Blankfein met privately with Low, Leissner, and Prime Minister Najib,

              during which “Najib requested Blankfein and Goldman Sachs to support and

              consult on 1MDB investments” (¶¶ 127-28); (ii) in or around December 2012,

              Blankfein met one-on-one with Low in New York during which Low served as

              1MDB’s exclusive representative (¶ 214); and (iii) on September 25, 2013,

              Blankfein met with Low, Najib, and Leissner to discuss how Goldman could do

              more business with 1MDB. ¶¶ 252-53.

           b. Goldman’s Legal Department, firmwide Capital Committee, and firmwide

              Suitability Committee knew Low was serving as a critical middleman for

              Goldman and 1MDB before the first offering even closed. For example, on April

              4, 2012, Leissner informed the Legal Department’s Co-Head of Business

              Intelligence and the two important firmwide committees that Low had played a

              key role in the deal by setting up the meeting between Goldman and IPIC to

              arrange IPIC’s guarantee of the offering, as Goldman had required. ¶ 162.



                                              143
c. Goldman’s own internal records reflected as early as January 2009 that its

   bankers were doing business with Low and that Low was integral to its business

   with 1MDB and its predecessor fund, the TIA. ¶ 114. Goldman emails reviewed

   by federal investigators and detailed in pleadings filed by the DOJ confirm this

   fact. For example, after a January 6, 2009 meeting, Low emailed two senior

   Goldman bankers about his “partnership” with Goldman. Id. Similarly, a January

   15, 2009 email from the future executive director of 1MDB to Leissner, Ng, and

   Low affirmed the connection, stating “I think it best to get [Jho Low] involve[d]

   at every stage” in Goldman’s advisory role to the TIA. ¶ 115.

d. Subsequent internal emails, available to Goldman’s Global Compliance and Legal

   Departments, reflected internal discussion about Low’s involvement in the 1MDB

   bond deals as the offerings were being prepared. For example, a March 27, 2012

   email from a Goldman Managing Director referred to Low as “the 1MDB

   Operator or intermediary in Malaysia.” ¶ 161.

e. Senior Goldman bankers working on the 1MDB deal team knew throughout the

   bank’s relationship with 1MDB that Low was Najib’s representative for the fund

   and the key facilitator between the fund and Goldman. For example, according to

   a later filing by the DOJ, Vella, Leissner, and Ng “understood that [Low] would

   act as an intermediary between 1MDB, [Najib] and other government officials

   from Abu Dhabi.” ¶ 152. In conjunction with his guilty plea to federal charges of

   conspiring with Vella, Ng, Low, and others to violate the FCPA and anti-money

   laundering laws, Leissner admitted that he and other Goldman executives knew

   at all times that Low was involved in the 1MDB bond transactions. ¶ 282.



                                  144
f. Throughout Goldman’s relationship with 1MDB, Goldman’s 1MDB deal team

   openly traveled with Low and conducted business publicly with Low in the

   presence of third parties. ¶¶ 159, 235-36. For example, in arranging Project

   Magnolia, Vella, Leissner, and Ng travelled with Low to Abu Dhabi to meet with

   IPIC executives. ¶ 159.

g. Knowledge of Low’s involvement extended beyond the 1MDB deal team and

   Blankfein to other bankers. For example, as reported by The Wall Street Journal,

   Low’s involvement in the 1MDB bond deal was “widely discussed” at Goldman’s

   Asia offices during the bank’s work on Project Magnolia. ¶ 160.

h. From 2009 to 2014, Goldman bankers in Hong Kong, Singapore, and Dubai

   repeatedly confirmed to the Global Compliance and Legal Departments that Low

   was Goldman’s partner in transactions in Malaysia and the Middle East. ¶¶ 121-

   22, 140-44, 162, 261. The Conflicts Department—a third unit responsible for

   maintaining internal controls—also learned of the bankers’ work with Low and

   advised against it. ¶ 143.

i. Other business units also knew of Low’s relationship to the 1MDB deal team. For

   example, in September 2009, Ng told a PWM banker in Switzerland that Low was

   an important business relationship and “currently our partner in a lot of

   transactions in [M]alaysia. Largely the mid-east and [M]alaysia rationship [sic].”

   ¶ 121. In March 2011, Leissner and Ng referred Low for a PWM account in the

   Singapore office, meeting with a PWM banker to solicit “guidance” on getting

   him approved after Low had again been rejected. ¶ 147.




                                  145
           j. Low was inextricably intertwined with Najib, another indication of Low’s

              involvement in 1MDB, which Najib controlled. ¶ 90. For example, internal

              Goldman records reveal that, on March 26, 2010, Ng emailed Leissner and

              another banker at Goldman, emphasizing that Low was “close to [Najib]” and that

              Low’s involvement “would be helpful . . . especially with [Najib].” ¶ 131. Later,

              in April 2014, Evans and Leissner attended a gathering with Najib that Low

              arranged on a superyacht in Saint-Tropez. ¶ 251.

           k. Tan Boon-Kee, one of Leissner’s colleagues on the 1MDB team, worked with

              Low and continued to do so after she left Goldman and became Deutsche Bank’s

              head of client coverage for Southeast Asia. ¶ 254. Tan Boon-Kee represented yet

              another senior banker at Goldman with intimate knowledge of Low’s relationship

              to 1MDB and the Company.

       350.   On June 12, 2017, The Wall Street Journal published an article titled “U.S.

Lawsuit Links $2.2 Billion Deal to Malaysian 1MDB Scandal.” That article reported that

Goldman had rejected the notion that Low or any firm controlled by him was a Goldman client

in the Coastal Energy deal.

       351.   The next day, June 13, 2017, CNBC followed up on The Wall Street Journal story

with an article titled “US reportedly investigating 1MDB ties to acquisition of US energy

company,” which reported that U.S. authorities were “probing whether the $2.2 billion purchase

of U.S. energy company Coastal Energy was partly financed with funds allegedly funneled from

. . . 1MDB.” In a statement to CNBC on June 13, 2017, Goldman refused to comment on The

Wall Street Journal article, but again denied the Company had any connection to Jho Low and

others involved in the Coastal deal, stating: “Neither Jho Low, Jynwel or SRG were a client of



                                             146
Goldman Sachs in connection with the Coastal Energy acquisition” and that “[p]rior to reading

the government filing, GS was not aware of, and had no involvement in, any transaction in

which SRG sold its stake in a joint venture back to CEPSA.”

       352.   Goldman’s statements identified in paragraph 351 were materially false or

misleading when made for the following reasons:

          a. Goldman’s Dubai office had been advising Low on acquiring Coastal Energy

              since 2012, when Coastal Energy rejected Low’s initial proposal concerning a

              potential acquisition. ¶¶ 258-59.

          b. Goldman’s Dubai deal team, led by Co-Head of Investment Banking Shawki, was

              advising Low’s SRG entity on the 2014 acquisition in which Low and IPIC’s

              CEPSA subsidiary would acquire Coastal Energy. ¶¶ 260.

          c. Goldman’s Global Compliance Department was aware of Low’s role in the 2014

              acquisition of Coastal Energy. As reported by The Wall Street Journal, one

              compliance officer wrote to a banker on the Coastal Energy deal in 2013, “Jho

              Low’s appearance is not welcome.” ¶ 261.

          d. Global Compliance then encouraged the deal team to restructure the deal to

              attenuate the link to Low: “[I]f he is in a very minor role . . . then we may be able

              to live with it.” ¶ 261. This statement acknowledged that Low would still be

              involved in the deal.

          e. After Global Compliance’s half-hearted warning, rather than backing out of the

              deal, Goldman ostensibly switched clients, nominally advising CEPSA on the

              same side of the deal that Low had brought to Shawki in the first place. ¶ 262.

              Low’s SRG remained a joint venturer with CEPSA.



                                              147
           f. On November 20, 2013, it was announced that CEPSA and SRG would acquire

               Coastal Energy for $2.2 billion. ¶ 263. The announcement stated that CEPSA,

               advised by Goldman, had created a new entity, funded by Low’s SRG, to execute

               the acquisition, and contained a statement by Jho Low falsely describing him as a

               “spokesperson” for SRG. Id.

           g. The deal involved Low investing $50 million, but one week after the transaction

               closed, CEPSA transferred $350 million to Low’s, purportedly to buy out Low’s

               shares in Coastal Energy—a 600% return over several days. Goldman’s Shawki

               told executives at IPIC at the time of the $350 million CEPSA payment to Low

               that the transfer was a “reward” to Low for having found the deal that Low had

               first proposed to Goldman in 2012. ¶¶ 264-65. The statement reflected Shawki’s

               knowledge of the payment to Low and the transaction in which SRG supposedly

               sold its stake in the joint venture back to CEPSA.

       353.    On March 13, 2018, The Australian published an article titled “Goldman fires

back at Alex Turnbull.” As detailed above, Turnbull—an Executive Director at the bank from

2010 to 2014—had raised concerns internally about the pricing on the first 1MDB bond deal and

the lack of clarity about the intended use of the funds, stating: “What the f--- is going on with

this? The pricing is nuts, what is the use of the funds?”391 Turnbull subsequently “got a talking-

to by compliance” and was sidelined from his position with Goldman.

       354.    In the The Australian article, Goldman refuted Turnbull’s comments, once more

stating: “We helped raise money for a sovereign fund that was designed to invest in Malaysia . .




391
   Jamie Smyth & Don Weinland, Australia PM’s son says Goldman sidelined him after 1MDB warnings, Fin.
Times (Mar. 8, 2018), https://www.ft.com/content/cb0fbf5c-2284-11e8-9a70-08f715791301.

                                                 148
. . We had no visibility into whether some of those funds may have been subsequently diverted

to other purposes.”

       355.    Naylor, speaking on behalf of the Company, repeated this statement to The New

York Times, which published his statements in articles issued on June 14, 2018 and June 15,

2018, “Goldman Sachs Made Millions in Malaysia. Now Malaysia Wants Some Money Back”

and “Malaysia Plans to Seek Payback From Goldman,” respectively.

       356.    Goldman’s statements identified in paragraph 354-55 that 1MDB was a

“sovereign fund that was designed to invest in Malaysia” were materially false or misleading

when made because they created the misleading impression that 1MDB was a legitimate

investment fund, as opposed to a vehicle for embezzlement, bribery, and political graft, and

omitted the true facts concerning 1MDB. In truth, as set forth in paragraph 339, 1MDB was not

principally investing in Malaysia, but rather was being bilked to fund Low’s lifestyle, Najib’s

political career, and kickbacks and illicit payments to government officials and other third parties

and intermediaries.

       357.    Goldman’s statements identified in paragraph 354-55 that “[w]e had no visibility

into whether some of those funds may have been subsequently diverted to other purposes”

were materially false or misleading when made for the reasons set forth in paragraph 347.

       358.    On June 22, 2018, The Wall Street Journal published an article titled “Malaysia’s

Tall Order: Trying to Recoup 1MDB Funds,” which chronicled the Malaysian authorities’ plans

to, among other things, recoup the excessive fees paid to Goldman in connection with the 1MDB

transactions. In response, Goldman rejected any notion that the lucrative fees it received were

improper, stating:

       What we earned from the debt transactions reflected the risks we assumed at the
       time, specifically movement in credit spreads tied to specific bonds, hedging costs


                                                149
       and underlying market conditions . . . . Comparisons to ‘fees’ from plain vanilla
       underwritings, which involve far less risk, are not relevant.

       359.   Goldman’s statements identified in paragraph 358 were materially false or

misleading when made for the reasons set forth in paragraph 338.

       360.   On July 30, 2018, Bloomberg published an article titled “1MDB Lawyer Who

Worked With Goldman a Target in Swiss Probe,” which again raised concerns and speculation

about the use of 1MDB funds from the offerings underwritten by Goldman. In response, Naylor

repeated the Company’s prior denials:

       We had no visibility into whether some of those funds may have been
       subsequently diverted to other purposes by the issuer, members of the Malaysian
       Government or others.

       361.   Goldman’s statements identified in paragraph 360 were materially false or

misleading when made for the reasons set forth in paragraph 347.

       362.   In the same July 30, 2018, Bloomberg article, Goldman stated that the

commissions of nearly $600 million it had received reflected “the risks we assumed at the time,

specifically movement in credit spreads tied to the specific bonds, hedging costs and underlying

market conditions.”

       363.   Goldman’s statements identified in paragraph 362 were materially false or

misleading when made for the reasons set forth in paragraphs 338 and 343.

       364.   On August 7, 2018, The New York Times published an article titled “Goldman

Sachs is Said to Be Under U.S. Scrutiny in Malaysian Inquiry.” In the article, Goldman

spokesperson Michael DuVally once again rejected the notion of any wrongdoing by the

Company, stating on behalf of Goldman that “Goldman Sachs had no visibility into whether

some of the funds we helped raise for 1MDB may have been subsequently diverted to other

purposes.”


                                              150
       365.    Goldman’s statement identified in paragraph 364 was materially false or

misleading when made for the reasons set forth in paragraph 347.

       366.    On November 1, 2018, Blankfein was interviewed by Andrew Ross Sorkin of The

New York Times and CNBC at The New York Times DealBook Conference by Andrew Ross

Sorkin of The New York Times and CNBC.

       367.    During the interview, Sorkin asked Blankfein about the 1MDB “scam” and the

two Goldman bankers who had been charged with money laundering. Blankfein responded that

Goldman’s involvement in the 1MDB fraud was the work of a rogue banker stating, in part, “one

of our people lied to us and evaded our systems and our controls.” Blankfein further assured

Sorkin that “when we see bad behavior we act, we jump on it and act on it.” Finally, Sorkin

pressed Blankfein asking “[t]here were reports though that … senior management, there were red

flags on this beforehand. Fair?” Blankfein, trying to distance himself from the fraud stated, in

part, “I am not aware of them.”

       368.    Defendant Blankfein’s statement identified in paragraph 367 that “when we see

bad behavior we act, we jump on it and act on it” was materially false or misleading when made

for the following reasons:

           a. As part of his guilty plea, Leissner admitted the corrupt nature of Goldman’s

               corporate culture and that the investment bank teams were permitted to bypass or

               disregard the Company’s risk management and compliance controls. ¶ 282. In

               addition, the FBI affidavit submitted in support of Leissner’s arrest warrant

               expressly indicated that the purpose of the criminal scheme was to secure business

               for Goldman. ¶ 281.




                                              151
b. The indictment, returned by a federal grand jury, stated that “the business culture

   at [Goldman Sachs], particularly in South Asia, was highly focused on

   consummating deals, at times prioritizing this goal ahead of the proper

   operation of its compliance functions.” ¶ 283.

c. The Individual Defendants and members of Goldman senior management pushed

   to “monetize the state,” a strategy that encouraged Goldman bankers to disregard,

   manipulate, or otherwise bypass internal controls and compliance protocols to

   take advantage of and capture revenues from unsophisticated sovereign entities.

   ¶ 63.

d. When executives including David Ryan and Alex Turnbull spoke out against the

   1MDB offerings and deal terms, they were silenced by senior management,

   including Defendant Cohn, who “drowned out the voices who were

   uncomfortable with the [deal]” and effectively forced those individuals out of the

   firm. ¶ 155.

e. Goldman’s top executives—including Blankfein and Cohn—disregarded obvious

   red flags and warnings from the bank’s own compliance personnel relating to

   each 1MDB offering and approved the three deals. ¶¶ 187-89, 206, 240.

f. Despite Global Compliance’s repeated determination that “no business” or

   “relationship” should be allowed with Low, and the fact that the PWM and Legal

   Departments had also flagged and rejected Low, Defendant Blankfein and other

   Goldman executives continued to meet with Low. ¶¶ 127-28, 214, 251-53.

   Disregarding findings of the Global Compliance, PWM, and Legal Departments ,

   the Goldman Southeast Asia deal team also worked actively with Low, thereby



                                   152
   flouting Goldman’s risk management representations in the drive for profits.

   ¶¶ 122, 131, 141-44, 147-48, 159, 162, 234-35, 261.

g. Defendants disregarded red flags concerning the destination and purpose of the

   proceeds from bond offerings in a country, and on behalf of a Prime Minister,

   known for corruption. For example: (i) the first bond offering set aside $744

   million for “general corporate purposes,” including future acquisitions; (ii) the

   second bond offering set aside over $1 billion for “general corporate purposes;”

   and (iii) the third bond offering contained no stated purpose for the fund’s use. ¶¶

   177, 201, 222. The circular for the Project Catalyze offering in March 2013 stated

   that the venture “has yet to adopt a formal investment plan or establish investment

   criteria” and “does not have any specific investment, merger, stock exchange,

   asset acquisition, reorganization, or other business combination under

   consideration or contemplation.” It further stated that the venture “has not, nor has

   anyone on [its] behalf, contacted, or been contacted by, any potential target

   investment or had any discussions, formal or otherwise, with respect to such a

   transaction.” ¶ 222.

h. Defendants summarily dismissed concerns raised by Goldman’s outside counsel,

   Linklaters, over the suspicious nature of the third 1MDB bond offering, citing the

   use of the small Swiss private bank, BSI, as suspect. ¶¶ 237-38.

i. While Goldman’s Global Compliance Department acceded to 1MDB’s insistence

   on depositing funds in the tiny Swiss bank, “BSI compliance officials questioned

   why the 1MDB bond proceeds were being sent to their bank, given its small size

   and its focus as a manager of wealthy people’s money.” ¶¶ 234-35.



                                   153
j. Defendants disregarded the information in 1MDB’s financial record, which would

   have revealed that billions of dollars raised with Goldman’s assistance had gone

   missing and had disappeared in huge financial transactions to unverified accounts

   all over the world, in exchange for which 1MDB received no valuable assets,

   mostly in locations well-known for money laundering. ¶¶ 191-92, 207-08, 241-42.

k. Although Goldman and Cohn publicly stated, and the BSC required, that

   Goldman engage in post-transaction monitoring, almost immediately following

   each of the three bond offerings, hundreds of millions of dollars were siphoned

   off for illegal purposes, activities which would have been revealed in either post-

   transactional monitoring, or, for the second or third offering, pre-transactional due

   diligence. ¶¶ 194, 198.

l. Lazard refused to take part in Project Magnolia, telling Goldman that 1MDB was

   overpaying and that the deal “smacked of political of corruption.” Undeterred,

   Goldman provided its own self-serving valuation of assets to justify a $2.7 billion

   figure and forged ahead with the offering. ¶¶ 181-82.

m. Leissner, Ng, and Vella approved the payment of bribes and kickbacks to foreign

   officials in connection with the first 1MDB bond offering. ¶¶ 153-54.

n. Goldman’s executives, including Blankfein and Cohn, did not hold members of

   senior management like Vella and Leissner accountable for misconduct, but

   rewarded them with lucrative payouts, promotions, and awards. ¶¶ 37, 42, 193,

   210, 270.




                                   154
       369.    Defendant Blankfein’s statement identified in paragraph 367 that he was “not

aware” of red flags relating to the 1MDB fraud was materially false or misleading when made

for the following reasons:

           a. Before, during, and after 1MDB’s three offerings, Blankfein met with Low to

               discuss how Goldman could serve as investment bank to and generate fees from

               1MDB. All of these meetings occurred after Goldman’s own Global Compliance

               Department had flagged Low as someone with whom the bank should not do

               business or have a relationship. In November 2009, after Global Compliance had

               already rejected Low as a PWM client due to press coverage of his spending and

               his unexplained wealth, Blankfein met with Low, Leissner, and Najib, where the

               four specifically discussed Goldman serving as 1MDB's investment bank and laid

               the groundwork for Goldman's ensuing work for 1MDB. ¶¶ 127-29. Between the

               second and third 1MDB bond offerings, Blankfein met one-on-one with Low in

               late 2012. ¶ 214. In September 2013, Blankfein again met with Low, Leissner,

               and Najib in New York to discuss how Goldman could do more business with

               1MDB. ¶¶ 252-53. As the Harvard Law School Forum on Corporate Governance

               and Financial Regulation observed, a meeting with Blankfein, one of the world’s

               most powerful bankers, would come after only “the most rigorous background

               checks and due diligence.” ¶ 215.

           b. Blankfein personally reviewed and approved each of the three 1MDB bond

               offerings despite a host of red flags arising from each deal’s terms. ¶¶ 189, 206,

               240. He was thus personally exposed to the following red flags, among others: the

               $600 million in fees awarded with no competing bids and naming Goldman as



                                              155
   sole lead underwriter (¶¶ 156, 165, 178-80, 190, 193-94, 209, 217, 228); the speed

   and secrecy required by Low, Najib, and 1MDB when no business justification

   explained these imperatives (¶¶ 174-75, 200, 221-23); the timing of the deals,

   with the second following immediately after the first (¶¶ 194, 202), and the third

   coming right before a heavily contested election (¶¶ 221-26); the unusually high

   yields on the bonds (¶¶ 176, 228); the fact that there was no stated purpose for

   nearly 50% of the funds raised by the first offering, 58% of the second offering,

   and 100% of the third offering (¶¶ 177, 201, 222); and the unusual, feeless

   guarantee from IPIC, whose director had a reputation (and had been sued) for

   demanding kickbacks (¶ 151).

c. Malaysia was widely known as one of the most corrupt countries in the world in

   which to do business, where foreign companies doing business with the

   government “[had] to be aware that they’re likely to be asked for a bribe. ¶ 81.

   Najib, who oversaw 1MDB and whom Blankfein and other Goldman executives

   repeatedly courted, was notoriously corrupt, with allegations of graft predating his

   premiership and growing exponentially after he became Prime Minister (¶¶ 84-

   87), resulting in mass street protests before the first offering even closed

   (¶¶ 184-85).




                                   156
        B.      Materially False or Misleading Statements                     Regarding       Goldman’s
                Operational Risk Management and Risk Controls

        370.    Against the backdrop of Defendants’ steadfast denials regarding their complicity

in the 1MDB fraud, Defendants also repeatedly touted Goldman’s purportedly robust risk

controls in the firm’s financial statements issued throughout the Class Period.392

        371.    On November 5, 2014, Goldman filed its 3Q 2014 Form 10-Q. In a section titled

“Operational Risk Management” in the 3Q 2014 Form 10-Q and all subsequent Forms 10-K and

Forms 10-Q filed by Goldman during the Class Period, Defendants stated that the Company

“maintain[ed] a comprehensive control framework designed to provide a well-controlled

environment to minimize operational risks.”393

        372.    In a section titled “Risk Identification and Reporting” in the 3Q 2014 10-Q, 2014

Form 10-K, 2015 Form 10-K, and certain other Forms 10-Q filed by Goldman during the Class

Period, Defendants stated that:

        The core of our operational risk management framework is risk identification
        and reporting. We have a comprehensive data collection process, including
        firmwide policies and procedures, for operational risk events.

        We have established policies that require managers in our revenue-producing
        units and our independent control and support functions to escalate operational
        risk events. When operational risk events are identified, our policies require that
        the events be documented and analyzed to determine whether changes are
        required in . . . [Goldman’s] systems and/or processes to further mitigate the
        risk of future events.

                                                 ****



392
    Appendix A hereto and incorporated herein by reference identifies and defines Goldman’s SEC filings and
Annual Reports referenced herein and the Defendant or Defendants who made the statements therein or omitted
material information therefrom.
393
    3Q 2014 Form 10-Q at 178; 2014 Form 10-K at 112; 2015 Form 10-K at 110; 2016 Form 10-K at 105; 2017
Form 10-K at 99-100; 1Q 2015 Form 10-Q at 160; 2Q 2015 Form 10-Q at 167; 3Q 2015 Form 10-Q at 162; 1Q
2016 Form 10-Q at 149; 2Q 2016 Form 10-Q at 156; 3Q 2016 Form 10-Q at 156; 1Q 2017 Form 10-Q at 142; 2Q
2017 Form 10-Q at 146; 3Q 2017 Form 10-Q at 146; 1Q 2018 Form 10-Q at 138; 2Q 2018 Form 10-Q at 145; and
3Q 2018 Form 10-Q at 145.

                                                   157
        In addition, our firmwide systems capture internal operational risk event data,
        key metrics such as transaction volumes, and statistical information such as
        performance trends. We use an internally[-]developed operational risk
        management application to aggregate and organize this information. Managers
        from both revenue-producing units and independent control and support
        functions analyze the information to evaluate operational risk exposures and
        identify businesses, activities or products with heightened levels of operational
        risk.394

        373.    Subsequently-filed Forms 10-K and Forms 10-Q contained substantially similar

statements in a section titled “Risk Identification and Assessment”:

        The core of our operational risk management framework is risk identification
        and assessment. We have a comprehensive data collection process, including
        firmwide policies and procedures, for operational risk events.

        We have established policies that require our revenue-producing units and our
        independent control and support functions to report and escalate operational risk
        events. When operational risk events are identified, our policies require that the
        events be documented and analyzed to determine whether changes are required
        in our systems and/ or processes to further mitigate the risk of future events.

        In addition, our systems capture internal operational risk event data, key metrics
        such as transaction volumes, and statistical information such as performance
        trends. We use an internally developed operational risk management application
        to aggregate and organize this information. One of our key risk identification and
        assessment tools is an operational risk and control self-assessment process,
        which is performed by managers from both revenue-producing units and
        independent control and support functions. This process consists of the
        identification and rating of operational risks, on a forward-looking basis, and
        the related controls. The results from this process are analyzed to evaluate
        operational risk exposures and identify businesses, activities or products with
        heightened levels of operational risk.395

        374.    Defendants’ bolded statements identified in paragraphs 371-73 were materially

false or misleading when made for the following reasons:




394
    3Q 2014 Form 10-Q at 179; 2014 Form 10-K at 113; 2015 Form 10-K at 111; 2016 Form 10-K at 106; 2017
Form 10-K at 100; 1Q 2015 Form 10-Q at 161; 2Q 2015 Form 10-Q at 168; 3Q 2015 Form 10-Q at 163; 1Q 2016
Form 10-Q at 150; 2Q 2016 Form 10-Q at 157; and 3Q 2016 Form 10-Q at 157.
395
    2016 Form 10-K at 106; 2017 Form 10-K at 100; 1Q 2017 Form 10-Q at 142; 2Q 2017 Form 10-Q at 146-47; 3Q
2017 Form 10-Q at 146-47; 1Q 2018 Form 10-Q at 138; 2Q 2018 Form 10-Q at 146; and 3Q 2018 Form 10-Q at
146.

                                                   158
a. As part of his guilty plea, Leissner admitted to the corrupt nature of Goldman’s

   corporate culture and that the investment bank teams were permitted to bypass or

   disregard the Company’s risk management and compliance controls. ¶ 282. In

   addition, the FBI affidavit submitted in support of Leissner’s arrest warrant

   expressly indicated that the purpose of the criminal scheme was to secure business

   for Goldman. ¶ 281.

b. Goldman’s system of internal controls was routinely disregarded and could be

   easily circumvented because the Company’s business culture prioritized profit

   and attracting and closing deals ahead of Goldman’s stated risk management and

   controls. To that end, Leissner admitted as part of his guilty plea, that he

   “conspired with other employees and agents of Goldman Sachs very much in line

   of its culture of Goldman Sachs to conceal facts from certain compliance and

   legal employees of Goldman.” ¶ 282.

c. The indictment, returned by a federal grand jury, stated that “the business culture

   at [Goldman Sachs], particularly in South Asia, was highly focused on

   consummating deals, at times prioritizing this goal ahead of the proper

   operation of its compliance functions.” ¶ 283.

d. The Individual Defendants and members of Goldman senior management pushed

   to “monetize the state,” a strategy that encouraged Goldman bankers to disregard,

   manipulate, or otherwise bypass internal controls and compliance protocols to

   take advantage of and capture revenues from unsophisticated sovereign entities.

   ¶ 63.




                                   159
e. Far from “regularly reinforc[ing] [a] strong culture of escalation and

   accountability” and “effective risk management,” when executives including

   David Ryan and Alex Turnbull spoke out against the 1MDB offerings and deal

   terms, they were silenced by senior management, including Defendant Cohn, who

   “drowned out the voices who were uncomfortable with the [deal]” and effectively

   forced those individuals out of the firm. ¶ 155.

f. Goldman’s top executives—including Blankfein and Cohn—disregarded obvious

   red flags and warnings from the bank’s own compliance personnel relating to

   each 1MDB offering and approved the three deals. ¶¶ 187-89, 206, 240.

g. Despite Global Compliance’s repeated determination that “no business” or

   “relationship” should be allowed with Low, and the fact that the PWM and Legal

   Departments had also flagged and rejected Low, Defendant Blankfein and other

   Goldman executives continued to meet with Low. ¶¶ 127-28, 214, 251-53.

   Disregarding findings of Global Compliance, PWM, and Legal, the Goldman

   Southeast Asia deal team also worked actively with Low, thereby flouting

   Goldman’s risk management representations in the drive for profits. ¶¶ 122, 131,

   141-44, 147-48, 159, 162, 234-35, 261.

h. Defendants disregarded red flags concerning the destination and purpose of the

   proceeds from bond offerings in a country, and on behalf of a Prime Minister,

   known for corruption. For example: (i) the first bond offering set aside $744

   million for “general corporate purposes,” including future acquisitions; (ii) the

   second bond offering set aside over $1 billion for “general corporate purposes;”

   and (iii) the third bond offering contained no stated purpose for the proceeds



                                   160
   raised. ¶¶ 177, 201, 222. Indeed, the circular for the Project Catalyze offering in

   March 2013 stated that the venture “has yet to adopt a formal investment plan or

   establish investment criteria” and “does not have any specific investment,

   merger, stock exchange, asset acquisition, reorganization, or other business

   combination under consideration or contemplation.” It further stated that the

   venture “has not, nor has anyone on [its] behalf, contacted, or been contacted by,

   any potential target investment or had any discussions, formal or otherwise, with

   respect to such a transaction.” ¶ 222.

i. Defendants summarily dismissed concerns raised by Goldman’s outside counsel,

   Linklaters, over the suspicious nature of the third 1MDB bond offering, citing the

   use of the small Swiss private bank, BSI, as highly suspect. ¶¶ 237-38.

j. While Goldman’s Global Compliance Department acceded to 1MDB’s insistence

   on depositing funds in the tiny Swiss bank, “BSI compliance officials questioned

   why the 1MDB bond proceeds were being sent to their bank, given its small size

   and its focus as a manager of wealthy people’s money.” ¶ 234-35.

k. Defendants disregarded the information in 1MDB’s financial statements, which

   revealed inexplicable layering and innumerable huge financial transactions all

   over the world, in exchange for which 1MDB received no valuable assets,

   including prominently in locations well-known for money laundering. ¶¶ 191-92,

   207-08, 241-42.

l. Although Goldman and Cohn publicly stated, and the BSC required, that

   Goldman engage in post-transaction monitoring, almost immediately following

   each of the three bond offerings, hundreds of millions of dollars were siphoned



                                    161
               off for illegal purposes, activities which would have been revealed in either post-

               transaction monitoring, or for the second or third offering, pre-transaction due

               diligence. ¶¶ 194, 198.

           m. Lazard refused to take part in Project Magnolia, telling Goldman it believed

               1MDB was overpaying and that the deal “smacked of political corruption.”

               Undeterred, Goldman provided its own self-serving valuation of assets to justify a

               $2.7 billion figure and forged ahead with the offering. ¶ 181-82.

           n. Goldman’s executives, including Blankfein and Cohn, did not hold members of

               senior management like Vella and Leissner accountable for misconduct, but

               rewarded them with lucrative payouts, promotions, and awards. ¶¶ 37, 42, 193,

               210, 270.

       375.    In a section titled “Overview and Structure of Risk Management” in the 3Q 2014

Form 10-Q, Defendants stated that “We reinforce a culture of effective risk management in our

training and development programs as well as the way we evaluate performance, and recognize

and reward our people.” Defendants repeated or incorporated by reference these statements in

Goldman’s Forms 10-K filed in 2014, 2015, and 2016, and Forms 10-Q filed in 2015, 2016, and

2017.396

       376.    Defendants then made similar statements in the Company’s 2017 Form 10-K and

2018 Forms 10-Q, declaring: “We reinforce a culture of effective risk management, consistent




396
    3Q 2014 Form 10-Q at 152; 2014 Form 10-K at 87; 2015 Form 10-K at 85; 2016 Form 10-K at 83; 1Q 2015
Form 10-Q at 134; 2Q 2015 Form 10-Q at 141; 3Q 2015 Form 10-Q at 136; 1Q 2016 Form 10-Q at 125; 2Q 2016
Form 10-Q at 132; 3Q 2016 Form 10-Q at 133; 1Q 2017 Form 10-Q at 120; 2Q 2017 Form 10-Q at 124; and 3Q
2017 Form 10-Q at 124.

                                                 162
with our risk appetite statement, in our training and development programs, as well as the way

we evaluate performance, and recognize and reward our people.”397

        377.    Defendants likewise focused investors’ attention on Goldman’s purportedly

strong “culture” of risk management, control, and operation in the Company’s 3Q 2014 Form 10-

Q, Forms 10-K filed 2014, 2015, and 2016, and Forms 10-Q filed in 2015, 2016, and 2017,

stating: “We regularly reinforce . . . [Goldman’s] strong culture of escalation and

accountability across all divisions and functions.”398              This statement was repeated in

substantially similar form in the Company’s 3Q 2017 Form 10Q, 2017 Form 10-K and

subsequent Forms 10-Q.399

        378.    Defendants’ bolded statements identified in paragraphs 375-77 representing that

Goldman had measures in place to actively “reinforce a culture of effective risk management”

were materially false or misleading when made for the reasons set forth in paragraph 374.

        379.    Defendants’ bolded statements identified in paragraphs 375-77 that Goldman

purportedly mandated a “strong culture of escalation and accountability across all divisions

and functions” and “evaluate[d] performance, and recognize and reward our people”

consistent with a commitment to effective risk management were materially false or misleading

when made for the following reasons:

            a. Goldman’s senior management, including Cohn and Mark Schwartz, sidelined,

                overruled, and took adverse employment action against individuals within




397
    2017 Form 10-K at 78; 1Q 2018 Form 10-Q at 115; 2Q 2018 Form 10-Q at 123; and 3Q 2018 Form 10-Q at 123.
398
    3Q 2014 Form 10-Q at 151; 2014 Form 10-K at 86; 2015 Form 10-K at 84; 2016 Form 10-K at 82; 1Q 2015
Form 10-Q at 133; 2Q 2015 Form 10-Q at 140; 3Q 2015 Form 10-Q at 135; 1Q 2016 Form 10-Q at 124; 2Q 2016
Form 10-Q at 131; 3Q 2016 Form 10-Q at 132; 1Q 2017 Form 10-Q at 120; and 2Q 2017 Form 10-Q at 124.
399
    2017 Form 10-K at 77; 1Q 2018 Form 10-Q at 114; 3Q 2017 Form 10-Q at 124; 2Q 2018 Form 10-Q at 123; and
3Q 2018 Form 10-Q at 123.

                                                   163
   Goldman that questioned the 1MDB deals, including Ryan and Turnbull. ¶¶ 165-

   66, 168-69, 203-05, 231-32.

b. Despite his role in facilitating the illicit 1MDB bond offerings, Goldman

   rewarded Leissner by making him one of the firm’s most powerful bankers,

   elevating him to Chair of Southeast Asia, awarding him a seat on the bank’s elite

   Partnership Committee, and paying him an eight-figure compensation package in

   consideration for his work with Low and 1MDB. ¶¶ 210, 270. In 2012 alone,

   Leissner was rewarded with over $10 million in salary and bonuses, making him

   one of Goldman’s top-paid bankers. ¶ 210. Indeed, Leissner was promoted to

   Partner and the Head of Investment Banking for Southeast Asia even after he was

   caught passing information outside the firm without authorization. ¶ 109.

c. Vella was promoted—twice—eventually rising to Co-Head of Investment

   Banking in Asia (¶ 42), despite his role in the Libya affair, which resulted in an

   investigation by regulators into potential FCPA violations (¶ 74), and his

   involvement in facilitating the 1MDB bond offerings.

d. Hazem Shawki remained Co-Head of Investment Banking, even after

   disregarding Global Compliance’s rejection of Low as a PWM client in order to

   advise Low on and consummate the Costal Energy deal. ¶¶ 262-65.

e. Goldman permitted Leissner to operate without restraint as a Goldman Partner

   because he successfully originated lucrative business on its behalf. ¶¶ 107, 110.

   Leissner remained one of the firm’s most powerful and well compensated bankers

   despite: (i) currying favor with the Malaysia government by arranging for the

   twenty-five-year-old daughter of Malaysia’s U.S. ambassador to intern at



                                  164
                Goldman—a move that could have exposed the firm to FCPA liability; and (ii)

                engaging in an affair with the same intern that was widely discussed within the

                firm. ¶ 109.

        380.    In the 2013 Form 10-K and subsequent Forms 10-K and Forms 10-Q filed by

Goldman during the Class Period, Defendants stated or incorporated by reference the following

concerning the Company’s compliance controls, including with respect to the FCPA:

        While we have invested and continue to invest significant resources in training
        and in compliance monitoring, the geographical diversity of our operations,
        employees, clients and customers, as well as the vendors and other third parties
        that we deal with, greatly increases the risk that we may be found in violation of
        such rules or regulations and any such violation could subject us to significant
        penalties or adversely affect our reputation.400

        381.    Defendants’ statements identified in paragraph 380 were materially false or

misleading when made for the reasons set forth in paragraphs 374 and 379. The statements were

also materially false or misleading because the “risk that [Goldman] may be found in violation of

[anti-corruption and anti-money laundering laws]” had already materialized because Vella,

Leissner, and Ng had already agreed to pay and did in fact pay kickbacks and bribes to foreign

officials, and Shawki had structured a sham transaction by which Low laundered proceeds from

his thefts of 1MDB funds. ¶¶ 260-66.

        C.      Materially False or Misleading Statements Regarding                           Goldman’s
                Reputation, Integrity, and Compliance with Relevant Laws

        382.    Throughout the Class Period, Defendants made statements in Goldman’s Annual

Reports concerning Goldman’s commitment to reputation, integrity, and complying with the

letter and spirit of all applicable laws, and the Company’s purportedly firm-wide “dedication”



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    2013 Form 10-K at 39; 2014 Form 10-K at 42; 2015 Form 10-K at 43; 2016 Form 10-K at 44; 2017 Form 10-K
at 42; and Forms 10-Q filed in 3Q 2014 through 3Q 2018 (incorporating by reference Goldman’s “Risk Factors”
from the Company’s Forms 10-K).

                                                   165
and “unswerving adherence” to ensuring appropriate business practices. These representations,

which are listed below, took on heightened significance following Goldman’s missteps before

and during the financial crisis and its purported implementation of the BSC guidelines.

       383.    In Goldman’s Annual Reports for 2014 through 2017, Defendants made the

following statements in a section titled “The Goldman Sachs Business Principles”:

       Our assets are our people, capital and reputation. If any of these is ever
       diminished, the last is the most difficult to restore. We are dedicated to complying
       fully with the letter and spirit of the laws, rules and ethical principles that govern
       us. Our continued success depends upon unswerving adherence to this standard.

                                                  ****
       Integrity and honesty are at the heart of our business.

       384.    Defendants’ statements identified in paragraph 383 were materially false or

misleading when made for the following reasons:

           a. Leissner, Ng, and Vella approved the payment of bribes and kickbacks to foreign

               officials in connection with the first 1MDB bond offering. ¶¶ 153-54.

           b. Leissner has pleaded guilty to two counts of conspiracy to violate the FCPA and

               to commit money laundering, admitting that kickbacks were paid by 1MDB

               and/or Goldman to third parties in connection with each 1MDB bond offering.

               Leissner stated under oath at his plea hearing that “conceal[ing] facts from certain

               compliance and legal employees of Goldman Sachs” was “very much in line of

               [Goldman’s] culture.” ¶ 282.

           c. Goldman senior management and executives, including Cohn, pushed to

               “monetize the state,” a strategy that encouraged Goldman bankers to manipulate

               the executives of sovereign wealth funds due to their relative lack of




                                                166
   sophistication in order to generate maximum fees with little regard for how the

   funds actually performed for the investing countries. ¶ 63.

d. Blankfein personally met with Low on three separate occasions despite the fact

   that compliance personnel in several departments had already rejected Low

   multiple times as a Goldman client due to suspicions about where he had obtained

   his wealth. ¶¶ 127-28, 214, 252-53.

e. In 2014, despite the myriad red flags Defendants disregarded to consummate the

   three 1MDB deals, Blankfein lauded Vella and Leissner’s work with 1MDB:

   “Look at what Tim and Andrea did in Malaysia. We have to do more of that.”

   ¶ 270.

f. Goldman’s senior management, including Cohn and Mark Schwartz, sidelined,

   overruled, and took adverse employment action against individuals within

   Goldman that questioned the 1MDB deals, including Ryan and Turnbull. ¶¶ 165-

   66, 168-69, 203-05, 231-32.

g. Despite his role in facilitating the illicit 1MDB bond offerings, Goldman

   rewarded Leissner by making him one of the firm’s most powerful bankers,

   elevating him to Chair of Southeast Asia, handing him a seat on the bank’s elite

   Partnership Committee, and paying him an eight-figure compensation package in

   consideration for Leissner’s work with Low and 1MDB. ¶¶ 210, 270. In 2012

   alone, Leissner was rewarded with over $10 million in salary and bonuses,

   making him one of Goldman’s top-paid bankers. Indeed, Leissner was promoted

   to Partner and the Head of Investment Banking for Southeast Asia even after he

   was caught passing information outside the firm without authorization. ¶ 109.



                                   167
         h. Vella was twice promoted, eventually rising to Co-Head of Investment Banking in

             Asia (¶ 42), despite his role in the Libya affair, which resulted in an investigation

             by regulators into potential FCPA violations (¶ 74), and involvement in

             facilitating the 1MDB bond offerings.

         i. Hazem Shawki remained Co-Head of Investment Banking even after disregarding

             Global Compliance’s rejection of Low as a PWM client in order to advise Low on

             and consummate the Costal Energy deal. ¶¶ 260-65.

         j. Goldman ignored its own outside counsel’s concerns that 1MDB was utilizing

             tiny BSI to handle the massive offerings, which counsel believed was suspicious

             in and of itself. ¶¶ 237-38.

         k. Goldman permitted Leissner to operate without restraint as a Goldman Partner

             because he successfully originated lucrative business on its behalf. ¶¶ 107, 110.

             Leissner remained one of the firm’s most powerful and well compensated bankers

             despite: (i) currying favor with the Malaysia government by arranging for the

             twenty-five-year-old daughter of Malaysia’s U.S. ambassador to intern at

             Goldman—a move that could have exposed the firm to FCPA liability; and (ii)

             engaging in an affair with the same intern that was widely discussed within the

             firm. ¶ 109.

         l. Goldman’s primary U.S. regulator, the Federal Reserve, was “critical of

             Goldman’s vetting of the 1MDB deals, noting that they had posed reputational

             risk.” ¶ 255.

      385.   In a section titled “Risk Management” in Goldman’s 2015, 2016, 2017, and 2018

Proxies, Defendants made the following statement: “Effective risk management underpins



                                             168
everything that we do, and compensation is carefully designed to be consistent with the safety

and soundness of our firm.”401

           386.     Defendants’ statement identified in paragraph 385 that “[e]ffective risk

management underpins everything that we do” was materially false or misleading when made

for the reasons set forth in paragraphs 374, 379, and 384.

           387.     Defendants’ statement that “compensation is carefully designed to be consistent

with the safety and soundness of our firm” was materially false or misleading because, despite

his role in facilitating the illicit 1MDB bond offerings, Goldman rewarded Leissner by making

him one of the firm’s most powerful bankers, elevating him to Chair of Southeast Asia, handing

him a seat on the bank’s elite Partnership Committee, and paying him an eight-figure

compensation package in consideration for Leissner’s work with Low and 1MDB. ¶¶ 210, 270.

In 2012 alone, Leissner was rewarded with over $10 million in salary and bonuses, making him

one of Goldman’s top-paid bankers. ¶ 210. Indeed, Leissner was promoted to Partner and the

Head of Investment Banking for Southeast Asia even after he was caught passing information

outside the firm without authorization. ¶ 109. Similarly: (i) Vella was twice promoted, eventually

rising to Co-Head of Investment Banking in Asia (¶ 42), despite his role in the Libya affair,

which resulted in an investigation by regulators into potential FCPA violations (¶ 74), and

involvement in facilitating the 1MDB bond offerings; and (ii) Shawki was permitted to remain

Co-Head of Investment Banking even after disregarding Global Compliance’s rejection of Low

as a PWM client in order to advise Low on and consummate the Costal Energy deal. ¶¶ 260-65.




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      2015 Proxy at 46; 2016 Proxy at 40; 2017 Proxy at 44; and 2018 Proxy at 48.

                                                         169
       388.    During a May 31, 2016 presentation at the Deutsche Bank Global Financial

Services Investor Conference, Defendant Cohn touted the importance of reputation, identifying it

as a “critical consideration[]” in all of Goldman’s new business opportunities:

       While returns are important, there are other factors that we also consider in our
       assessment.

       Our business decisions aren’t binary and management’s judgment is crucial. We
       look at every transaction in the context of our broader client relationships. Our
       goal is to build strong, enduring relationships over time. Additionally, operational
       and reputational risks are critical considerations when we evaluate new
       business opportunity.

       389.    Defendant Cohn’s statements identified in paragraph 388 were materially false or

misleading when made for the reasons set forth in paragraph 372. Moreover, in stark contrast to

Cohn’s representations, Goldman executives, including the Individual Defendants, reprimanded

and/or silenced Goldman employees who raised alarms concerning Goldman’s dealings with

1MDB and the risks posed by the relationship. ¶¶ 165-66, 168-69, 203-05, 231-32.

       D.      Materially False or Misleading Statements Regarding Goldman’s Financial
               Results

       390.    During the Class Period, Defendants identified Goldman’s debt underwriting

practices and results as a source and positive driver for the financial performance of the

Company’s Investment Banking segment. Specifically, in a section titled “Non-Interest

Revenues” in the 2014 Form 10-K at page 56, Defendants reported and touted the revenue

Goldman received in debt underwritings for 2013, stating:

       Non-Interest Revenues. Investment banking revenues on the consolidated
       statements of earnings were $6.00 billion for 2013, 22% higher than 2012,
       reflecting significantly higher revenues in underwriting, due to strong revenues in
       both equity and debt underwriting. Revenues in equity underwriting were
       significantly higher compared with 2012, reflecting an increase in client activity,
       particularly in initial public offerings. Revenues in debt underwriting were
       significantly higher compared with 2012, principally due to leveraged finance
       activity. Revenues in financial advisory were essentially unchanged compared
       with 2012.

                                               170
        391.    Having elected to identify and put into play the drivers of the Investment Banking

segment’s performance, Defendants violated their duties to disclose specific information so as to

render their discussion of the sources of Goldman’s financial results not misleading. Specifically,

Defendants’ identification of the sources of Goldman’s increased debt underwriting revenues

was materially misleading when made because Defendants failed to disclose that Goldman’s debt

underwriting results for 2012 and 2013 were not the result of legitimate, lawful, or sustainable

business operations; in truth, at least $600 million in debt underwriting revenue over the course

of those years was derived from illicit conduct and violations of the law relating to the 1MDB

bond offerings.

        E.      Materially False or Misleading Statements Made in Sarbanes-Oxley
                Certifications

        392.    Goldman’s Forms 10-K and Forms 10-Q filed during the Class Period contained

substantially similar false certifications signed by Defendants Blankfein and Schwartz attached

as Exhibit 31.1 to each such filing.402 Within Exhibit 31.1, Defendants Blankfein and Schwartz

attested, in pertinent part:

        1. I have reviewed this Annual Report on Form 10-K for the year ended
        December 31, 2013 of The Goldman Sachs Group, Inc.;

        2. Based on my knowledge, this report does not contain any untrue statement of
        a material fact or omit to state a material fact necessary to make the statements
        made, in light of the circumstances under which such statements were made,
        not misleading with respect to the period covered by this report;

                                                  ****

        4. The registrant’s other certifying officer(s) and I are responsible for establishing
        and maintaining disclosure controls and procedures (as defined in Exchange Act
        Rules 13a-15(e) and 15d-15(e)) and internal control over financial reporting (as

402
    Blankfein signed certifications contained in Goldman’s 2014 Form 10-K, 2015 Form 10-K, 2016 Form 10-K and
2017 Form 10-K, in addition to Forms 10-Q filed by the Company in 3Q 2014 through 2Q 2018. Schwartz signed
certifications contained in Goldman’s 2014 Form 10-K, 2015 Form 10-K and 2016 Form 10-K, in addition to Forms
10-Q filed by the Company in 3Q 2014 through Q3 2016.

                                                    171
       defined in Exchange Act Rules 13a-15(f) and 15d-15(f)) for the registrant and
       have:

       (a) Designed such disclosure controls and procedures, or caused such
       disclosure controls and procedures to be designed under our supervision, to
       ensure that material information relating to the registrant, including its
       consolidated subsidiaries, is made known to us by others within those entities,
       particularly during the period in which this report is being prepared;

                                             ****

       (c) Evaluated the effectiveness of the registrant’s disclosure controls and
       procedures and presented in this report our conclusions about the effectiveness
       of the disclosure controls and procedures . . . .

                                             ****

       5. The registrant’s other certifying officer(s) and I have disclosed, based on our
       most recent evaluation of internal control over financial reporting, to the
       registrant’s auditors and the audit committee of the registrant’s board of directors
       (or persons performing the equivalent functions):

       (a) All significant deficiencies and material weaknesses in the design or operation
       of internal control over financial reporting which are reasonably likely to
       adversely affect the registrant’s ability to record, process, summarize and report
       financial information; and

       (b) Any fraud, whether or not material, that involves management or other
       employees who have a significant role in the registrant’s internal control over
       financial reporting.

       393.    Defendants’ bolded statements identified in paragraph 392 were materially false

or misleading when made for the reasons set forth in paragraphs 374, 379, 381, 384, 387, 389,

391 and because they did not disclose that Goldman’s system of internal controls was routinely

disregarded and could be easily circumvented because the Company’s business culture, in fact,

prioritized profit and attracting and closing deals ahead of proper risk management and control.

VII.   LOSS CAUSATION

       394.    As alleged herein, Defendants engaged in a scheme to deceive investors by

misrepresenting and omitting material facts concerning: (i) the 1MDB deals and Low; (ii)



                                               172
Goldman’s operational risk management and risk controls; (iii) the Company’s reputation,

integrity, and compliance with the law; and (iv) Goldman’s financial results.

       395.    Defendants’ materially false or misleading statements and omissions of material

fact alleged above in Section VI caused the price of Goldman’s common stock to be artificially

inflated and/or maintained artificial inflation in the price of Goldman common stock, and

operated as a fraud or deceit upon Class Period purchasers of Goldman’s common stock.

       396.    Lead Plaintiff and other Class members suffered actual economic loss and were

damaged when the foreseeable risks, including, but not limited to, the risks of criminal

investigation, prosecution, and related fines and penalties, created and concealed by Defendants’

misstatements and omissions materialized through the disclosure of new information concerning

the fraud alleged herein on at least November 9, 2018, November 12, 2018, November 29, 2018,

December 17, 2018 and December 20-21, 2018. As alleged in this Section, these partial

corrective disclosures and/or materializations of the foreseeable risks concealed by Defendants’

fraud caused foreseeable declines in the price of Goldman common stock by removing portions

of the artificial inflation in the price of Goldman common stock caused and/or maintained by the

materially false or misleading statements alleged herein.

       397.    On November 9, 2018, multiple news sources reported that Blankfein met with

Low and Najib in 2013. For example, The Wall Street Journal reported in an article titled

“Goldman Sachs’s Ex-CEO Lloyd Blankfein Met Malaysian at Center of 1MDB Scandal,” that

Blankfein met with Low and Najib in 2013, “after the Wall Street bank’s compliance department

had raised multiple concerns about [Low’s] background and said that the bank shouldn’t do

business with him.” As The Wall Street Journal revealed: “Mr. Leissner arranged for Mr. Najib,




                                               173
Malaysia’s then prime minister, to sit down with around 20 high-level Goldman clients at New

York’s Mandarin Oriental hotel. Mr. Low attended with Mr. Najib.”

         398.   The information regarding Blankfein’s 1MDB meeting in 2013 with Low and

Najib revealed on November 9, 2018 was a foreseeable consequence of, and within the zone of

risk concealed by, Defendants’ misstatements and omissions. As a direct result of this partial

corrective disclosure and/or materialization of the risks concealed by Defendants’ fraud, the

price of Goldman common stock declined by $9.04 per share, or approximately 3.90%, from an

opening price of $231.69 per share on November 9, 2018, to a closing price of $222.65 per share

on November 9, 2018.

         399.   Analysts following Goldman cited the announcement of Blankfein’s meeting with

Najib, Low, and Leissner concerning 1MDB in explaining the Company’s share price decline.

For example, a November 12, 2018 report from Wolfe Research stated, “GS shares sell off on

1MDB fears. GS shares have underperformed the past two sessions on headlines relating to

the firm’s involvement with 1MDB.” Citing Blankfein’s meeting with Low, the report

specifically noted that Goldman’s public role in the 1MDB scandal has “escalated in recent

days.”

         400.   On November 12, 2018, Bloomberg reported in an article titled “Malaysia

Seeking ‘Full Refund’ From Goldman For 1MDB Deals,” that Malaysia’s Finance Minister, Lim

Guan Eng, had stated his intention to rely on Goldman’s “indirect” admission of wrongdoing and

U.S. kleptocracy law to aid Malaysia in recouping the fees 1MDB paid Goldman for its role in

the 2012 and 2013 offerings. Lim further stated: “I would be happy if we can get around 30

percent net after all the expenses incurred [from the 1MDB scandal].”




                                              174
         401.   The Malaysian government’s plans to seek repayment of Goldman’s underwriting

fees was a foreseeable consequence of, and within the zone of risk concealed by Defendants’

misstatements and omissions. As a direct result of this partial corrective disclosure and/or

materialization of the risks concealed by Defendants’ fraud, the price of Goldman common stock

declined by $16.60, or approximately 7.46%, from a closing price of $222.65 on November 9,

2018, the last trading day before publication of the November 12, 2018 Bloomberg article, to a

closing price of $206.05 per share on November 12, 2018.

         402.   Several media outlets observed that the disclosure of the Malaysian government’s

plans to seek a refund from Goldman caused the significant decline in the price of Goldman

common stock on November 12, 2018. For example, a Reuters article titled “Goldman Sachs

bankers ‘cheated’ Malaysia over 1MDB: PM Mahathir,” which was published after the close of

trading on November 12, 2018, observed that “Goldman’s stock fell to a near two-year low on

Monday after Malaysian Finance Minister Lim Guan Eng said his country would seek a ‘full

refund’ of the around $600 million in fees [Goldman] earned.” In a November 12, 2018 article

titled “Goldman shares drop the most in 7 years as Malaysia seeks refunds on doomed deal,”

CNBC similarly reported that: “Shares of Goldman fell by the most since November 2011 after

Malaysia’s financial minister said that he was seeking a full refund on fees from an investment

deal.”

         403.   On November 29, 2018, after market close, Bloomberg published an article titled

“Goldman Takes Another 1MDB Blow as Fed Steps Up Probe.” In this article, Bloomberg

reported that the Federal Reserve was “ramping up its investigation into how executives dodged

[Goldman’s] internal controls while helping Malaysian authorities raise billions of dollars that

later went missing.” Citing “people briefed on the matter,” the article further noted that the probe



                                                175
was examining “the actions of Goldman Sachs as well as individuals and has been gaining

momentum in recent weeks,” and that “the bank’s troubles look far from resolution.”

       404.    The disclosure of the Federal Reserve’s accelerating investigation into Goldman’s

involvement in the 1MDB scandal was a foreseeable consequence of, and within the zone of risk

concealed by, Defendants’ misstatements and omissions. As a direct result of this partial

corrective disclosure and/or materialization of the risks concealed by Defendants’ fraud, the

price of Goldman common stock declined by $4.16 per share, or approximately 2.13%, from a

closing price of $194.85 per share on November 29, 2018, to a closing price of $190.69 per share

on November 30, 2018.

       405.    Over the next month, analysts expressly attributed the November 2018 declines in

Goldman’s common stock price to the announcements of new information related to 1MDB. For

example, in a December 7, 2018 analyst report regarding the November 2018 performance of the

banking sector, Arbat Capital characterized Goldman as a “key underperformer,” noting that the

Company’s stock price “decreased by 15% [month-over-month] in absolute terms on news about

[the] Malaysia 1MDB Wealth Fund probe.” Examining the cause for this decrease, the Arbat

Capital report specifically discussed the disclosures on November 9 and 12, 2018, and the

resulting stock price declines, stating:

       [Goldman] tumbled by 11.1% during trading days of 9 and 12 November on
       Malaysia 1MDB Wealth Fund . . . . Despite the news about [the] DOJ
       investigation [that] appeared on November 1, [Goldman]’s quotes didn’t react
       then as it was perceived as an investigation just against former [Goldman]
       bankers. Later, it became evident that [Goldman] wouldn’t be able to avoid
       fines. Also, Malaysia began to turn the heat on [Goldman] to fully refund all
       fees which were paid for the deal. The latter is around $600 mln but overall
       payments (including fines) could be up to $2 Bn.

As the Arbat Capital report further explained:
       Given the fact that some other GS employees, not involved in the illegal scheme,
       knew about it and this activity was not stopped by the bank then, it means that

                                                 176
       GS’s internal control procedures are not good enough and that regulators will
       undoubtedly impose fines on GS.

       406.    On December 17, 2018, The New York Times published an article titled “Malaysia

Files Criminal Charges Against Goldman Sachs Over 1MDB Scandal.” This article reported that

the new charges, filed by the Malaysian government earlier that day, accused Goldman Sachs of

making false and misleading statements related to the 1MDB scandal and were “a rare

international rebuke of an institution that has long represented the pinnacle of money and

power.” According to The New York Times, the Malaysian government said that it would seek

criminal fines in excess of $2.7 billion in connection with the charges. The government also filed

charges against a number of individuals, including Leissner and Low, and stated that it would

soon file charges against Ng.

       407.    The Malaysian government’s decision to file criminal charges against Goldman,

which The New York Times reported “could complicate any argument by Goldman that its

dealings with 1MDB were the fault of rogue bankers,” was a foreseeable consequence of, and

within the zone of risk concealed by, Defendants’ misstatements and omissions. As a direct

result of this partial corrective disclosure and/or materialization of the risks concealed by

Defendants’ fraud, the price of Goldman common stock declined by $4.16 per share, or

approximately 2.75%, from a closing price of $172.77 per share on December 14, 2018, the prior

trading day, to a closing price of $168.01 per share on December 17, 2018.

       408.    A December 17, 2018, Wells Fargo analyst report titled “GS: New Criminal

Charges” attributed the decline in Goldman’s stock price to the new criminal charges and the

other disclosures related to 1MDB. Specifically, in lowering its price target for Goldman

common stock by $70, from $305 to $235, Wells Fargo identified “three key issues [that] weigh

on [Goldman] stock.” The first of these issues was “1MDB” and the report explained: “regarding


                                               177
1MDB, the new news is that Malaysia has filed criminal charges, seeks fines worth more than

the $2.7b misappropriated and $600m in fees GS earned.” The report further commented:

       Haircut for 1MDB. There is no way to minimize the mishap with 1MDB, and
       now it is a matter of assigning blame and the degree. We [estimate] charges could
       range anywhere from $300m (half of underwriting fees) to as high as $5b in a
       worst case scenario. We assumed a $600m charge in 4Q18 related to 1MDB. This
       has such a wide range given the degree of uncertainty. Moreover, this has
       political, regulatory, and legal repercussions that could drag out for 12-18 months
       (our [estimate]). Management’s radio silence hasn’t done anyone any favors
       either, particularly with a new CEO at the helm.

In discussing “[w]hat needs to go right for [Goldman] to work,” Wells Fargo stated that

“[h]aving management quantify 1MDB risk would be a good starting point, and providing color

on discussions with the Fed could help as well.”

       409.    A December 19, 2018 analyst report from Argus Capital similarly attributed the

recent decline in the price of Goldman common stock to news regarding the Company’s

involvement in the 1MDB scandal. Specifically, Argus Capital stated that the price of Goldman’s

common stock had dropped 33% year-to-date and ascribed Goldman’s “more recent

underperformance to elevated risk concerns from the Malaysia matter.” In discussing

“Management & Risks,” Argus Capital noted that “[i]n December 2018, Malaysia’s attorney

general filed criminal charges against Goldman related to a $6.5 billion bond offering in

2012/2013 for the Malaysia Development Bhd.” and that “Malaysia authorities are seeking

damages in excess of the $2.7 billion in misappropriated funds and $600 million in fees received

by Goldman.” Argus Capital observed that the charges, “do[] raise concerns about the firm’s

compliance oversight including individuals and committees that approved the various stages of

the transaction.”

       410.    After market close on December 20, 2018, the Financial Times disclosed that

Lim, the Malaysian Finance Minister, intended to seek $7.5 billion in reparations from Goldman


                                              178
Sachs related to its role in the 1MDB scandal. In an article, titled “Malaysia finance minister

wants $7.5bn from Goldman,” the Financial Times reported Lim’s statement that: “We are not

only looking at just the [bond] fees and issuance [volumes]. We are looking for a much larger

sum.” Lim claimed that Goldman should return $6.5 billion—the sum of the three bond deals

that Goldman underwrote in 2012 and 2013, the proceeds of which “were not used for national

development but w[ere] siphoned out”—as well as an additional $1 billion to account for the

$600 million in underwriting fees Goldman received and the “higher than market rate” bond

coupons. The Financial Times further reported that, according to Lim, any potential resolution of

the charges that Malaysia was pursuing against Goldman would have to be presented for

approval “to me and the cabinet whether what [Goldman] offer[s] is acceptable or not.”

        411.    On December 21, 2018, before market hours, Bloomberg published an article

titled “Singapore to Expand 1MDB Criminal Probe to Include Goldman,” which reported that

Singapore had added Goldman to its criminal probe into funds linked to 1MDB. As Bloomberg

further reported: “Police in the city-state had been examining Goldman’s relationship with the

Malaysian state investment company since at least late 2017, but until recently the firm’s local

unit itself wasn’t a focus of any investigation.” Bloomberg also observed: “Singapore’s widened

probe opens a potential new battle front for Goldman less than a week after Malaysia filed the

first criminal charges against the firm over a relationship that spawned one of the biggest

scandals in its history.”

        412.    The announcement of Malaysia’s intention to seek $7.5 billion in penalties against

Goldman and Singapore’s expansion of its criminal probe to include Goldman were foreseeable

consequences of, and within the zone of risk concealed by, Defendants’ misstatements and

omissions. As a direct result of this partial corrective disclosure and/or materialization of the



                                               179
risks concealed by Defendants’ fraud, the price of Goldman common stock declined by $8.36 per

share, or approximately 4.96%, from a closing price of $168.41 per share on December 20, 2018,

to a closing price of $160.05 per share on December 21, 2018.

       413.    Defendants’ wrongful conduct directly and proximately caused the damages

suffered by Lead Plaintiff and other Class members. Throughout the Class Period, the prices at

which Lead Plaintiff and other Class members purchased or otherwise acquired Goldman

common stock were artificially inflated as a result of Defendants’ materially false or misleading

statements and omissions of material fact identified herein at Section VI. Specifically, the

material misrepresentations and omissions detailed above had the effect of causing the price of

Goldman common stock to be artificially inflated and/or maintained artificial inflation in the

price of Goldman common stock throughout the Class Period.

       414.    Had Defendants disclosed complete, accurate, and truthful information

concerning these matters during the Class Period, Lead Plaintiff and other Class members would

not have purchased or otherwise acquired Goldman common stock at the artificially inflated

prices that they paid. It was entirely foreseeable to Defendants that misrepresenting and

concealing these material facts and risks from the public would cause the prices of Goldman

common stock to be artificially inflated or maintain artificial inflation in the price of Goldman

common stock. It was also foreseeable that the ultimate disclosure of this information, and/or the

materialization of the risks concealed by Defendants’ material misstatements and omissions,

would cause the price of Goldman common stock to decline, as the inflation resulting from

and/or maintained by Defendants’ earlier materially false or misleading statements and

omissions of material fact was removed from the stock price. Accordingly, Defendants’ conduct,

as alleged herein, proximately caused foreseeable losses to Lead Plaintiff and to the other



                                               180
members of the Class who purchased or otherwise acquired Goldman common stock during the

Class Period.

       415.     In summary, the economic losses, i.e., damages, suffered by Lead Plaintiff and

other Class members are direct and foreseeable results of: (i) Defendants’ materially false or

misleading statements and omissions of material fact, which caused the price of Goldman

common stock to be artificially inflated and/or maintained artificial inflation in the price of

Goldman common stock; and (ii) the subsequent significant decline in the price of Goldman

common stock when the truth was gradually revealed and/or the risks previously concealed by

Defendants’ fraud gradually materialized on at least November 9, 2018, November 12, 2018,

November 29, 2018, December 17, 2018, and December 20-21, 2018, removing portions of the

artificial inflation from the price of Goldman common stock.

VIII. THE FRAUD ON THE MARKET PRESUMPTION OF RELIANCE APPLIES

       416.     At all relevant times, the market for Goldman’s common stock was efficient for

the following reasons, among others:

           a. Goldman’s common stock met the requirements for listing, and was listed and

                actively traded on the NYSE, a highly efficient electronic stock market, under the

                ticker symbol “GS”;

           b. As a registered and regulated issuer of securities, Goldman filed periodic public

                reports with the SEC, in addition to the Company’s frequent voluntary public

                dissemination of information;

           c. Goldman regularly communicated with public investors via established market

                communication mechanisms, including conference calls, regular disseminations

                of press releases on the national circuits of major newswire services, the



                                                181
               Company’s website, and other wide-ranging public disclosures, such as

               communications with the financial press and other similar reporting services; and

           d. Goldman was followed by securities analysts employed by major brokerage firms,

               including Credit Suisse, Deutsche Bank, Morningstar, Wells Fargo, and Barclays,

               who wrote reports which were distributed to the sales force and certain customers

               of their respective brokerage firms. Each of these reports was publicly available

               and entered the public marketplace.

       417.    As a result of the foregoing, the market for Goldman common stock promptly

digested current information with respect to Goldman from all publicly-available sources and

reflected such information in the price of these securities. Under these circumstances, all

purchasers of the Company’s publicly-traded common stock during the Class Period suffered

similar injury through their purchases of Goldman common stock at artificially inflated prices,

and a presumption of reliance applies.

       418.    Further, at all relevant times, Lead Plaintiff and all other members of the Class

reasonably relied upon Defendants to disclose material information as required by law and in the

Company’s SEC filings. Lead Plaintiff and the other members of the Class would not have

purchased or otherwise acquired Goldman’s common stock at artificially inflated prices if

Defendants had disclosed all material information as required. Thus, to the extent that

Defendants concealed or improperly failed to disclose material facts with regard to the Company

and its business, Lead Plaintiff is entitled to a presumption of reliance in accordance with

Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128, 153 (1972).




                                               182
IX.    THE STATUTORY SAFE HARBOR AND BESPEAKS CAUTION DOCTRINE
       DO NOT APPLY

       419.    The PSLRA’s statutory safe harbor and/or the bespeaks caution doctrine

applicable to forward-looking statements under certain circumstances do not apply to any of the

materially false and/or misleading statements alleged herein.

       420.    None of the statements complained of herein was a forward-looking statement.

Rather, each was a historical statement or a statement of purportedly current facts and conditions

at the time each statement was made.

       421.    To the extent that any materially false or misleading statement alleged herein, or

any portion thereof, can be construed as forward-looking, such statement was not accompanied

by meaningful cautionary language identifying important facts that could cause actual results to

differ materially from those in the statement. As set forth above in detail, given the then-existing

facts contradicting Defendants’ statements, the generalized risk disclosures made by Defendants

were not sufficient to insulate Defendants from liability for their materially false or misleading

statements.

       422.    To the extent that the statutory safe harbor may apply to any materially false or

misleading statement alleged herein, or a portion thereof, Defendants are liable for any such false

or misleading forward-looking statement because at the time such statement was made, the

speaker actually knew the statement was false or misleading, or the statement was authorized or

approved by an executive officer of Goldman who actually knew that the statement was false or

misleading.

       423.    Moreover, to the extent that Goldman or the Individual Defendants issued any

disclosures purporting to “warn” or “caution” investors of certain “risks,” those disclosures were

also materially false or misleading because they did not disclose that the risks that were the


                                                183
subject of such warnings had materialized or Goldman and the Individual Defendants had actual

knowledge of undisclosed material adverse facts that rendered such purportedly “cautionary”

disclosures materially false or misleading.

X.     CLASS ACTION ALLEGATIONS

       424.    Lead Plaintiff brings this action on behalf of itself and as a class action pursuant

to Federal Rules of Civil Procedure 23(a) and 23(b)(3) on behalf of a Class consisting of all

persons and entities who purchased or otherwise acquired Goldman’s common stock between

February 28, 2014, and December 20, 2018, inclusive, and who were damaged thereby.

Excluded from the Class are (i) Defendants (as set forth herein), (ii) present or former executive

officers of Goldman, members of Goldman’s Board of Directors, and members of the immediate

families of each of the foregoing (as defined in 17 C.F.R. § 229.404, Instructions (1)(a)(iii) and

(1)(b)(ii))), (iii) any of the foregoing individuals’ and entities’ legal representatives, heirs,

successors or assigns, and (iv) any entity in which Defendants have or had a controlling interest

or any affiliate of Goldman.

       425.    The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Goldman’s common stock was actively traded on

the NYSE. While the exact number of Class members is unknown to Lead Plaintiff at this time

and could only be ascertained through appropriate discovery, Lead Plaintiff believes that there

are at least thousands of members in the proposed Class. As of February 9, 2018, Goldman had

approximately 379 million shares of common stock outstanding and available for trading on the

NYSE. Record owners and other members of the Class may be identified from records

maintained by Goldman and/or its transfer agent and may be notified of the pendency of this

action by mail, using the form of notice similar to that customarily used in securities class

actions.

                                               184
       426.    Lead Plaintiff’s claims are typical of the claims of the other members of the Class

as all members of the Class purchased or otherwise acquired Goldman’s common stock during

the Class Period at artificially inflated prices and were similarly affected by Defendants’

wrongful conduct that violated the federal securities laws, as complained of herein.

       427.    Lead Plaintiff will fairly and adequately protect the interests of the other members

of the Class, and has retained counsel competent and experienced in class action and securities

litigation. Lead Plaintiff has no interests that are adverse or antagonistic to the interests of other

Class members.

       428.    A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. Because the damages suffered by individual members of the

Class may be relatively small, the expense and burden of individual litigation make it

impracticable for Class members individually to seek redress for the wrongful conduct alleged

herein. Lead Plaintiff knows of no difficulty that will be encountered in managing this litigation

that would preclude maintaining it as a class action.

       429.    Common questions of law and fact exist as to all members of the Class, and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

           a. Whether Defendants violated the federal securities laws through the acts alleged

               herein;

           b. Whether Defendants’ statements to the investing public during the Class Period

               misrepresented or omitted material facts;




                                                 185
            c. Whether and to what extent the market prices of Goldman’s common stock, were

                artificially inflated and/or distorted during the Class Period due to the

                misrepresentations or omissions of material facts complained of herein;

            d. Whether the Defendants named under Section 10(b) of the Exchange Act acted

                with scienter;

            e. Whether reliance may be presumed pursuant to the fraud-on-the-market doctrine

                or the Affiliated Ute presumption; and

            f. Whether the members of the Class have sustained damages as a result of the

                conduct complained of herein, and if so, the proper measure of damages.

        430.    The prosecution of separate actions by individual Class members would create the

risk of inconsistent or varying adjudications with respect to the individual Class members, which

would establish incompatible standards of conduct for Defendants, or adjudications with respect

to individual Class members that would, as a practical matter, be dispositive of the interests of

the other Class members who are not parties to the adjudications or substantially impair their

ability to protect their interests.

        431.    Defendants have acted on grounds generally applicable to the Class with respect

to the matters complained of herein, thereby making appropriate the relief sought herein with

respect to the Class as a whole.

XI.     CAUSES OF ACTION

                                           COUNT I
      For Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated
               Thereunder Against Goldman and the Individual Defendants

        432.    Lead Plaintiff repeats and realleges each and every allegation contained above as

if fully set forth herein. This Count is brought against Goldman and the Individual Defendants

pursuant to Section 10(b) of the Exchange Act, 15 U.S.C. § 78(j)(b), and Rule 10b-5

                                               186
promulgated thereunder, 17 C.F.R. § 240.10b-5, on behalf of Lead Plaintiff and all other

members of the Class.

       433.    During the Class Period, Goldman and the Individual Defendants, while in

possession of material adverse, non-public information, disseminated or approved the false or

misleading statements or omissions alleged herein, which each defendant knew or recklessly

disregarded were false or misleading in that they misrepresented material facts or failed to

disclose material facts necessary in order to make the statements made, in light of the

circumstances under which they were made, not misleading. Defendants carried out a plan,

scheme, and course of conduct that: (i) deceived the investing public, including Lead Plaintiff

and other Class members, as alleged herein, regarding the intrinsic value of Goldman’s common

stock; (ii) caused the price of Goldman common stock to be artificially inflated or maintained

artificial inflation in the price of Goldman common stock; and (iii) caused Lead Plaintiff and

other members of the Class to purchase Goldman’s common stock at artificially inflated prices

that did not reflect their true value. In furtherance of this unlawful scheme, plan, and course of

conduct, Goldman and the Individual Defendants took the actions set forth herein while using the

means and instrumentalities of interstate commerce and the facilities of a national securities

exchange.

       434.    Defendants violated Section 10(b) of the Exchange Act and Rule 10b-5 in that

they, individually and in concert, directly and indirectly, knowingly or recklessly: (i) employed

devices, schemes, and artifices to defraud; (ii) made untrue statements of material fact or omitted

to state material facts necessary to make the statements made not misleading; and (iii) engaged in

acts, practices, and a course of business that operated as a fraud and deceit upon Lead Plaintiff

and other members of the Class in connection with their purchases of Goldman’s common stock



                                               187
in an effort to maintain artificially high market prices during the Class Period for Goldman’s

common stock in violation of Section 10(b) of the Exchange Act and Rule 10b-5. As alleged

herein, the material misrepresentations contained in, or the material facts omitted from,

Defendants’ public statements included, but were not limited to, materially false or misleading

representations and omissions during the Class Period, as alleged here in Section VI.

       435.    Defendants are liable for all materially false or misleading statements and

omissions of material fact alleged above in Section VI. By virtue of their high-level positions at

the Company during the Class Period, the Individual Defendants were authorized to make public

statements, and made public statements during the Class Period on Goldman’s behalf. The

Individual Defendants were privy to and participated in the creation, development, and issuance

of the materially false or misleading statements alleged herein, and they and the Company

disseminated information to the investing public that they either knew, or were reckless in not

knowing, was materially false or misleading.

       436.    In addition to the duties of full disclosure imposed on Defendants as a result of

making affirmative statements and reports to the investing public, Defendants also had a duty to

disclose information required to update or correct their prior statements, misstatements, or

omissions, and to update any statements or omissions that had become false or misleading as a

result of intervening events. Further, Defendants had a duty to promptly disseminate truthful

information that would be material to investors in compliance with the integrated disclosure

provisions of the SEC, including accurate and truthful information with respect to the

Company’s operations, so that the market price of the Company’s common stock would be based

on truthful, complete, and accurate information.




                                               188
       437.    Defendants’ material misrepresentations or omissions were made knowingly,

recklessly, and without a reasonable basis, for the purpose and effect of concealing from the

investing public the relevant truth, and misstating the intrinsic value of Goldman’s common

stock. By concealing material facts from investors, Defendants maintained artificially inflated

prices for Goldman’s common stock throughout the Class Period.

       438.    As a result of the dissemination of the materially false or misleading information

or failure to disclose material facts, as set forth above, the market price of Goldman’s common

stock was artificially inflated throughout the Class Period. In ignorance of the fact that market

prices of Goldman’s common stock were artificially inflated, and relying directly or indirectly on

the false or misleading statements made by Goldman and the Individual Defendants or upon the

integrity of the market in which the securities traded, and/or in the absence of material adverse

information that was known to or recklessly disregarded by Goldman and the Individual

Defendants, Lead Plaintiff and the other members of the Class purchased or otherwise acquired

Goldman’s common stock during the Class Period at artificially inflated prices and were

damaged thereby.

       439.    At the time of the material misrepresentations or omissions, Lead Plaintiff and the

other members of the Class were ignorant of their falsity, and believed them to be true. Had Lead

Plaintiff and the other members of the Class known the truth underlying Defendants’ materially

false or misleading statements alleged herein and the intrinsic value of Goldman’s common

stock, Lead Plaintiff and the other members of the Class would not have purchased or otherwise

acquired Goldman’s common stock at the artificially inflated prices that they paid.

       440.    By virtue of the foregoing, Goldman and the Individual Defendants violated

Section 10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder. As a direct and



                                               189
proximate result of Defendants’ wrongful conduct, Lead Plaintiff and the other Class members

suffered damages in connection with their purchases and/or acquisitions of Goldman’s common

stock during the Class Period.

                                          COUNT II
                      For Violations of Section 20(a) of the Exchange Act
                              Against the Individual Defendants

       441.    Lead Plaintiff repeats and realleges each and every allegation contained above as

if fully set forth herein. This Count is brought against the Individual Defendants pursuant to

Section 20(a) of the Exchange Act, 15 U.S.C. § 78t(a), on behalf of Lead Plaintiff and all other

members of the Class.

       442.    During the Class Period, each of the Individual Defendants was a controlling

person of Goldman within the meaning of Section 20(a) of the Exchange Act. By reason of their

high-level positions at Goldman and their participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the materially false or misleading statements and

omissions of material fact in statements filed by the Company with the SEC and/or disseminated

to the investing public, each of the Individual Defendants had the power to influence and control

and did influence and control, directly or indirectly, the decision-making of the Company and its

executives, including the content and dissemination of the various statements that Lead Plaintiff

contends were materially false or misleading.

       443.    Each of the Individual Defendants exercised day-to-day control over the

Company and had the power and authority to cause Goldman to engage in the wrongful conduct

complained of herein. In this regard, each of the Individual Defendants was provided with or had

unlimited access to copies of the Company’s reports, press releases, public filings, and other

statements alleged by Lead Plaintiff to be materially misleading prior to and/or shortly after these



                                                190
statements were issued and had the ability to prevent the issuance of the statements or cause the

statements to be corrected.

        444.       Each of the Individual Defendants was a direct participant in making, and/or

made aware of the circumstances surrounding, the materially false and/or misleading

representations and omissions during the Class Period, as alleged here in Section VI.

Accordingly, each Individual Defendant was a culpable participant in the underlying violations

of Section 10(b) alleged herein.

        445.       As set forth above, Goldman violated Section 10(b) of the Exchange Act by its

acts and omissions as alleged in this Complaint. By virtue of their positions as controlling

persons of Goldman and, as a result of their own aforementioned conduct, each of the Individual

Defendants is liable pursuant to Section 20(a) of the Exchange Act, jointly and severally with,

and to the same extent as Goldman is liable under Section 10(b) of the Exchange Act and

Rule 10b-5 promulgated thereunder, to Lead Plaintiff and other members of the Class who

purchased or otherwise acquired Goldman’s common stock during the Class Period at artificially

inflated prices.

        446.       As a direct and proximate result of the Individual Defendants’ wrongful conduct,

Lead Plaintiff and the other members of the Class suffered damages in connection with their

purchases and/or acquisitions of Goldman’s common stock during the Class Period.

XII.    PRAYER FOR RELIEF

        WHEREFORE, Lead Plaintiff prays for relief and judgment, as follows:
        A.         Determining that this action is a proper class action under Rules 23(a) and (b)(3)

                   of the Federal Rules of Civil Procedure on behalf of the Class defined herein;

        B.         Awarding compensatory damages in favor of Lead Plaintiff and the other Class

                   members against all Defendants, jointly and severally, for all damages sustained

                                                   191
             as a result of Defendants’ wrongdoing, in an amount to be proven at trial,

             including interest thereon;

      C.     Awarding Lead Plaintiff and the Class their reasonable costs and expenses

             incurred in this action, including counsel fees and expert fees; and

      D.     Such other and further relief as the Court may deem just and proper.

                                JURY TRIAL DEMANDED

      Lead Plaintiff hereby demands a trial by jury.


Dated: October 28, 2019                    Respectfully submitted,

                                           KESSLER TOPAZ
                                           MELTZER & CHECK, LLP

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Liaison Counsel for the Class




 193
                                  APPENDIX A

      DEFENDANT GOLDMAN’S SEC FILINGS AND ANNUAL REPORTS
                                                                 Alleged False or
      Term                         Definition                  Misleading Statements
                                                                     Issued by:
                                                                      Goldman
                    Form 10-K for the fiscal year ended
 2013 Form 10-K                                                 Lloyd C. Blankfein
                    December 31, 2013 (filed 02/28/2014)
                                                                Harvey M. Schwartz
                                                                      Goldman
                    Form 10-K for the fiscal year ended         Lloyd C. Blankfein
 2014 Form 10-K
                    December 31, 2014 (filed 02/23/2015)        Harvey M. Schwartz
                                                                   Gary D. Cohn
                                                                      Goldman
                    Form 10-K for the fiscal year ended         Lloyd C. Blankfein
 2015 Form 10-K
                    December 31, 2015 (filed 02/22/2016)        Harvey M. Schwartz
                                                                   Gary D. Cohn
                                                                      Goldman
                    Form 10-K for the fiscal year ended
 2016 Form 10-K                                                 Lloyd C. Blankfein
                    December 31, 2016 (filed 02/27/2017)
                                                                Harvey M. Schwartz
                    Form 10-K for the fiscal year ended               Goldman
 2017 Form 10-K
                    December 31, 2017 (filed 02/26/2018)        Lloyd C. Blankfein
                    Form 10-Q for the quarterly period ended         Goldman
3Q 2014 Form 10-Q
                    September 30, 2014 (filed 11/05/2014)       Harvey M. Schwartz
                    Form 10-Q for the quarterly period ended         Goldman
1Q 2015 Form 10-Q
                    March 31, 2015 (filed 05/05/2015)           Harvey M. Schwartz
                    Form 10-Q for the quarterly period ended         Goldman
2Q 2015 Form 10-Q
                    June 30, 2015 (filed 08/03/2015)            Harvey M. Schwartz
                    Form 10-Q for the quarterly period ended         Goldman
3Q 2015 Form 10-Q
                    September 30, 2015 (filed 11/03/2015)       Harvey M. Schwartz
                    Form 10-Q for the quarterly period ended         Goldman
1Q 2016 Form 10-Q
                    March 31, 2016 (filed 05/06/2016)           Harvey M. Schwartz
                    Form 10-Q for the quarterly period ended         Goldman
2Q 2016 Form 10-Q
                    June 30, 2016 (filed 08/04/2016)            Harvey M. Schwartz
                    Form 10-Q for the quarterly period ended         Goldman
3Q 2016 Form 10-Q
                    September 30, 2016 (filed 11/03/2016)       Harvey M. Schwartz
                    Form 10-Q for the quarterly period ended         Goldman
1Q 2017 Form 10-Q
                    March 31, 2017 (filed 05/04/2017)
                    Form 10-Q for the quarterly period ended         Goldman
2Q 2017 Form 10-Q
                    June 30, 2017 (filed 08/04/2017)
                    Form 10-Q for the quarterly period ended         Goldman
3Q 2017 Form 10-Q
                    September 30, 2017 (filed 11/03/2017)
                    Form 10-Q for the quarterly period ended         Goldman
1Q 2018 Form 10-Q
                    March 31, 2018 (filed 05/04/2018)


                                        194
      DEFENDANT GOLDMAN’S SEC FILINGS AND ANNUAL REPORTS
                                                                    Alleged False or
      Term                          Definition                    Misleading Statements
                                                                        Issued by:
                     Form 10-Q for the quarterly period ended            Goldman
2Q 2018 Form 10-Q
                     June 30, 2018 (filed 08/03/18)
                     Form 10-Q for the quarterly period ended           Goldman
3Q 2018 Form 10-Q
                     September 30, 2018 (filed 11/02/18)
                     Form DEF 14A for the period ended May              Goldman
   2015 Proxy
                     21, 2015 (filed 04/10/15)                      Lloyd C. Blankfein
                     Form DEF 14A for the period ended May              Goldman
   2016 Proxy
                     20, 2016 (filed 04/08/16)                      Lloyd C. Blankfein
                     Form DEF 14A for the period ended April            Goldman
   2017 Proxy
                     28, 2017 (filed 03/17/2017)                    Lloyd C. Blankfein
                     Form DEF 14A for the period ended May              Goldman
   2018 Proxy
                     2, 2018 (filed 03/23/2018)                     Lloyd C. Blankfein
                                                                        Goldman
                     Annual Report for 2014 (published April
2014 Annual Report                                                  Lloyd C. Blankfein
                     10, 2015)
                                                                      Gary D. Cohn
                                                                        Goldman
                     Annual Report for 2015 (published April 8,
2015 Annual Report                                                  Lloyd C. Blankfein
                     2016)
                                                                      Gary D. Cohn
                     Annual Report for 2016 (published March            Goldman
2016 Annual Report
                     16, 2017)                                      Lloyd C. Blankfein
                     Annual Report for 2017 (published March            Goldman
2017 Annual Report
                     23, 2018)                                      Lloyd C. Blankfein




                                         195
